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                UNITED STATES CIRCUIT COURT OF APPEALS

                               ELEVENTH CIRCUIT


                                                           CASE NO. 18-13452-B
MARIA DEL ROCIO BURGOS
GARCIA and LUIS A. GARCIA SAZ,

        Appellants,

vs.

CHURCH OF SCIENTOLOGY FLAG
SERVICE ORGANIZATION, INC.
and CHURCH OF SCIENTOLOGY
FLAG SHIP ORGANIZATION, INC.

     Appellees.
_________________________________/

             APPENDIX TO INITIAL BRIEF OF APPELLANTS
      On appeal from the United States District Court, Middle District of Florida


Babbitt & Johnson, P.A.                   BURLINGTON & ROCKENBACH, P.A.
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       and                                Attorneys for Appellants
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USCA11 Case: 18-13452      Document: 38      Date Filed: 04/08/2019   Page: 2 of 222



     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

      Appellants, MARIA DEL ROCIO BURGOS GARCIA and LUIS A.

GARCIA SAZ, pursuant to E.R.P. 26.1, and 11th Cir. R. 26.1-3, hereby submit this

Certificate of Interested Persons and Corporate Disclosure Statement, as follows:

      Babbitt, Theodore – Counsel for Appellants

      Babbitt & Johnson, P.A. – Counsel for Appellants

      Burlington & Rockenbach, P.A – Counsel for Appellants

      Burlington, Philip M. – Counsel for Appellants

      Church of Scientology Flag Service Organization, Inc. – Appellee

      Church of Scientology of Flag Ship Service Organization, Inc. – Appellee

      Deixler, Bert H. – Counsel for Appellees

      Garcia, Maria Del Rocio Burgos – Appellant

      Johnson, Pope, Bokor, Ruppel & Burns, LLP – Counsel for Appellees

      Johnson, Robert E. – Counsel for Appellants

      GrayRobinson, P.A. – Counsel for Appellants

      Lieberman, Eric M. – Counsel for Appellees

      Rabinowitz, Boudin, Standard, Krinsky & Lieberman – Counsel for
      Appellees

      Pope, F. Wallace, Jr. – Counsel for Appellees

      Potter, Robert Vernon – Counsel for Appellees

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    Saz, Luis A. Garcia – Appellant

    Weil, Quaranta, McGovern, P.A. – Counsel for Appellants

    Weil, Ronald P. – Counsel for Appellants

    Weil, Snyder, Schweikert & Ravindran, P.A. – Counsel for Appellants

    Whittemore, James D. – U.S. Middle District Court Judge




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                                  INDEX OF APPENDIX


                                                                      Docket/Tab #

    District Court Docket Sheet                                                  A

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1
 Exhibits to Docket No. 272 are referenced in Appellant’s Initial Brief; however,
due to size, they are not included in this Appendix.
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed with this Court via CM/ECF, and has been furnished to all counsel on the

attached service list, by email, on April 8, 2019.

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                                        By:/s/ Philip M. Burlington
                                           PHILIP M. BURLINGTON
                                           Florida Bar No. 285862

/kbt




                                          5
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                                  SERVICE LIST

Garcia v. Church of Scientology, etc., et al.
Case No. 18-13452-B

 Robert V. Potter, Esq.                       Eric M. Lieberman, Esq.
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4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida

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                                                             U.S. District Court
                                    Middle District of Florida (Tampa)
                           CIVIL DOCKET FOR CASE #: 8:13-cv-00220-JDW-TBM


  Garcia Saz et al v. Church of Scientology Religious Tmst et al                               Date Filed: 01/23/2013
  Assigned to: Judge James D. Whittemore                                                       Date Terminated: 03/13/2015
  Referred to: Magistrate Judge Thomas B. McCoun III                                           Jury Demand: Plaintiff
  Case in other court: llth Circuit, 15-12577-D                                                Nature of Suit: 190 Contract: Other
                            llth Circuit, 18-13452-AA                                          Jurisdiction: Diversity
                            llth Circuit, 18-13452-B
  Cause: 28:1332 Diversity-Other Contract

  Plaintiff
  Maria Del Rocio Burgos Garcia                                           represented by Amanda Sundarsingh
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                                                                Suite04/08/2019
                                                                      900            Page: 8 of 222
                                                                200 S Biscayne Blvd
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                                        (See above for address)
                                                                 TERMINATED: 02/15/2017
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1 2/31
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          USCA11 Case: 18-13452        Document: 38      Date Filed:
                                                                LEAD 04/08/2019
                                                                      ATTORNEY Page: 9 of 222
                                                                ATTORNEY TO BE NOTICED

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 V.

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 a tax exempt   Case:
              trust   18-13452
                    doing       Document:
                          business         38 Johnson,
                                   in Florida   Date Filed: 04/08/2019
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                                                                Bokor, Ruppel    of 222
                                                                              & Bums,
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                                                                                          Nathan            Page: 11 of 222
                                                                                                  Michael Berman
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 Defendant

  Church of Scientology Flag Service                                    represented by Bert H. Deixler
  Organization, Inc.                                                                           Kendall Brill & Kleiger LLP
  a Florida nonprofit corporation                                                              10100 Santa Monica Blvd Ste 1725
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                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Robert Vernon Potter
                                                                                               (See above for address)
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                                                                                               ATTORNEY TO BE NOTICED

  Defendant

  Church of Scientology Flag Ship Service                                 represented by Bert H. Deixler
  Organization, Inc.                                                                     (See above for address)
  a foreign corporation doing business in                                                      LEAD ATTORNEY
  Florida                                                                                      PRO HAC VICE
  doing business as                                                                            ATTORNEY TO BE NOTICED
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                                                                                               F. Wallace Pope, Jr.
                                                                                               (See above for address)
                                                                                               LEAD ATTORNEY
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Robert Vernon Potter
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  Defendant

  IAS Administrations, Inc.                                               represented by F. Wallace Pope , Jr.
  a foreign nonprofit corporation doing                                                  (See above for address)
                                                                                                LEAD ATTORNEY

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          in Florida Case: 18-13452                    Document: 38                Date Filed: 04/08/2019
                                                                                           ATTORNEY   TO BE Page: 12 of 222
                                                                                                            NOTICED
 TERMINATED: 05/12/2014
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                                                                                                Robert Vernon Potter
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  Defendant

  U.S. IAS Members Trust                                                  represented by F. Wallace Pope , Jr.
  a tax exempt trust doing business in Florida                                           (See above for address)
  TERMINATED: 05/12/2014                                                                        LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Marie Tomassi
                                                                                                (See above for address)
                                                                                                LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Robert Vernon Potter
                                                                                                (See above for address)
                                                                                                LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED

  Material Witness

  Church of Scientology International and                                 represented by F. Wallace Pope , Jr.
  Mike Ellis                                                                             (See abov£ for address)
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                                                                                                LEAD ATTORNEY
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   Date Filed             #    Docket Text

   01/23/2013                   COMPLAINT against Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc., Church ofScientology Religious Tmst,
                                IAS Administrations, Inc., U.S. IAS Members Tmst with Jury Demand (Filing fee $ 350
                               receipt number TPA-15445) filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz.
                                (Attachments: # 1 Civil Cover Sheet)(DG) (Entered: 01/23/2013)


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 2/2019                                            Electronic Case Filing | U.S. District Court - Middle District of Florida
          USCA11 2Case:
  01/23/2013            18-13452
                    SUMMONS         Document:
                               issued           38of Scientology
                                      as to Church    Date Filed:  04/08/2019
                                                                 Flag             Page: 13Inc.,
                                                                      Service Organization, of 222
                                                                                                Church
                               ofScientology Flag Ship Service Organization, Inc., IAS Administrations, Inc. (DG)
                               (Entered: 01/23/2013)
  01/24/2013              3    NOTICE of designation under Local Rule 3.05 - Track 2 (AO) (Entered: 01/24/2013)

  01/25/2013              4 WRONG EVENT CODE NOT A MOTION. Disclosure Pursuant to Rule 7.1 by Luis A.
                               Garcia Saz. (Johnson, Joseph) Motions referred to Magistrate Judge Thomas B. McCoun
                               III. Modified on 1/31/2013 (BSN). (Entered: 01/25/2013)

  02/12/2013               5   SUMMONS issued as to Church of Scientology Religious Tmst, U.S. IAS Members
                               Trust (BSN) (Entered: 02/12/2013)
  02/25/2013               6   Joint MOTION for Leave to File Excess Pages To File Joint Response to Complaint and
                               to Exceed the Twenty-Five (25) Page Limit by Church of Scientology Flag Semce
                               Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc., IAS
                               Administrations, Inc.. (Pope, F.) (Entered: 02/25/2013)

  02/26/2013               7   ENDORSED ORDER granting in part and denying in part 6 Joint Motion to File Joint
                               Response to Complaint and to Exceed the Twenty-Five (25) Page Limit. The moving
                               Defendants may file a single joint motion to compel arbitration, with an incorporated
                               memorandum of law, not to exceed 25 pages, including the signature page and certificate
                               ofsemce. Signed by Judge James D. Whittemore on 2/26/2013. (KE) (Entered:
                               02/26/2013)
  03/06/2013               8   Joint MOTION to compel arbitration and to Stay Proceedings by Church of Scientology
                               Flag Service Organization, Inc., Church of Scientology Flag Ship Sendce Organization,
                               Inc., IAS Administrations, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 1, # 3 Exhibit 1,
                               # 4 Exhibit 1, # 5 Exhibit 2, #6 Exhibit 2,#1 Exhibit 2, # 8 Exhibit 2, # 9 Exhibit 2, # 10
                               Exhibit 2, #11 Exhibit 2, #12 Exhibit 2, #13. Exhibit 3, # 14 Exhibit 4, # 15 Exhibit 5, ^
                               16 Exhibit 6, # H Exhibit 7)(Pope, F.) (Entered: 03/06/2013)
  03/07/2013               9   NOTICE of Appearance by Marie Tomassi on behalf of IAS Administrations, Inc.
                               (Tomassi, Mane) (Entered: 03/07/2013)

  03/13/2013             10    Unopposed MOTION for Extension ofThne to File Response/Reply as to ^ Joint
                               MOTION to compel arbitration and to Stay Proceedings by Maria Del Rocio Burgos
                               Garcia, Luis A. Garcia Saz. (Quaranta, John) Motions referred to Magistrate Judge
                               Thomas B. McCoun HI. (Entered: 03/13/2013)

  03/15/2013              11   ENDORSED ORDER granting 10 Motion for Extension of Time to File Response to
                               Joint Motion to Compel Arbitration. Response due by 4/22/2013. Signed by Judge James
                               D. Whittemore on 3/15/2013. (KE) (Entered: 03/15/2013)

  04/02/2013             12 NOTICE of Appearance by Lee Fugate on behalf of Church ofScientology Religious
                               Trust (Fugate, Lee) (Entered: 04/02/2013)

  04/02/2013             13 NOTICE of Appearance by Mamie Wise on behalf of Church of Scientology Religious
                                Tmst (Wise, Mamie) (Entered: 04/02/2013)

  04/02/2013             14    NOTICE of Appearance by Nathan Michael Berman on behalf of Church of Scientology
                               Religious Tmst (Berman, Nathan) (Entered: 04/02/2013)

  04/02/2013             15 [ MOTION to compel arbitration and Stay Proceedings by Church of Scientology
                              Religious Tmst. (Berman, Nathan) (Entered: 04/02/2013)

  04/02/2013              16 | NOTICE of Appearance by Jack E. Femandez, Jr on behalf of Church of Scientology
                               Religious Tmst (Femandez, Jack) (Entered: 04/02/2013)

  04/12/2013             11    NOTICE of Appearance by Marie Tomassi on behalf of U.S. IAS Members Tmst

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             USCA11 Case: 18-13452
                      (Tomassi,        Document:
                                Marie) (Entered:    38 Date Filed: 04/08/2019
                                                 04/12/2013)                                                                   Page: 14 of 222

  04/12/2013             18 | MOTION to compel arbitration and Memorandum and Stay Proceedings by U.S. IAS
                               Members Tmst. (Attachments: # 1 Exhibit A)(Tomassi, Marie) (Entered: 04/12/2013)

  04/22/2013             19 ] NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                             i # 1 Affidavit Luis Garcia Pages l-10)(Quaranta, John) (Entered: 04/22/2013)

  04722/2013             20 NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Luis Garcia Pages 11-20, # 1 Affidavit Luis Garcia Pages 21-30)(Quaranta,
                               John) (Entered: 04/22/2013)
  04/22/2013                   NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Luis Garcia Pages 31-40)(Quaranta, John) (Entered: 04/22/2013)

  04/22/2013             22 | NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                              # 1 Affidavit Luis Garcia Pages 41-46)(Quaranta, John) (Entered: 04/22/2013)

  04/22/2013             23 | NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                              # 1 Affidavit Luis Garcia Pages 47-50)(Quaranta, John) (Entered: 04/22/2013)

   04/22/2013            24 NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Luis Garcia Pages 51-54)(Quaranta, John) (Entered: 04/22/2013)

   04/22/2013            25    NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Luis Garcia Pages 55-59)(Quaranta, John) (Entered: 04/22/2013)

   04/22/2013            26 | NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                              # 1 Affidavit Luis Garcia Pages 60-65)(Quaranta, John) (Entered: 04/22/2013)

   04/22/2013            27    NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Randall Wise, # 2 Affidavit Nancy Wise)(Quaranta, John) (Entered:
                               04/22/2013)
   04/22/2013            28    NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Karry S. Campbell, # 2 Affidavit Scott E. Campbell, # 3 Affidavit Mark
                               Rathbun)(Quaranta, John) (Entered: 04/22/2013)

   04/22/2013            29    NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Donald Koon, # 2 Affidavit Christie Collbran, # 3 Affidavit Bert Schippers,
                               # 4 Affidavit Hadyn James)(Quaranta, John) (Entered: 04/22/2013)

   04/22/2013            30    RESPONSE in Opposition re 8 Joint MOTION to compel arbitration and to Stay
                                Proceedings filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta,
                               John)-(Entered: 04/22/2013)

   04/23/2013            31    NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Luis Garcia (Corrected))(Quaranta, John) (Entered: 04/23/2013)

   04/23/2013 ! 32             NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz of Filing (Attachments:
                               # 1 Affidavit Mark Rathbun (Corrected))(Quaranta, John) (Entered: 04/23/2013)

   04/24/2013            33 | MOTION for leave to file Defendants' Opposed Motion for Leave to File 10 Page Reply
                                Memorandum by Church ofScientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc.. (Pope, F.) (Entered: 04/24/2013)

   04/24/2013            34     RESPONSE in Opposition re 33 MOTION for leave to file Defendants' Opposed Motion
                                for Leave to File 10 Page Reply Memorandum filed by Maria Del Rocio Burgos Garcia,
                                Luis A. Garcia Saz. (Babbitt, Theodore) (Entered: 04/24/2013)

   04/25/2013            35     ENDORSED ORDER denying 33 Motion for Leave to File. Signed by Judge James D.

https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                                          8/31
4/2/2019                               Electronic Case Filing | U.S. District Court - Middle District of Florida

           USCA11 Case: 18-13452
                    Whittemore      Document:
                               on 4/25/2013.    38 Date
                                             (Whittemore,   Filed:(Entered:
                                                          James)    04/08/2019     Page: 15 of 222
                                                                            04/25/2013)

  05/10/2013 I 36       MOTION to Disqualify Counsel Motion to Disqualify Plaintiffs' Counsel and Certificate
                        of Compliance wihtRule 3.01(g) by Church of Scientology Flag Service Organization,
                        Inc., Church of Scientology Flag Ship Service Organization, Inc.. (Attachments: # i
                        Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit)(Pope, F.) Motions
                        referred to Magistrate Judge Thomas B. McCoun III. (Entered: 05/10/2013)

  05/15/2013       37   Joint MOTION to Disqualify Counsel of Plaintiff by Church of Scientology Religious
                        Trust and by IAS Administrations, Inc., U.S. IAS Members Tmst. (Tomassi, Marie)
                        Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered: 05/15/2013)

  05/28/2013       38   MEMORANDUM in opposition re 32 Motion to Disqualify Counsel filed by Maria Del
                        Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

  05/28/2013       39   DECLARATION of Robert Johnson Part 1 re 38. Memorandum in opposition by Maria
                        Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

  05/28/2013       40   DECLARATION of Robert Johnson Part 2 re 38 Memorandum in opposition by Maria
                        Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   05/28/2013      41 | DECLARATION of Robert Johnson Part 3 re 3^ Memorandum in opposition by Maria |
                        Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013) |

   05/28/2013      42 [ DECLARATION of Robert Johnson Part 4 re 38 Memorandum in opposition by Maria
                        Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   05/28/2013      43   DECLARATION of Robert Johnson Part 5 re 38 Memorandum m opposition by Maria
                        Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   05/28/2013      44   DECLARATION of Robert Johnson Part 6 re 38 Memorandum in opposition by Maria
                        Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   05/28/2013      45   DECLARATION of Ted Babbitt re 18 Memorandum in opposition by Maria Del Rocio
                        Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   05/28/2013      46   DECLARATION of Ron Weil re 38 Memorandum m opposition by Maria Del Rocio
                        Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   05/28/2013      47   DECLARATION of Mike Kinder re 38 Memorandum in opposition by Maria Del Rocio
                        Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   05/28/2013      48   DECLARATION of Mark Rathbun re 38 Memorandum in opposition by Maria Del
                        Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) (Entered: 05/28/2013)

   06/25/2013      49   NOTICE of supplemental authority by Church of Scientology Flag Service Organization,
                        Inc., Church of Scientology Flag Ship Service Organization, Inc. (Attachments: # 1
                        Exhibit A)(Pope, F.) (Entered: 06/25/2013)
   06/25/2013      50 | ORDER Setting Hearing on Plaintiffs' 36 MOTION to Disqualify Counsel and Certificate
                        of Compliance with Rule 3.01(g). Motion Hearing set for 7/24/2013 at 9:00 AM in
                        Tampa Courtroom 13B before Judge James D. Whittemore. Signed by Judge James D.
                        I Whittemore on 6/25/2013. (KE) (Entered: 06/25/2013)
   07/03/2013      51   Joint MOTION to Continue Hearing on Defendants' Motion to Disqualify Plainiffs'
                         Counsel by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt, Theodore)
                        (Entered: 07/03/2013)
   07/08/2013      52   ORDER granting 51 Motion to Continue Hearing. The evidentiary hearing is rescheduled
                        to 9/26/13 at 9:00 A.M. Signed by Judge James D. Whittemore on 7/8/2013. (KE)
                        (Entered: 07/08/2013)
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1 9/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida

             USCA11 Case: 18-13452                     Document: 38                Date Filed: 04/08/2019                      Page: 16 of 222
  07/09/2013             53    Unopposed MOTION to Take Deposition from BRIAN CULKIN Verified Motion of Flag
                               Church and Ship Church for Leave to Take Deposition of Witness Brian Culkin and
                               Certificate of Compliance with Local Rule 3.01 (g) by Church ofScientology Flag Service
                               Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc..
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,#4 Exhibit D, # 5 Exhibit E, #
                               6 Exhibit F, # 7 Exhibit G)(Pope, F.) Motions referred to Magistrate Judge Thomas B.
                               McCounIII. (Entered: 07/09/2013)

  07/12/2013             54 NOTICE of supplemental o^honty Regarding Defendants' M^otion to Compel Arbitration
                               by Church of Scientology Flag Service Organization, Inc., Church of Scientology Flag
                               Ship Service Organization, Inc. (Attachments: # 1 Exhibit A)(Pope, F.) (Entered:
                               07/12/2013)
  07/12/2013             55    MOTION to quash Subpoenas to produce documents and to appear and testify at a
                               hearing Sought by Exhibit A to Defendants' Flag and Ship Subpoenas Duces Tecum by
                               Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # 1 Exhibit A
                               Subpoenas for Documents)(Babbitt, Theodore) Motion terminated. Counsel's office
                               notified by telephone on 7/15/13 that this item is to be reflled as an Objection. (Entered:
                               07/12/2013)
  07/15/2013             56    (DOCUMENT TERMINATED) OBJECTION re 53 Unopposed MOTION to Take
                               Deposition from BRIAN CULKBST Verified Motion of Flag Church and Ship Church for
                               Leave to Take Deposition of Witness Brian Culkin and Certificate of Compliance with
                               Local Rule 3.01(g) by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz by Maria Del
                               Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # i Exhibit Exhibit A -
                                Correspondence of Ray Jeffrey dated July 12, 2013)(Babbitt, Theodore)(Document
                               terminated per chambers instructions and counsel notified to re-file as response to
                               motion) Modified on 7/25/2013 (AG). (Entered: 07/15/2013)

   07/15/2013            52 (DOCUMENT TERMINATED) OBJECTION re 55 MOTION to quash Subpoenas to
                               produce documents and to appear and testify at a hearing Sought by Exhibit A to
                               Defendants' Flag and Ship Subpoenas Duces Tecum to Replace DE 55 by Maria Del
                                Rocio Burgos Garcia, Luis A. Garcia Saz by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz. (Attachments: # 1 Exhibit A-l Subpoenas to law firms, # 1 Exhibit 2-A
                                Subpoenas to individual counsel, # 3 Exhibit A-3 Subpoenas to Michael Kinder, # 4
                                Exhibit A-4 Subpoenas to Plamtiffs)(Babbitt, Theodore) Modified on 7/26/2013 (Counsel
                                notified to re-file as a motion per chambers' instmctions)(AG). (Entered: 07/15/2013)

   07/19/2013            58     (DOCUMENT TERMINATED) OBJECTION re 56 Objection Defendants' 'Opposition to
                                Plaintiffs' Motion to Strike the Application for De Bene Esse Deposition of Brian Culkin.
                                (Attachments: # 1 Exhibit A, # 2 Exhibit B, _# 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)
                                (Pope, F.) (Document terminated per chambers instructions; counsel notified to file
                                motion for leave of court to file reply) Modified on 7/25/2013 (AG). (Entered:
                                07/19/2013)
   07/24/2013            59     RESPONSE to Motion re 55 MOTION to quash Subpoenas to produce documents and to
                                appear and testify at a hearing Sought by Exhibit A to Defendants' Flag and Ship
                                Subpoenas Duces Tecum, 37 Joint MOTION to Disqualify Counsel of Plaintiff by Church
                                of Scientology Religious Trust and, 36 MOTION to Disqualify Counsel Motion to
                                Disqualify Plaintiffs' Counsel and Certificate of Compliance wihtRule 3.01 (g) Response
                                to Plaintiffs' Motion for Protective Order pursuant to RUle 26(c)(l) and in the alternative
                                Motion to Compel Production of Documents Responsivle to Subpoenas Duces Tecum
                                Served on Luis Garcia, Maria Garcia, Richard Zabak, Robert Johnson, GreyRobinson,
                                Mike Kinder, Christie Rinder, Theodore Babbitt, Ronald Well, Babbitt Johnson Osborne
                                & LeClainche, Well & Quaranta filed by Church of Scientology Flag Service
                                Organization, Inc., Church ofScientology Flag Ship Service Organization, Inc..
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                                          10/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida

             USCA11 Case: 18-13452 # 1Document:
                      (Attachments:              38 A, Date
                                      Exhibit Exhibit        Filed:Exhibit
                                                       # 2 Exhibit  04/08/2019
                                                                           B)(Potter,Page: 17Added
                                                                                      Robert) of 222
                               relationship to 60 Modified on 7/30/2013 (DG). (Entered: 07/24/2013)

  07/26/2013             60    MOTION for protective order Regarding Defendants'Request for Production Pusuant to
                               Exhibit A of Defendants' Flag and Ship Subpoena Duces Tecum by Maria Del Rocio
                               Burgos Garcia, Luis A. Garcia Saz. (Attachments: # 1 Exhibit A-l Subpoenas to Separate
                               Law Firms, # 2 Exhibit A-2 Subpoenas to Individual Counsel, # 3 Exhibit A-3 Subpoenas
                               to Michael Rinder)(Babbitt, Theodore) Motions referred to Magistrate Judge Thomas B.
                               McCounIII. (Entered: 07/26/2013)

  08/01/2013             61 | NOTICE OF RESCHEDULING HEARING: The hearing on Defendants' Motion to
                              Disqualify Counsel previously scheduled for 9/26/13 is rescheduled. New date and time:
                              10/3/2013 at 9:00 AM in Tampa Courtroom 13B before Judge James D. Whittemore. All
                              other previously scheduled deadlines remain the same.(KE) (Entered: 08/01/2013)

  08/05/2013             62    ^TERMINATED; ATTORNEY NOTIFIED THAT FILING ATTORNEY MUST BE
                               THE SAME ATTORNEY WHO SIGNS THE PLEADING; ATTORNEY NOTIFIED TO
                               RE-FILE CORRECTLY** MEMORANDUM in opposition re 59 Response to motion
                               filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Quaranta, John) Modified
                               on 8/6/2013 (RFK). (Entered: 08/05/2013)
  98/06/2013             63    MEMORANDUM in opposition re 59 Response to motion filed by Maria Del Rocio
                               Burgos Garcia, Luis A. Garcia Saz. (McGovem, Amanda) (Entered: 08/06/2013)

   08/09/2013            64 NOTICE of telephone hearing on motion 53 Unopposed MOTION to Take Deposition
                               from BRIAN CULK1N Verified Motion of Flag Church and Ship Church for Leave to
                               Take Deposition of Witness Brian Culkin and Certificate of Compliance with Local Rule
                                3.01(g). Telephone hearing set for 8/12/2013 at 11:00 AM in Tampa Courtroom 12B
                               before Magistrate Judge Thomas B. McCoun III. On the date/time specified, counsel
                               shall call 1-888-684-8852; enter access code 2121806; and the security code 0220
                               followed by the # (pound) key. (ATL) (Entered: 08/09/2013)
   08/12/2013            65 RESPONSE to Motion re 53 Unopposed MOTION to Take Deposition from BRIA.N
                                CULKJN Verified Motion of Flag Church and Ship Church for Leave to Take Deposition
                                of Witness Brian Culkin and'Certificate of Compliance with Local Rule 3.01(g)
                               Supplement to Plaintiffs' Objection to "Unopposed" Verified Motion for leave-to Take
                               Deposition of Witness, Brian Culkin filed by Maria Del Rocio Burgos Garcia, Luis A.
                               Garcia Saz. (Attachments: # 1 Exhibit Correspondence from Ray Jeffrey, # 2 Exhibit
                               Emails between Bob Potter and Amanda Sundarsingh, # 3 Exhibit Emails between Wally
                               Pope and Denise Codding)(Babbitt, Theodore) (Entered: 08/12/2013)

   08/12/2013            66 | Minute Entry. Proceedings held before Magistrate Judge Thomas B. McCoun III:
                              l MOTION HEARING held on 8/12/2013 re 53 Unopposed MOTION to Take Deposition
                               from BRIAN CULKIN Verified Motion of Flag Church and Ship Church for Leave to
                                Take Deposition of Witness Brian Culkin and Certificate of Compliance with Local Rule
                                3.01 (g) filed by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc. (DIGITAL) (SRC) (Entered:
                                08/12/2013)
   08/13/2013            67    NOTICE of hearing on motion 60 MOTION for protective order Regarding Defendants'
                                Request for Production Pusuant to Exhibit A of Defendants' Flag and Ship Subpoena
                                Duces Tecum. Motion Hearing set for 9/5/2013 at 02:00 PM in Tampa Courtroom 12B
                               before Magistrate Judge Thomas B. McCoun III. Any counsel who wish to appear by
                               telephone shall notify chambers (813-301-5550), at least one day prior to the hearing. On
                               the date/time specified for the hearing, counsel shall call 1-888-684-8852; enter access
                                code 2121806; and the security code 0220 followed by the # (pound) key (ATL) (Entered:
                                08/13/2013)
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                        11/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida

         USCA11 68
  08/13/2013    Case: 18-13452
                   ORDER   denying Document:
                                   53 Motion to38   Date Filed:from
                                               Take Deposition   04/08/2019     Page:
                                                                    Brian Culkin.      18byofMagistrate
                                                                                  Signed      222
                                Judge Thomas B. McCoun III on 8/13/2013. (ATL) (Entered: 08/13/2013)

  09/04/2013             69     STATUS report on the Parties Meet and Confer Conferences on Issues to be Discussed at
                                the Hearing Set for September 5, 2013 by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz as to Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc., IAS Administrations, Inc., U.S. IAS
                                Members Tmst, Church of Scientology Religious Tmst. (Attachments: # 1 Exhibit
                                Exhibit A)(McGovem, Amanda) (Entered: 09/04/2013)

  09/05/2013             70     Minute Entry. Proceedings held before Magistrate Judge Thomas B. McCoun III:
                                MOTION HEARING held on 9/5/2013 re 60 MOTION for protective oMer Regarding
                                Defendants' Request for Production Pusuant to Exhibit A of Defendants' Flag and Ship
                                Subpoena Duces Tecum filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz.
                                (DIGITAL) (SRC) (Entered: 09/05/2013)
  09/13/2013             21     ORDER granting in part and denying in part 60 Motion for Protective Order. Signed by
                                Magistrate Judge Thomas B. McCoun HI on 9/13/2013. (ATL) (Entered: 09/13/2013)

  09/19/2013             22     Witness List by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt, Theodore)
                                (Entered: 09/19/2013)
  09/19/2013             73     Witness List by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt, Theodore)
                                (Entered: 09/19/2013)
  09/19/2013             24 Exhibit List and Witness List for October Evidentiaiy Hearing by Church of Scientology
                                Flag Service Organization, Inc., Church of Scientology Flag Ship Service Organization,
                                Inc., Church ofScientology Religious Trust, IAS Administrations, Inc., U.S. IAS
                                Members Tmst. (Potter, Robert) (Entered: 09/19/2013)

  09/20/2013             25     TRANSCRIPT of Motion Hearing held on 09-05-13 before Judge Thomas B. McCoun,
                                III. Court Reporter/Transcriber Bill Jones,Telephone number 813-301-5024. Transcript
                                may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                date it may be obtained through PACER or purchased through the Court Reporter.
                                Redaction Request due 10/11/2013, Redacted Transcript Deadline set for 10/21/2013,
                                Release of Transcript Restriction set for 12/19/2013. (HWJ) (Entered: 09/20/2013)

  09/20/2013             76 NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7)
                                calendar days to file with the court a Notice of Intent to Request Redaction of this
                                transcript. If no such Notice is filed, the transcript may be made remotely electronically
                                available to the public without redaction after 90 calendar days. Any party needing a
                                copy of the transcript to review for redaction puiposes may purchase a copy from the
                                court reporter or view the document at the clerk's office public terminal. Court Reporter:
                                Bill Jones (HWJ) (Entered: 09/20/2013)
  09/23/2013             22     Witness List by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc., Church of Scientology Religious Trust,
                                IAS Administrations, Inc., U.S. IAS Members Trust. (Potter, Robert) (Entered:
                                09/23/2013)
   10/01/2013            28 MOTION to Compel Compliance with Subpoenas and Order of Sept 13 2013; Request
                                for Continuance of Oct 3 2013 Evidentiary Hearing by Church of Scientology Flag
                                Service Organization, Inc., Church ofScientology Flag Ship Service Organization, Inc..
                                (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C, # 4
                                Exhibit Exhibit D, # 5 Exhibit Exhibit E, # 6. Exhibit Exhibit F)(Potter, Robert) Motions
                                referred to Magistrate Judge Thomas B. McCoun HI. (Entered: 10/01/2013)


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4/2/2019                                           Electronic Cqse Filing | U.S. District Court - Middle District of Florida

          USCA11 79
   10/02/2013    Case: 18-13452
                    ORDER  denying Document:  38Request
                                   28 Defendants'  Datefor
                                                        Filed: 04/08/2019
                                                           Continuance of Oct 3Page: 19 of 222
                                                                                2013 Evidentiary
                                Hearing. Signed by Judge James D. Whittemore on 10/2/2013. (KE) (Entered:
                                10/02/2013)
   10/03/2013                   Minute Entry. Proceedings held before Judge James D. Whittemore: denying 36 Motion
                                to Disqualify Counsel; denying 32 Motion to Disqualify Counsel. MOTION HEARING
                                held on 10/3/2013 re 36 MOTION to Disqualify Plaintiffs' Counsel filed by Church of
                                Scientology Flag Service Organization, Inc., Church ofScientology Flag Ship Service
                                Organization, Inc. and re 37 Joint MOTION to Disqualify Plaintiffs Counsel by Church
                                of Scientology Religious Trust, IAS Administrations, Inc., andU.S. IAS Members Tmst.
                                Court Reporter: ^cottN. Gamertsfelder (AO) (Entered: 10/03/2013)

   10/03/2013            81     Evidentiary Hearing Exhibit List by Luis A. Garcia Saz, and Maria Del Rocio Burgos
                                Garcia.(AO) (Entered: 10/03/2013)
   10/04/2013            82     ENDORSED ORDER denying as moot 28 Motion to Compel. Signed by Magistrate
                                Judge Thomas B. McCounIH on 10/4/2013. (ATL) (Entered: 10/04/2013)

   10/07/2013            83     NOTICE of EXHIBITS placed in the EXHIBIT ROOM (1 Folder-Evidentiary Hearing)
                                (RVB) (Entered: 10/08/2013)
   10/08/2013                   NOTICE of Appearance by Amanda Marie McGovem on behalf of Maria Del Rocio
                                Burgos Garcia, Luis A. Garcia Saz (McGovem, Amanda) (Entered: 10/08/2013)

   10/08/2013                   NOTICE oiAmanda Sundarsingh of Appearance by Theodore Babbitt on behalf of Maria
                                Del Rocio Burgos Garcia, Luis A. Garcia Saz (Babbitt, Theodore) (Entered: 10/08/2013)

   10/16/2013                   TRANSCRIPT of Motion Hearing held on October 3, 2013 before Judge James D.
                                Whittemore. Court Reporter/Transcriber Scott Gamertsfelder, Telephone number
                                813.301.5898. Transcript may be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber before the deadline for Release of Transcript
                                Restriction. After that date it may be obtained through PACER or purchased through the
                                Court Reporter. Redaction Request due 11/6/2013, Redacted Transcript Deadline set for
                                11/18/2013, Release of Transcript Restriction set for 1/14/2014. (SNG) (Entered:
                                10/16/2013)
   10/16/2013            87 NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7)
                                calendar days to file with the court a Notice of Intent to Request Redaction of this
                                transcript. If no such Notice is filed, the transcript may be made remotely electronically
                                available to the public without redaction after 90 calendar days. Any party needing a
                                copy of the transcript to review for redaction purposes may purchase a copy from the
                                court reporter or view the document at the clerk's office public terminal. Court Reporter:
                                Scott N. Gamertsfelder 813.301.5898. (SNG) (Entered: 10/16/2013)

   10/17/2013                   NOTICE by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc. re 8 Joint MOTION to compel
                                arbitration and to Stay Proceedings (Attachments: # 1 Exhibit A)(Potter, Robert)
                                (Entered: 10/17/2013)
   10/18/2013                   ORDER directing Defendants to file a memorandum by October 24, 2013 as to 8 ,15 ,
                                and 18 MOTIONS to compel arbitration filed by IAS Administrations, Inc., Church of
                                Scientology Flag Service Organization, Inc., Church of Scieatology Flag Ship Service
                                Organization, Inc., U.S. IAS Members Tmst, and Church of Scientology Religious Tmst.
                                Signed by Judge James D. Whittemore on 10/17/2013. (AO) (Entered: 10/18/2013)

   10/21/2013            90     MOTION to dismiss for lack of jurisdiction by Church of Scientology Religious Tn^st,
                                IAS Administrations, Inc., U.S. IAS Members Trust. (Tomassi, Marie) (Entered:
                                10/21/2013)
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                        13/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida

   10/24/2013
          USCA11 91
                  Case: 18-13452re 89Document:
                     RESPONSE                   38 Date
                                      Order concerning       Filed: procedures
                                                       arbitration  04/08/2019 filed Page: 20 of
                                                                                     by Church of 222
                                Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship Service
                                Organization, Inc.. (Potter, Robert) (Entered: 10/24/2013)

   11/04/2013            92     STRICKEN PURSUANT TO ORDER 98 RESPONSE to Motion re 90 MOTION to
                                dismiss for lack of jurisdiction filed by Church of Scientology Flag Service Organization,
                                Iric., Church of Scientolpgy Flag Ship Setvice Organization, Inc.. (Potter, Robert)
                                Modified on 11/14/2013 (DG). (Entered: 11/04/2013)
  11/04/2013             93     MEMORANDUM in opposition re 90 Motion to dismiss/laclc of jurisdiction filed by
                                Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # 1 Exhibit IASA'S
                                Annual Corporate Reports, # 2 Exhibit Declaration of Luis Garcia)(McGovem, Amanda)
                                (Entered: 11/04/2013)
   11/06/2013            94     MOTION for leave to file ten-page memorandum in resp to defendant FSO and FSSO's
                               resp to the joint motion of other Defendants to Dismiss for Lack of Subject matter
                               jurisdiction by All Plaintiffs. (McGovem, Anlanda) (Entered: 11/06/2013)

   11/07/2013            95     STRICKEN PURSUANT TO ORDER 98 RESPONSE in Opposition re 94 MOTION for
                                leave to file ten-page memorandum in resp to defendant FSO andFSSO's resp to the joint
                                motion of other Defendants to Dismiss for Lack of Subject matter jurisdiction filed by
                                Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # i Exhibit A
                                Declaration of Michael Kinder, # 2 Exhibit Exhibit 1-A Introduction to Scientology
                                Ethics, # 3 Exhibit Exhibit 1-B Introduction to Scientology Ethics; # 4 Exhibit Exhibit 1-
                                C Introduction to Scientology Ethics, # 5 Exhibit Exhibit 1-D Introduction to Scientology
                                Ethics)(Babbitt, Theodore) Modified on 11/14/2013 (DG). (Entered: 11/07/2013)
   11/08/2013            96 MOTION to Strike 93 Memorandum in opposition to Motion to Dismiss by Church of
                                Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship Service
                                Organization, Inc.. (Potter, Robert) Motions referred to Magistrate Judge Thomas B.
                                McCounIII. (Entered; 11/08/2013)

   11/11/2013            97 MOTION to Strike and Certificate of Good Faith by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology FUg Ship Service Organization, Inc.. (Pope,
                                F.) Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered: 11/11/2013)

  11/13/2013             98     ORDER striking 92 Response of Defendants Flag Church and Ship Church to Motion of
                                Other Defendants to Dismiss; striking Plaintiffs' Memorandum in Response; denying as
                                moot 94 Motion for Leave to File; denying as moot 92 Motion to Strike. Signed by Judge
                                James D. Whittemore on 11/12/2013. (KE) (Entered: 11/13/2013)

  12/06/2013             99 ORDER ruling deferred 90 Motion to dismiss for lack of jurisdiction. Signed by Judge
                                James D. Whittemore on 12/5/2013. (KE) (Entered: 12/06/2013)

  01/15/2014            100     ORDER ruling deferred 8 Motion to compel arbitration; ruling deferred 15 Motion to
                                compel arbitration; ruling deferred 1.8 Motion to compel arbitration pending resolution of
                                subject matter jurisdiction. Signed by Judge James D. Whittemore on 1/14/2014. (KE)
                                (Entered: 01/15/2014)
  03/12/2014            101     Unopposed MOTION for leave to file Leave to File Motion/Memorandum of Law
                                Diversity of Citizenship and Jurisdiction by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc., Church
                                of Scientology Religious Tmst, IAS Administrations, Inc., U.S. IAS Members Tmst.
                                (Potter, Robert) (Entered: 03/12/2014)

  03/14/2014            102     ORDER granting 101 Defendants' Unopposed Motion for Leave to File
                                Motion/Memorandum of Law Diversity of Citizenship and Jurisdiction. Signed by Judge
                                James D. Whittemore on 3/13/2014. (AO) (Entered: 03/14/2014)

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         USCA11103
  03/26/2014     Case: 18-13452
                    MOTION        Document:Complaint
                            to Amend/Correct 38 Date   Filed:
                                                     and      04/08/2019
                                                         Memorandwn   of LawPage:
                                                                             by All 21 of 222
                                                                                    Plaintiffs.
                                (Babbitt, Theodore) (Entered: 03/26/2014)

  03/27/2014            104     MEMORANDUM in support re 90 Motion to dismiss/lack of jurisdiction, 102 Order on
                                Motion for Leave to File filed by Church of Scientology Flag Service Organization, Inc.,
                                Church of Scientology Flag Ship Service Organization, Inc., Church of Scientology
                                Religious Tmst, IAS Administrations, Inc., U.S. IAS Members Tmst. (Attachments: # i
                                Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit Fl, # 1
                                Exhibit F2, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit II, # U. Exhibit 12, # 12 Exhibit 13,
                               # 13 Exhibit J, # 14 Exhibit K,# 15 Exhibit M, # 16 Exhibit N, # M Exhibit 0, # 18
                                Exhibit P, # 19 Exhibit Q, # 20 Exhibit R, # 21 Exhibit S, # 22 Exhibit T)(Potter, Robert)
                                (Entered: 03/27/2014)
  04/01/2014            105     ORDER denying without prejudice 103 motion to amend/correct. Signed by Judge James
                                D. Whittemore on 3/31/2014. (KE) (Entered: 04/01/2014)

  04/07/2014            106 MOTION to Amend/Correct Complaint and Memorandum of Law by All Plaintiffs.
                                (Attachments: # 1 Exhibit A - Proposed Amended Complain and Demand for Jury Trial)
                                (Babbitt, Theodore) Counsel notified by telephone that this pleading does not have thp
                                proper electronic attorney signature. Item terminate^. Modified bn 4/8/2014 (DG).
                                (Entered: 04/07/2014)
  04/07/2014            107     Amended MOTION to Amend/Correct Complaint andM.emorandum of Law by All
                                Plaintiffs. (Attachments: # 1 Exhibit A - Amended Complaint)(Babbitt, Theodore)
                                Counsel notified by telephone that this item does not have proper electronic attorney
                                signature. Item to be reflled. Item terminated. Modified on 4/8/2014 (DG). (Entered:
                                04/07/2014)
  04/08/2014            108     Second MOTION to Amend/Correct Amended Renewed Motion to Amend Complaint and
                                Memorandum of Law by All Plaintiffs. (Attachments: # 1 Exhibit A - Amended
                                Complaint arid Demand for Jury Trial)(Babbitt, Theodore) (Entered: 04/08/2014)

  04/13/2014            109 Unopposed MOTION for Extension of Time to File Response/Reply TO DEFENDANT'S
                                SUPPLEMENTAL MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS
                                FOR LACK OF SUBJECT MATTER JURISDICTION^ Luis A. Garcia Saz.
                                (McGovem, Amanda) Motions referred to Magistrate Judge Thomas B. McCoun III.
                                (Entered: 04/13/2014)
  04/15/2014            110     MEMORANDUM in opposition re 108 Motion to Amend/Correct filed by Church of
                                Scientology Flag Service Organization, Inc., Church ofScientology Flag Ship Service
                                Organization, Inc.. (Potter, Robert) (Entered: 04/15/2014)

  04/16/2014            Ill     ENDORSED ORDER granting 109 Motion for Extension of Time to File Response In
                                Opposition. Plaintiffs' are granted a 2-day extension of time. Signed by Judge James D.
                                Whittemore on 4/16/2014. (AO) (Entered: 04/16/2014)
  04/16/2014            112     MEMORANDUM in opposition re 111 Order on Motion for Extension of Time to File
                                Response/Reply filed by Luis A. Garcia Saz. (McGovem, Amanda) (Entered:
                                04/16/2014)
  05/02/2014            113     ORDER denying as moot 90 Motion to dismiss for lack of jurisdiction; denying as moot
                                96 Motion to Strike ; granting 108 motion to amend/correct. Signed by Judge James D.
                                Whittemore on 5/2/2014. (KE) (Entered: 05/02/2014)
  05/12/2014            114     AMENDED COMPLAINT and Demand for Jwy Trial against Church of Scientology
                                Flag Service Organization, Inc., Church of Scientology Flag Ship Service Organization,
                                Inc. with Jury Demahd. filed by All Plaintiffs. (Babbitt, Theodore) (Entered: 05/12/2014)

  05/19/2014            115     ENDORSED ORDER denying as moot 15 MOTION to compel arbitration and Stay
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                      Proceedings                38Scientology
                                      by Church of     Date Filed:  04/08/2019
                                                               Religious           Page: 22
                                                                         Tmst and denying    of 222
                                                                                          as moot 18
                                MOTION to compel arbitration filed by U.S. IAS Members Trust, as these parties are no
                                longer Defendants in this case. Signed by Judge James D. Whittemore on 5/19/2014.
                                (KE) (Entered: 05/19/2014)
  05/19/2014            116 Unopposed MOTION for Extension of Time to File Response/Reply as to 114 Amended
                                Complaint by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc.. (Potter, Robert) Motions referred to
                                Magistrate Judge Thomas B. McCoun III. (Entered: 05/19/2014)

   05/20/2014           117     ENDORSED ORD^R granting 116 Motion for Extension of Time to File Response.
                                Response due by 5/29/2014. Signed by Judge James D. Whittemore on 5/20/2014. (KE)
                                (Entered: 05/20/2014)
  06/03/2014            118     AMENDED ORDER amending 117 Order on Motion for Extension of Time to File
                                Response. Defendants' response due by 6/16/14. Signed by Judge James D. Whittemore
                                on 6/3/2014. (KE) (Entered: 06/03/2014)
  06/15/2014            119     MOTION to dismiss for lack of jurisdiction or to certify appeal by Church of Scientology
                                Flag Service Organization, Inc., Church of Scientology Flag Ship Service Organization,
                                Inc.. (Attachments: # 1 Affidavit Monique Yingling, # 2 Affidavit Glen Stilo, # 3
                                Affidavit mislav Raos, # 4 Affidavit Peter Mansell, # 5 Affidavit Kenneth Weber, # 6
                                Affidavit Charmaine Roger, ^ 1 Exhibit CSRT receipts, # 8 Exhibit Luis C^arcia depo, # 9
                                Affidavit Michelle Villeneuve, # 10 Exhibit USIMT receipts, # U Exhibit USIMT
                                receipts, # 12 Exhibit USIMT receipts)(Potter, Robert) (Entered: 06/15/2014)

  06/15/2014            120     Amended MOTION to compel arbitration by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc.. (Potter,
                                Robert) (Entered: 06/15/2014)
  07/01/2014            121     MEMORANDUM in opposition re 119 Motion to dismiss/lack of jurisdiction Plaintiffs'
                                Memorandum in Opposition to Flag and Ship's Motion to Dismiss for Lack of Subject
                                Matter Jurisdiction or, in the Alternative, to Certify the Question for an Immediate
                                Appeal filed by Luis A. Garcia Saz. (McGovern, Amanda) (Entered: 07/01/2014)

  07/03/2014            122     ENDORSED ORDER granting 121 Motion for Extension of Time to File Memorandum.
                                Signed by Judge James D. Whittemore on 7/3/2014. (KE) (Entered: 07/03/2014)

  07/09/2014            123     MEMORANDUM in opposition re 119 Motion to dismiss/lack of jurisdiction filed by
                                Maria Del Rocio Burgos Garcia, Luis A. Garcid Saz. (McGovem, Amanda) (Entered:
                                07/09/2014)
  07/25/2014            124     ORDER denying 119 Motion to Dismiss for Lack of Subjept Matter Jurisdiction. Signed
                                by Judge James D. Whittemore on 7/24/2014. (AO) (Entered: 07/25/2014)

  08/08/2014            125     ORDER Setting Oral Argument on 120 Amended MOTION to compel arbitration: Oral
                                argumeht scheduled for 9/4/2014 at 2:30 PM in Tampa Courtroom 13B before Judge
                                James D. Whittembre. Signed by Judge James D. Whittemore on 8/8/2014. (ICE)
                                (Entered: 08/08/2014)
  09/04/2014            126     Minute Entry. Proceedings held before Judge James D. Whittemore: MOTION
                                HEARING held on 9/4/2014 re 120 Amended MOTION to compel arbitration filed by
                                Church of Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship
                                Service Organization, Inc. Court Reporter: Lynann Nicely (AO) (Entered: 09/04/2014)

  09/17/2014            127     MOTION for leave to file Authenticated Copy of Complete 1963 HCO Policy Letter by
                                Church of Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship
                                Service Organization, Inc.. (Attachments: # 1 Affidavit, # 2 Exhibit)(Potter, Robert)
                                (Entered: 09/17/2014)
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  09/24/2014            128     RESPONSE to Motion re 127 MOTION for leave to file Authenticated Copy of Complete
                                1963 HCO Policy Letter filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz.
                                (Babbitt, Theodore) (Entered: 09/24/2014)
  09/24/2014            129     TRANSCmPT of motion hearing held on 9/04/2014 before Judge Whittemore. Court
                                Reporter/Transcriber Lynann Nicely, Telephone number (813) 301-5252. Transcript may
                                be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                date it ihay be obtained through PACER or purchased through the Court Reporter..
                                Redaction Request due 10/15/2014, Redacted Transcript Deadline set for 10/27/2014,
                                Release of Transcript Restriction set for 12/23/2014. (LN) (Entered: 09/24/2014)

  09/24/2014            130     NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7)
                                calendar days to file with the court a Notice of Intent to Request Redaction of this
                                transcript. If no such Notice is filed, the transcript may be made remotely electronically
                                available to the public without redaction after 90 calendar days. Any party needing a
                                copy of the transcript to review for redaction purposes may purchase a copy from the
                                court reporter or view the document at the clerk's office public terminal. Court Reporter:
                                Lynann Nicely. (LN) (Entered: 09/24/2014)

  09/25/2014            131 ORDER granting 127 Motion for Leave to File Authenticated Copy of Complete 1963
                                HCO Policy Letter. Signed by Judge James D. Whittemore on 9/24/2014. (KE) (Entered:
                                09/25/2014)
   10/06/2014           132     NOTICE by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc. re 131 Order on Motion for Leave to
                                File (Attachments: # 1 Affidavit)(Potter, Robert) (Entered: 10/06/2014)

   10/15/2014           133    NOTICE by Maria Del Rocio Burgos Gaitia, Luis A. Garcia Saz re 131 Order on Motion
                                for Leave to File Affidavit In Complianced with Court Order (Attachments: # 1 Affidavit
                                Affidavit of Michael Kinder) (Babbitt, Theodore) (Entered: 10/15/2014)

   10/21/2014           134 MOTION to Strike 1.33 Notice (Other) Affidavit of Mike Kinder by Church of
                                Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship Service
                                Organization, Inc.. (Potter, Robert) Motions referred to Magistrate Judge Thomas B.
                                McCounIII. (Entered: 10/21/2014)

   10/22/2014           135     RESPONSE iii Opposition re 134 MOTION to Strike 133 Notice (Other) Affidavit of
                                Mike Kinder filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt,
                                Theodore) (Entered: 10/22/2014)

   11/06/2014           136     ORDER denying 134 Motion to Strike. Signed by Judge James D. Whittemore on
                                11/5/2014. (KE) (Entered: 11/06/2014)
   11/14/2014           137     ORDER Setting Hearing on Renewed Motion to compel arbitration 120 : Motion Hearing
                                set for 2/18/2015 at 01:30 PM in Tampa Courtroom 13 B before Judge James D.
                                Whittemore. Signed by Judge James D. Whittemore on 11/13/2014. (AO) (Entered:
                                11/14/2014)
   12/05/2014           138     Unopposed MOTION for Bert H. Deixler, Esquire tp appear pro hac vice by Church of
                                Scientology Flag Service Organization, Inc., Church ofScientology Flag Ship Service
                                Organization, Inc.. (Attachments: # 1 Exhibit)(Potter, Robert) (Entered: 12/05/2014)

   12/10/2014                   ***PRO HAC VICE FEES paid and Special Admission Attorney Certification Form
                                filed by attorney Bert Howard Deixler, appearing on behalf of Church of Scientology
                                Flag Semce Organization, Inc. (Filing fee $10 receipt number TPA27300.) Related
                                document: 138 Unopposed MOTION for Bert H. Deixler, Esquire to appear pro hac vice.
                                (AG) (Entered: 12/10/2014)
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   12/11/2014           139     ORDER denying without prejudice 138 motion to appear pro hac vice. Signed by Judge
                                James D. Whittemqre on 12/9/2014. (KE) (Entered: 12/11/2014)

   12/12/2014           140     Unopposed MOTION for to appear pro hac vice by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc..
                                (Attachments: # i Exhibit)(Potter, Robert) (Entered: 12/12/2014)

   12/12/2014           141     MOTION for protective order Invoking Rule of Sequestration by Church of Scientology
                                Flag Service Organization, Inc., Church ofScientology Flag Ship Service Organization,
                                Inc.. (Potter, Robert) Motions referred to Magistrate Judge Thomas B. McCoun III.
                                (Entered: 12/12/2014)
   12/16/2014           142     ORDER directing Plaintiff^ to respond to 141 MOTION for protective order Invoking
                                Rule ofSequestration. Response due by 12/19/2014. Signed by Judge James D.
                                Whittemore on 12/15/2014. (KE) (Entered: 12/16/2014)
   12/16/2014           143     ENDORSED ORDER granting 140 motion to appear pro hac vice. Bert H. Deixler, Esq.
                                admitted pro bac vice. Robert V. Potter, Esq. 4esignated local counsel. Cotmsel are
                                further notified that pursuant to the USDC - Middle District of Florida's Administrative
                                Procedures for Electronic Filing in Civil and Criminal Cases, Section I(A)"... all
                                documents filed in Civil and Criminal cases in this District... shall be filed electronically."
                                Therefore, the attomey(s) being admitted pro hac vice is/are directed to sign up for
                                CM/ECF, enter an email address in their CM/ECF account and electronically file a notice
                                of compliance with this Court's Order within thirty (30) days. Failure to comply with this
                                Order as directed v^ill result in counsel being terminated from the docket sheet without
                                further notice. Signed by Judge James D. Whittemore on 12/16/2014. (KE) (Entered:
                                12/16/2014)
   12/19/2014           144 RESPONSE in Opposition re 141 MOTION for protective order Invoking Rule of
                                Sequestration filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (McGovem,
                                Amanda) (Entered: 12/19/2014)
                        145 ORDER denying 141 Motion for Protective Order. Signed by Judge James D.
                                Whittemore on 12/22/2014. (KE) (Entered: 12/22/2014)
                        146     NOTICE by Church of Scientology Flag Service Organization, Inc. of Compliance
                                (Deixler, Bert) (Entered: 12/31/2014)

                        147     MOTION to Compel Deposition and Response to Witness, Mike Ellis, Motion for
                                Protective Order and Motion to Extend Discovejy Date by Maria Del Rocio Burgos
                                Garcia, Luis A. Garcia Saz. (Attachments: # 1 Exhibit A Email, # 2 Exhibit B Notice of
                                Filing Affidavit, # 3 Exhibit C Email, # 4 Exhibit D Email, # 5 Exhibit E Email)(Babbitt,
                                Theodore) Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered:
                                01/16/2015)
  01/17/2015            148     NOTICE of Limited Appearance as local counsel Appearance by Robert Vemon Potter
                                on behalf of Church of Scientology International and Mike Ellis (Potter, Robert)
                                (Entered: 01/17/2015)
  01/17/2015            149     Emergency MOTION for protective order response to Motion to Compel (Doc. 147)and
                                instanter motion for limitedadmission by Church of Scientology International and Mike
                                Ellis. (Attachments: # i Affidavit Mike Ellis, # 2 Affidavit Gary Soter)(Potter, Robert)
                                Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered: 01/17/2015)

  01/20/2015            150     STIPULATION by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc.. (Pope, F.) (Entered: 01/20/2015)

  01/20/2015            151     NOTICE by Church of Scientology Flag Service Organization, Inc., Church of

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                                      Ship Service 38   Date Filed:
                                                   Organization, Inc., 04/08/2019     Page: International
                                                                       Church of Scientology 25 of 222
                         and Mike Ellis re 149 Emergency MOTION for protective order response to Motion to
                         Compel (Doc. 147)and instanter motion for limitedadmission of Resolution of Dispute
                         Regarding Emergency Motion For Protective Order and Motion To Compel (Potter,
                         Robert) (Entered: 01/20/2015)
  01/20/2015       152   MOTION to Appear Telephonically/or Status Conference by All Plaintiffs. (Babbitt,
                         Theodore) Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered:
                         01/20/2015)
  01/20/2015       153   MOTION to Amend/Correct, MOTION to Compel Deposition and Response to Witness,
                         M.ike Elis, Motion for Protective Order and Motion to Extend Discovery Date by Maria
                         Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # 1 Exhibit A Email, # 2
                         Exhibit B Notice of Filing Affidavit, # 3 Exhibit C Email, # 4 Exhibit D Email, # 5
                         Exhibit E Email) (Babbitt, Theodore) Motions referred to Magistrate Judge Thomas B.
                         McCounIII. (Entered: 01/20/2015)

  01/21/2015       154   ORDER granting 152 Motion to Appear Telephonically. See order for directions on how
                         to attend via telephone. Signed by Judge James D. Whittemore on 1/21/2015. (KE)
                         (Entered: 01/21/2015)
  01/21/2015       155   ORDER directing Defendants to respond to 153 Amended MOTION to Compel
                         Deposition and Response to Witness, Mike Elis, Motion for Protective Order and Motion
                         to Extend Discovery Date. Responses due by 1/21/2015 at 5:00 P.M. Signed by Judge
                         James D. Whittemore on 1/21/2015. (KE) (Entered: 01/21/2015)

  01/21/2015       156   NOTICE of withdrawal of motion by Maria Del Rocio Burgos Garcia, Luis A. Garcia
                         Saz re 147 MOTION to Compel Deposition and Response to Witness, Mike Ellis, Motion
                         for Protective Order and Motion to Extend Discovejy Date filed by Maria Del Rocio
                         Burgos Garcia, Luis A. Garcia Saz, 153 MOTION to Amend/Correct MOTION to
                         Compel Deposition and Response to Witness, Mike Elis, Motion for Protective Order and
                         M^otion to Extend Discovery Date filed by Maria Del Rocio Burgos Garcia, Luis A.
                         Garcia Saz (Babbitt, Theodore) (Entered: 01/21/2015)

  01/21/2015       157   ENDORSED ORDER granting 150 construed motion for extension of discovery
                         deadline. Discovery shall be completed by 2/6/15. Signed by Judge James D. Whittemore
                         on 1/21/2015. (KE) (Entered: 01/21/2015)
  01/21/2015       158   RESPONSE rp 155 Order directing response to motion to compel filed by Church of
                         Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship Service
                         Organization, Inc.. (Potter, Robert) (Entered: 01/21/2015)

  01/21/2015       159   MOTION to Appear Telephonically At Status Conference by Church of Scientology Flag
                         Service Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc..
                         (Potter, Robert) Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered:
                         01/21/2015)
  01/21/2015             ORDER granting 159 Motion to Appear Telephonically. Signed by Judge James D.
                         Whittemore on 1/21/2015. (KE) (Entered: 01/21/2015)
  01/21/2015       161   ENDORSED ORDER denying as moot 153 motion to amend/correct. Signed by Judge
                         James D. Whitternore on 1/21/2015. (Whittemore, James) (Entered: 01/21/2015)

  01/22/2015       162 Minute Entry. Proceedings held before Judge James D. Whittemore: TELEPHONIC
                         STATUS CONFERENCE held on 1/22/2015. Court Reporter: Lynann Nicely (AO)
                         (Entered: 01/23/2015)
  01/23/2015       163 I NOTICE OF RESCHEDULING HEARING (AS TO TIME ONLY): The Evidentiary
                         Hearing hearing previously scheduled for Febmary 18, 2015 is rescheduled. New hearing
https://ecf .flmd.uscourts.gov/cgi-bin/DktRpt.pl7364984370289201-L_1_0-1 19/31
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                                                                 at 10:00           Page:
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                                                                                      Courtroom 222B
                                before Judge James D. Whittemore. (AO) (Entered: 01/23/2015)

  02/09/2015            164     Consent MOTION to allow electronic equipment; specifically laptop computer prior to
                                and during Februaiy 18, 2015 hearing by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc., Church
                                of Scientology International and Mike Ellis, Church of Scientology Religious Tmst.
                                (Potter, Robert) (Entered: 02/09/2015)

  02/09/2015            165     ORDER granting 164 Motion to allow electronic equipment. Signed by Judge James D.
                                Whittemore on 2/9/2015. (KE) (Entered: 02/09/2015)

  02/11/2015            166 DEFENDANT'S BR^EF re 132 Order Setting Hearing on Motion to compel arbitration:
                                regarding arbitration procedures and conscionability filed by Church of Scientology
                                Flag Service Organization, Inc., Church of Scientology Flag Ship Service Organization,
                                Inc.. (Attachments: # 1 Exhibit deposition Mike Ellis, # 2 Exhibit deposition Luis Garcia,
                                # 3. Exhibit deposition Mike Rinder, # 4 Exhibit deposition Sherman Lenske, # 5 Exhibit
                                deposition Allah Cartwright)(Potter, Robert) (Entered: 02/11/2015)

  02/11/2015            167     Witness List by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc.. (Potter, Robert) (Entered: 02/11/2015)

  02/12/2015            168     Witness List by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt, Theodore)
                                (Entered: 02/12/2015)
  02/16/2015            169     Exhibit List and Witness List Amended by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz. (Babbitt, Theodore) (Entered: 02/16/2015)

  02/16/2015            170     TRIAL BRIEF by Maria Del Rocio Burgos Garcja, Luis A. G^rcia Saz. (Babbitt,
                                Theodore) (Entered: 02/16/2015)
  02/16/2015            171     Exhibit List Amended and Witness List by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz. (Babbitt, Theodore) (Entered: 02/16/2015)

  02/16/2015            172     Exhibit List supplemental 'by Church of Scientology Flag Service Organization, Inc.,
                                Church of Scientolpgy Flag Ship Service Organization, Inc.. (Potter, Robert) (Entered:
                                02/16/2015)
  02/17/2015            173     MOTION to Strike 170 Trial Brief filed by Plaintiff by Church of Scientology Flag
                                Service Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc..
                                (Attachments: # i deposition Mike Ellis, # 2 Soter letter, # 3 emails)(Potter, Robert)
                                Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered: 02/17/2015)

  02/17/2015                    Exhibit List^br Hearing by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz.
                                (Babbitt, Theodore) (Entered: 02/17/2015)

  02/17/2015                    NOTICE by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organizatioh, Inc. re 172 Exhibit List Amended
                                (Attachments: # i Exhibit)(Potter, Robert) (Entered: 02/17/2015)

  02/18/2015                    ENDORSED ORDER denying 173 Motion to Strike. Signed by Judge James D.
                                Whittemore on 2/18/2015. (Whittemore, James) (Entered: 02/18/2015)

  02/18/2015                    Minute Entry. Proceedings held before Judge James D. Whittemore: MOTION
                                HEARING held on 2/18/2015 re 120 Amended MOTION to compel arbitration filed by
                                Church of Scientoldgy Flag Service Organization, Inc., Church of Scientology Flag Ship
                                Service Organization, Inc. Court Reporter: Lynann Nicely (AO) (Entered: 02/19/2015)

  02/19/2015            178     Minute Entry. Proceedings held before Judge James D. Whittemore: MOTION
                                HEARING - DAY 2 held on 2/19/2015 re 120 Amended MOTION to compel arbitration
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt,pl?364984370289201-L_1_0-1                                                         20/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida

            USCA11 Case:  18-13452
                      filed            Document:
                            by Church of Scientology38    Date Filed:
                                                     Flag Service     04/08/2019
                                                                  Organization,        Page:of27Scientology
                                                                                Inc., Church     of 222
                               Flag Ship Service Organization, Inc. Court Repbrter: Lynann Nicely (AO) (Entered:
                                02/19/2015)
  02/19/2015           129     Evidentiary Motion Hearing Exhibit List by Maria Dpi Rocio Burgos Garcia, Luis A.
                                Garcia Saz. (AO) (Entered: 02/19/2015)

  02/19/2015            180     Evidentiary Motion Hearing Exhibit List by Church of Scientology Flag Service
                                Organisation, Inc., Church of Scientology Flag Ship Service Organization, Inc. (AO)
                                (Entered: 02/19/2015)
  02/19/2015            181    NOTICE of supplemental authority by Maria Del Rocio Burgos Garcia, Luis A. Garcia
                                Saz, (Attachments: # i Supplement Supplement Authority) (Quaranta, John) (Entered:
                                02/19/2015)
  02/25/2015            182    NOTICE of supplemental authority re 120 Amended MOTION to compel arbitration by
                                Church of Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship
                                Service Organization, Inc.. (Potter, Robert) (Entered: 02/25/2015)

  02/26/2015            183    NOTICE of EXHIBITS placed in the Exhibit Room (2 folders) te: Motion Hearings held
                                2/18/15 and 2/19/15. (DQ) Modified on 2/26/2015 (DG). (Entered: 02/26/2015)
  02/26/2015            184    NOTICE of supplemental authority by Maria Rel Rocio Burgos Garcia, Luis A. Garcia
                                Saz. (Attachments: # 1 Supplement Supplemental Authority, # 2 Supplement
                                Supplemental Authority) (Quaranta, John) (Entered: 02/26/2015)

  02/26/2015            185 NOTICE of supplemental authority re 30 Response in Opposition to Motion to Compel
                                Arbitration by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # 1
                                Exhibit Hemandez v Comm'r) (Babbitt, Theodore) (Entered: 02/26/2015)

  02/27/2015            186     ORDER on filing of supplemental authority. Signed by Judge James D. Whittemore on
                                2/27/2015. (KE) (Entered: 02/27/2015)
  02/28/2015            187    NOTICE by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc. of filing deposition transcript of
                                Sherman Lenske (Potter, Robert) (Entered: 02/28/2015)

  02/28/2015            188    NOTICE by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc. of filing deposition transcript ofM^ike
                                Ellis (Attachments: # 1 deposition Mike Ellis, # 2 deposition mike ellis, # 3 deposition
                                Mike Ellis, # 4 deposition mike EUis)(Potter, Robert) (Entered: 02/28/2015)

  03/13/2015            189     ORDER granting 120 Defendants' Renewed Motion to Compel Arbitration and to Stay
                                Proceedings. This case is STAYED pending arbitration. The Clerk is directed to CLOSE
                                this case. Signed by Judg^ James D. Whittemore on 3/13/2015. (AO) (Entered:
                                03/13/2015)
  03/25/2015            190    NOTICE of filing correspondence from Caesar Alarcon. (Attachments: # 1 Mailing
                                Envelope)(KE) (Enterpd: 03/25/2015)
  04/09/2015            191     MOTION for New Trial /Reconsideration by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz. (Babbitt, Theodore) (Entered: 04/09/2015)

  04/15/2015            192     Unopposed MOTION for Extension of Time to File Response/Reply to Plaintiffs' Motion
                                For Reconsideration by Church of Scientology Flag Service Organization, Inc., Church
                                of Scientology Flag Ship Service Organization, Inc.. (Potter, Robert) Motions referred to
                                Magistrate Judge Thomas B. McCoun HI. (Entered: 04/15/2015)

  04/20/2015            193     ENDORSED ORDER granting 192 Motion for Extension of Time to File Response
                                re 191 MOTION for Reconsideration. Response due by 5/11/2015. Signed by Judge
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt,pl?364984370289201-L_1_0-1                                                        21/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida
            USCA11 Case: 18-13452
                      James          Document:
                             D. Whlttemore       38 Date
                                           on 4/20/2015. (AO)Filed: 04/08/2019
                                                              (Entered:           Page: 28 of 222
                                                                        04/20/2015)

  05/08/2015            194    RESPONSE in Opposition re 191 MOTION for New Trial /Reconsideration filed by
                               Church of Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship
                               Service Organization, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                               Exhibit D, # 5 Exhibit E)(Potter, Robert) (Entered: 05/08/2015)

  05/13/2015            195    TRANSCRIPT of Evidentiary Hearing held on 2/18/15 before Judge Whittemore. Court
                               Reporter Lynann Nicely,Telephone number (813) 301-5252. Transcript may be viewed at
                               the court public terminal ,or purchased through the Court Reportpr before the deadline for
                               Release of Transcript Restriction. After that date it may be obtained through PACER or
                               purchased through the Court Reporter.. Redaction Request due 6/3/2015, Redacted
                               Transcript Deadline set for 6/15/2015, Release of Transcript Restriction set for 8/11/2015.
                               (LN) (Entered: 05/13/2015)
  05/13/2015           196 TRANSCRIPT of Evidentiary Hearing held on 2/19/15 before Judge Whittemore. Court
                               Reporter Lynann Nicely,Telephone number (813) 301-5252. Transcript may be viewed at
                               the court public terminal or purchased through the Court Reporter before the deadline for
                               Release of Transcript Restriction. After that date it may be obtained through PACER or
                               purchased through the Court Reporter.. Redaction Request due 6/3/2015, Redacted
                               Transcript Deadline set for 6/15/2015, Release of Transcript Restriction set for 8/11/2015.
                               (LN) (Entered: 05/13/2015)
  05/13/2015            197 NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7)
                               calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely electronically
                               available to the public without redaction after 90 calendar days. Any party needing a
                               copy of the transcript to review for redaction puiposes may purchase a copy from the
                               court reporter or view the document at the clerk's office public terminal. Court Reporter:
                               Lynann Nicely. (LN) (Entered: 05/13/2015)
  05/15/2015            _98    ORDER denying 191 Motion for New Trial/Reconsideration. Signed by Judge
                               James D. Whittemore on 5/14/2015. (KE) (Entered: 05/15/2015)

  06/09/2015            199 NOTICE of Appearance by Rebecca Mercier Vargas on behalf of Maria Del Rocio
                               Burgos Garcia (Vargas, Rebecca) (Entered: 06/09/2015)

  06/09/2015           200     NOTICE OF APPEAL as to 189 Order on motion to compel arbitration, 198 Order on
                               Motion for New Trial by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. Filing fee
                               not paid. (Vargas, Rebecca) (Entered: 06/09/2015)

  06/09/2015           201     NOTICE of Appearance by Jane Kreusler-Walsh on behalf of Maria Del Rocio Burgos
                               Garcia, Luis A. Garcia Saz (Kreusler-Walsh, Jane) (Entered: 06/09/2015)

  06/09/2015           202     NOTICE of Appearance by Rebecca Mercier Vargas on behalf of Luis A. Garcia Saz and
                               Maria Del Rocib Burgos Garcia.(Vargas, Rebecca) Modified on 6/9/2015 (DG). (Entered:
                               06/09/2015)
  06/10/2015           203     TRANSMITTAL of initial appeal package to USCA consisting of copies of notice of
                               appeal, docket sheet, order/judgment being appealed, to USCA re 200 Notice of appeal.
                               Eleventh Circuit Transcript information form forwarded to pro se litigants and available
                               to counsel at www.flmd.uscourts.gov under Forms and Publications/General. (DG)
                               (Entered: 06/10/2015)
  06/16/2015                   USCA appeal fees received $ 505 receipt number TPA30731 re 200 Notice of appeal
                               filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz (ARC) (Entered:
                               06/16/2015)
  06/16/2015                   TRANSMITTAL to USCA forwarding certified copy ofNEF reflecting the payment of
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-LJ_0-1                                                         22/31
4/2/2019                                            Electronic Case Filing | U.S, District Court - Middle District of Florida
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                      appellate         Document:
                                filing fees           38the District
                                            received by     Date Filed:
                                                                     Court04/08/2019      Page:
                                                                           on 6/16/15 re 200     29ofofappeal.
                                                                                             Notice     222
                                USCA number: 15-12577-D (DG) (Entered: 06/16/2015)

   06/17/2015           204     TRANSCRIPT information form filed by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz re 200 Notice of appeal. USCA number: 15-12577. (Vargas, Rebecca)
                                (Entered: 06/17/2015)
   07/30/2015           205     ORDER ofUSCA: On its own motion, the court DISMISSES the appeal for lack of
                                jurisdiction as to 200 Notice of appeal filed by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz. EOD: 7/29/15; USCA number: 15-12577-DD. (JNB) (Entered: 07/30/2015)

   04/13/2016           206     MOTION to stay to Lift Stay Because Defendants Waived the Right to Arbitrate by Maria
                                Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # 1 Exhibit Email dated
                                August 18, 2015, # 2 Exhibit Exhibit B Email dated Augsut 24, 2015, # 3 Exhibit Exhibit
                                C - Email dated August 27, 2015, # 4 Exhibit Exhibit D - Email dated September 4, 2015,
                                # 5. Exhibit Exhibit E - Affidavit ofLuis Garcia, # 6 Exhibit Exhibit F - Email dated
                                September 4, 2015, # I Exhibit Exhibit G - Emails, # 8 Exhibit Exhibit H - Email dated
                                September 15, 2015, # 9 Exhibit Exhibit I - Scientology letter dated September 18, 2015,
                                # 10 Exhibit Exhibit J - Email dated September 23, 2015, # H Exhibit Exhibit K Email
                                and correspondence dated October 5, 2015, # 12. Exhibit Exhibit L - Email dated October
                                9, 2015, # 13 Exhibit Exhibit M Email dated October 21, 2015, # 14 Exhibit Exhibit N
                                Email dated October 22, 2015, # 15 Exhibit Exhibit 0 Email dated November 4, 2015, #
                                16 Exhibit Exhibit P Email dated November 5, 2015, # VI Exhibit Exhibit Q Email and
                                correspondence datecl November 30, 2015, # .18. Exhibit Exhibit R Email dated December
                                11, 2015, # 19 Exhibit Exhibit S Email dated January 12, 2016, # 20 Exhibit Exhibit T
                                Email dated January 18, 2016, # 21 Exhibit Exhibit U Correspondence dated January 19,
                                2016, # 22 Exhibit Exhibit V Correspondence dated January 27, 2016)(Babbitt,
                                Theodore) (Entered: 04/13/2016)
  04/14/2016            207     NOTICE by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz re 206 MOTION to stay
                                to Lift Stay Because Defendants Waived the Right to Arbitrate of Filing Exhibit W to
                                Plaitniffs Motion to Lift Stay Because Defendants Waived the Right to Arbitrate
                                (Attachments: # 1 Exhibit Exhibit W Meet Over 16,000 Scientologists On-Line) (Babbitt,
                                Theodore) (Entered: 04/14/2016)
  04/14/2016            208     MOTION for Extension of Time to File Response/Reply to Plaintiffs' Motion by Church
                                of Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship Service
                                Organization, Inc.. (Pope, F.) Motions referred to Magistrate Judge Thomas B. McCoun
                                III. (Entered: 04/14/2016)

  04/15/2016            209     ENDORSED ORDER granting 208 Motion for Extension of Time to File Response.
                                Defendants' response is due by 5/16/2016. Signed by Judge James D. Whittemore on
                                4/15/2016. (SMA) (Entered: 04/15/2016)
  05/16/2016            210     RESPONSE to Motion re 206 MOTION to stay to Lift Stay Because Defendants Waived
                                the Right to Arbitfaie filed by Church of Scientology Flag Service Organization, Inc.,
                                Church of Scientology Flag Ship Service Organization, Inc., Church of Scientology
                                International and Mike Ellis, Church of Scientology Religious Trust. (Attachments: # 1
                                Exhibit, # 2 Exhibit, ^ 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 1 Exhibit, # 8
                                Exhibit, # 9 Exhibit, # 10 Exhibit, # U Exhibit, # 12 Exhibit, # U Exhibit, # 14 Exhibit,
                                # 15 Exhibit)(Pope, F.) (Entered: 05/16/2016)
  07/12/2016            211     STRICKEN per 21.4 Order - NOTICE of correspondence from Marcel Wenger.
                                (Attachments: # 1 Mailing Envelope)(DG) Modified on 7/27/2016 (BES). (Entered:
                                07/13/2016)
  07/12/2016            212     STRICKEN per 214 Order - NOTICE of correspondence from Cindy Plahuta.

https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                         23/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida
            USCA11 Case: 18-13452 # Document:
                      (Attachments:            38 Date Filed:
                                    1 Mailing Envelope)(DG)      04/08/2019
                                                            Modified on 7/27/2016Page:
                                                                                  (BBS).30 of 222
                                                                                         (Entered:
                                07/13/2016)
  07/21/2016            213     MOTION to Strike by All Defendants. (Pope, F.) Motions referred to Magistrate Judge
                                Thomas B. McCoun HI. (Entered: 07/21/2016)

  07/27/2016            214     ORDER granting 213 Defendants' Unopposed IVlotioh to Strike Letters of Marcel
                                Wenger and Cindy Plahuta. The Clerk is directed to strike Documents 211 and 212
                                from the record and delete the images. Signed by Magistrate Judge Thomas B.
                                McCoun III on 7/27/2016. (AHA) (Entered: 07/27/2016)
  08/04/2016            215     ORDER denying 206 Plaintiffs' Motion to Lift Stay. Signed by Judge James D.
                                Whittemore on 8/3/2016. (AO) (Entered: 08/04/2016)
  08/31/2016            216     STATUS report Advising Status of Arbitration by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc..
                                (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, ^ 5 Exhibit, # 6 Exhibit,
                                # 1 Exhibit, # 8 Exhibit, # 9 Exhibit)(Potter, Robert) (Entered: 08/31/2016)
  09/30/2016            217     STATUS report September 30, 2016 by Church of Scientology Flag Service Organization,
                                Inc.. (Potter, Robert) (Entered: 09/30/2016)

   10/31/2016           218     STATUS report Joint Report for October by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc., IAS
                                Administrations, Inc., U.S. IAS Members Trust, Church of Scientology Religious Trust,
                                Church of Scientology International and Mike Ellis. (Attachments: # 1 Exhibit, # 1
                                Exhibit, # 3 Exhibit, # 4 Exhibit)(Potter, Robert) (Entered: 10/31/2016)

   11/30/2016           219     STATUS report November 2016 by Church of Scientology Flag Service Organization,
                                Inc.. (Potter, Robert) (Entered: 11/30/2016)

   12/12/2016           220     MOTION for Reconsideration of Renewed Motion for Order of Waiver of Arbitration by
                                Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # 1 Affidavit
                                Affidavit ofLuis Garcia) (Babbitt, Theodore) (Entered: 12/12/2016)

   12/19/2016           221     Unopposed MOTION for Extension of Time to File Response/Reply as to 220 MOTION
                                for Reconsideration of Renewed Motion for Order of Waiver of Arbitration by All
                                Defendants. (Potter, Robert) Motions referred to Magistrate Judge Thomas B. McCoun
                                III. Modified on 12/20/2016 (DG). Modified on 12/20/2016 (DG). Modified on
                                12/20/2016 (pG). (Entered: 12/19/2016)
   12/20/2016           222     ENDORSED ORDER granting 221 Motion for Extension of Time to File
                                Response/Reply re 220 MOTION for Reconsideration of Renewed Motion for Order
                                of Waiver of Arbitration Response due by 9 a.m. 1/16/2017. Signed by Judge James
                                D. Whittemore on 12/20/2016. (SMA) (Entered: 12/20/2016)

  01/04/2017            223     STATUS report December 30, 2016 by Church of Scientology Flag Service Organization,
                                Inc., Church of Scientology Flag Ship Service Organization, Inc., IAS Administrations,
                                Inc., U.S. IAS Members Tmst, Church of Scientology Religious Trust, Church of
                                Scientology International and Mike Ellis. (Potter, Robert) (Entered: 01/04/2017)

  01/11/2017            224 RESPONSE to Motion re 220 MOTION for Reconsideration of Renewed Motion for
                                Order of Waiver of Arbitration filed by Church of Scientology Flag Service Organization,
                                Inc., Church of Scientology Flag Ship Service Organization, Inc., Church ofScientology
                                International and Mike Ellis, Church of Scientology Religious Trust. (Attachments: # 1
                                Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Potter, Robert) (Entered:
                                01/11/2017)
  02/07/2017            225 ORDER denying 220 MOTION for Reconsideration of Renewed Motion for Order
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                        24/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida
            USCA11 Case: 18-13452
                      of Waiver       Document:
                                of Arbitration.   38 Management
                                                A Case Date Filed: 04/08/2019    Page: 31 for
                                                                   Conference is scheduled of 222
                                                                                               April 6,
                                2017 at 4:00 p.m. in Courtroom 13-B, United States Courthouse, Tampa, Florida.
                                Signed by Judge James D. Whittemore on 2/7/2017. (LD) (Entered: 02/07/2017)

  02/14/2017            226    MOTION for Amanda Sundarsingh to withdraw as attorney of Record by Maria Del
                               Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # i Text of Proposed Order)
                                (Babbitt, Theodore) (Entered: 02/14/2017)

  02/15/2017            227     ORDER granting 226 Motion to Withdraw as Attorney. Attorney Amanda
                                Sundarsingh terminated. Signed by Judge James D. Whittemore on 2/15/2017.
                                (SMA) (Entered: 02/15/2017)
  03/01/2017            228    MOTION to Take Deposition from Brandon Orlando by Maria Del Rocio Burgos Garcia,
                                Luis A. Garcia Saz. (Attachments: # 1 Exhibit Exhibit A Mike Ellis correspondence
                                dated August 29, 2016, # 2 Exhibit Exhibit 6 Affidavit of Aaron Smith-Levin) (Babbitt,
                                Theodore) Motion^ referred to Magistrate Judge Thomas B. McCoun III. (Entered:
                                03/01/2017)
  03/03/2017            229     MOTION to extend time to respond to plaintiffs motion to take deposition (doc. 228) by
                                All Defendants. (Potter, Robert) (Entered: 03/03/2017)

  03/06/2017            230     ENDORSED ORDER granting 229 Motion to extend time. Defendants' response is
                                due 3/17/2017. Signed by Judge James D. Whittemore on 3/6/2017. (SMA) (Entered:
                                03/06/2017)
  03/17/2017            231     RESPONSE in Opposition re 228 MOTION to Take Deposition from Brandon Orlando
                                filed by Church of Scientology Flag Service Organization, Inc., Church of Scientology
                                Flag Ship Service Organization, Inc.. (Potter, Robert) (Entered: 03/17/2017)

  03/21/2017            232     ORDER denying 228 Motion to Take Deposition. Signed by Judge James D.
                                Whittemore on 3/21/2017. (SMA) (Entered: 03/21/2017)

  03/29/2017            233    NOTICE OF RESCHEDULING CASE MANAGEMENT CONFERENCE: The Case
                                Management Conference previously scheduled for April 6, 2017 at 4:00 PM is
                                RESCHEDULED. New date and time: April 7, 2017 at 11:00 AM in Tampa Courtroom
                                13 B before Judge James D. Whittemore. (LD) (Entered: 03/29/2017)

  03/30/2017            234     STATUS report M~arc^ 2017 by Church of Scientplogy Flag Service Organization, Inc.,
                                Church of Scientology Flag Ship Service Organization, Inc.. (Attachments: # 1 Exhibit)
                                (Potter, Robert) (Entered: 03/30/2017)

  04/07/2017            235     TRANSCRIPT of Status Conference held on 4/7/17 before Judge Whittemore. Court
                                Reporter Lynann Nicely, Telephone number (813) 301-5252. Transcript may be viewed at
                               the court public terminal or purchased through the Court Reporter before the deadline for
                                Release of Transcript Restriction. After that date it may be obtained through PACER or
                               purchased through the Court Reporter. Redaction Request due 4/28/2017, Redacted
                               Transcript Deadline set for 5/8/2017, Release of Transcript Restriction set for 7/6/2017.
                                (LN) (Entered: 04/07/2017)
  04/07/2017            236    NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7)
                                calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely electronically
                                available to the public without redaction after 90 calendar days. Any party needing a
                                copy of the transcript to review for redactiori purposes tnay purchase a copy from the
                                court reporter or view the document at the clerk's office public terminal. Court Reporter:
                                Lynann Nicely. (LN) (Entered: 04/07/2017)

  04/07/2017            237    Minute Entry. Proceedings held before Judge James D. Whittemore: CASE
                               MANAGEMENT CONFERENCE held on 4/7/2017. Court Reporter: Lynann Nicely
https;//ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                        25/31
                                                    Electronic Case Filing | U.S. District Court - Middle District of Florida
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                      (LD)            Document: 38
                           (Entered: 04/07/2017)                                   Date Filed: 04/08/2019                       Page: 32 of 222

  04/10/2017            238     ORDER directing Defendants to file, within 15 days, an application under Section 5
                                of the Federal Arbitration Act. Signed by Judge James D. Whittemore on 4/10/2017.
                                (SMA) (Entered: 04/10/2017)
  04/25/2017            239     MOTION to Appoint Expert arbitrator by Church of Scientology Flag Ship Service
                                Organization, Inc.. (Potter, Robert) Motions referred to Magistrate Judge Thomas B.
                                McCounffl. (Entered: 04/25/2017)

  04/28/2017            240     ENDORSED ORDER directing Plaintiffs to respond to 239 Defendants' Motion for
                                Court to Provide for the Selection of a Scientologist In Good Standing As A
                                Mediator no later than 5/3/2017. Signed by Judge James D. Whittemore on
                                4/28/2017. (SMA) (Entered: 04/28/2017)
  04/28/2017            241     RESPONSE in Opposition re 239 MOTION to Appoint Expert arbitrator filed by Maria
                                Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt, Theodore) (Entered: 04/28/2017)

  05/01/2017            242     ORDER directing compliance with [238} April 10, 2017 Order, within 10 days.
                                Signed by Judgp James D. Whittemore bn 5/1/2017. (SMA) (Entered: 05/01/2017)

  05/19/2017            243     ORDER granting in part and denying in part 239 Motion for Court to Provide for
                                the Selection of a Scientologist in Good Standing as Arbitrator. Signed by Judge
                                James D. Whittemore on 5/18/2017. (SMA) (Entered: 05/19/2017)

  06/02/2017            244     First MOTION for clarification re 243 Order on Motion to Appoint Expert by Church of
                                Scientology Flag Service Organization, Inc., Church ofScientology Flag Ship Service
                                Organization, Inc.. (Attachments: # 1 Exhibit Exhibit i,#2 Exhibit Veriflcation)(Pope,
                                F.) (Entered: 06/02/2017)
  06/07/2017            245     RESPONSE in Opposition re 244 First MOTION for clarification re 243 Order on
                                Motion to Appoint Expert filed by Maria Dd Rocio ^urgos Garcia, Luis A. Garcia Saz.
                                (Babbitt, Theodore) (Entered: 06/07/2017)
  06/27/2017            246     ORDER denying 244 Motion for clarification. Signed by Judge James D.
                                Whittemore on 6/26/2017. (SMA) (Entered: 06/27/2017)
  06/28/2017            247     ORDER with attached letter and Setting Hearing. Hearing to schedule arbitration
                                set for 8/21/2017 at 03:00 PM in Tampa Courtroom 13 B before Judge James D.
                                Whittemore. Signed by Judge James D. Whittemore on 6/28/2017. (Attachments: # 1
                                Exhibit)(SMA) (Entered: 06/28/2017)
  07/18/2017            248 Unopposed MOTION to Continue August 21, 2017, Hearing by Maria Del Rocio Burgos
                                Garcid, Luis A. Garcia Saz. (Attachments: # i Exhibit A - Travel itinerary)(Babbitt,
                                Theodore) (Entered: 07/18/2017)
  07/27/2017            249     ORDER granting 248 Motion to Continue to the extent that the hearing is
                                rescheduled for Tuesday, August 15, 2017 at 4:00 P.M. in Courtroom PB. Signed by
                                Judge James D. Whittemore on 7/27/2017. (SMA) (Entered: 07/27/2017)

  07/28/2017                    Reset deadlines/hearings: Miscellaneous Hearing se^; for 8/15/2017 at04:00 PM in Tampa
                                Courtroom 13 B before Judge James D. Whittemore. (DG) (Entered: 07/28/2017)

  08/10/2017            250     Unopposed MOTION for Eric Lieberman to appear pro hac vice by Church of
                                Scientology Flag Service Organization, Inc., Church of Scientplogy Flag Ship Service
                                Organization, Inc., Church of Scientology International and Mike Ellis, Church of
                                Scientology Religious Trust. (Attachments: # i Exhibit Certificate of Good Standing)
                                (Potter, Robert) (Entered: 08/10/2017)

  08/10/2017            251     RESPONSE re 249 Order on Motion to Continue and Directing Parties to Meet and
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?364984370289201-L_1_0-1                                                                           26/31
4/2/2019                                           Electronic Case Filing | U.S. District Court - Middle District of Florida
            USCA11 Case: 18-13452
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                             filed by Church       38 Date
                                             of Scientology    Filed:
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                                                                 Service Organization,Page:   33 of 222
                                                                                       Inc., Church  of
                                Scientology Flag Ship Service Organization, Inc., Church of Scientology International
                                and Mike Ellis, Church of Scientology Religious Trust. (Potter, Robert) (Entered:
                                08/10/2017)
  08/14/2017            252     ENDORSED ORDER granting 250 motion to appear pro hac vice contingent upon
                                counsel's submission of the required Special Admission Attorney Certification form
                                and payment of the $150.00 special admission fee. Failure to submit the form and
                                fee within ten (10) days of the date of this Order shall result in counsel's appearance
                                being stricken from the record. Erie Lieberman ADMITTED PRO H'AC VICE. F.
                                Wallace pope and Robert Potter DESIGNATED LOCAL COUNSEL. Counsel are
                                further notified that pursuant to the United States District Court Middle District of
                                Florida Administrative Procedures for Electronic Filing, Section I, "all documents
                                submitted for filing in civil, criminal, arid miscellaneous cases must be filed
                                electronically through CM/ECF." Therefore, the attorney(s) being admitted pro hac
                                vice is/are directed to sign up for CM/ECF, enter an email address in their CM/ECF
                                account and electronically Hle a notice of compliance with this Court's Order within
                                thirty (30) days. Failure to comply with this Order as directed will result in counsel
                                being termiriated from the docket sheet without further notice. Signed by Judge
                                James D. Whitteipore on 8/14/2017. (SMA) (Entered: 08/14/2017)

  08/14/2017                    ***PRO HAC VICE FEES paid and Special Admission Attorney Certification Form
                                filed by attorney Eric Lieberman, appearing on behalf of Church of Scientology Flag
                                Service Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc.
                                (Filing fee $150 receipt number TPA045228). (LMD) (Entered: 08/15/2017)
  08/15/2017            253     Minute Entry. Proceedings held before Judge James D. Whittemore: MISCELLANEOUS
                                HEARING held on 8/15/2017. Court Reporter: Lynann Nicely (CAB) (Entered:
                                08/15/2017)
  08/15/2017                    Sealed Document S-262. (CAB) (Entered: 10/12/2017)

  08/18/2017            254     ORDER directing arbitration beginning at 9:00 A.M. on October 23, 2017. Signed
                                by Judge James D. Whittemore on 8/17/201'?. (SMA) (Entered: 08/18/2017)

  08/18/2017            255     TRANSCRIPT of Miscellaneous Hearing held on 8/15/2017 before Judge Whittemore.
                                Court Reporter Lynann Nicely, Telephone number (813) 301-5252. Transcript may be
                               viewed at the court public terminal or purchased through the Court Reporter before the
                               deadline for Release of Transcript Restriction. After that date it may be obtained through
                               PACER or purchased through the Court Reporter. Redaction Request due 9/8/2017,
                               Redacted Transcript Deadline set for 9/18/2017, Release of Transcript Restriction set for
                                11/16/2017. (LN) (Entered: 08/18/2017)
  08/18/2017            256    NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7)
                                calendar days to file with the court a Notice of Intent to Request Redaction of this
                               tt'anscript. If no such Notice is filed, the transcript may be made remotely electronically
                                available to the public without redaction after 90 calendar days. Any party needing a
                                copy of the transcript to review for redaction purposes may purchase a copy from the
                                court reporter or view the document at the clerk's office public terminal. Court Reporter:
                                Lynann Nicely. (LN) (Entered: 08/18/2017)

  09/14/2017            257     MOTION for miscellaneous relief, specifically Order requiring the filing of a
                                Certification ofNoninterference with the Arbitration Process and requiring the
                                Defendants to Allow Plainiffs to have a court reporter and the Rules of the Committee of
                                Evidence do not apply to this arbitration by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz. (Babbitt, Theodore) (Entered: 09/14/2017)


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   09/27/2017    Case: 18-13452
                    Unopposed    Document:
                              MOTION         38 Date
                                     for Extension       Filed:
                                                   of Time      04/08/2019
                                                            to File            Page:
                                                                    Response/Reply as to34 of MOTION
                                                                                         257  222
                                for miscellaneous relief, specifically Order requiring the filing of a Certification of
                               Nomnterference with the Arbitration Process and requiring the Defendants to Allow
                               Plainiffs to have a court reporter and the Rules of the Committee of by Church of
                                Scientology Flag Sei^vice Organization, Inc., Church of Scientology Flag Ship Service
                                Organization, Inc.. (Potter, Robert) Motions referred to M'agistrate Judge Thomas B.
                                McCounIIL (Entered: 09/27/2017)

   09/28/2017           259     ENDORSED ORDER granting 258 IMotion for Extension of Time to File Response
                                re 257 MOTION for miscellaneous relief. Response due by 10/6/2017. Signed by
                                Judge James D. Whittemore on 9/28/2017. (SMA) (Entered: 09/28/2017)

   10/05/2017           260 RESPONSE in Opposition re 257 MOTION for miscellaneous relief, specifically Order
                                requiring the filing of a Certification ofNoninterference with the Arbitration Process and
                                requiring the Defendants to Allow Plainiffs to have a court reporter and the Rules of the
                                Committee of filed by Church of Scientology Flag Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc.. (Pope, F.) (Entered: 10/05/2017)

   10/11/2017           261     STRICKEN, PURSUANT TO ORDER 263 STATUS report Unilateral by Maria Del
                                Rocio Burgos Garci^, Luis A. Garcia S^z. (Attachments: # 1 Exhibit A - Email of
                                October 9, 2017, #1 Exhibit B - Email of October 10, 2017, # 3 Exhibit C - Agreement
                                from Defendants)(Babbitt, Theodore) Modified on 10/12/2017 (DG). (Entered:
                                10/11/2017)
   10/12/2017           263     ORDER striking 261 Plaintiffs' Unilateral Status Report. Signed by Judge Jatoes D.
                                Whittemore on 10/12/2017. (SMA) (Entered: 10/12/2017)
   10/12/2017           264     MOTION for Reconsideration and Determination that the Defendants Have Waived
                                arbitration by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Attachments: # .1
                                Exhibit A Email to defense counsel, # 2 Exhibit B - Email from defense counsel, # 3.
                                Exhibit C - Agreement, # 4 Exhibit D - Email from defense counsel)(Babbitt, Theodore)
                                (Entered: 10/12/2017)
   10/16/2017           265     ORDER denying 257 Motion for Miscellaneous Relief; denying 264 Motion for
                                Determination that Defendants Have Waived Arbitration. Signed by Judge James
                                D. Whittemore on 10/16/2017. (SMA) (Entered: 10/16/2017)

   10/20/2017           266     CERTIFICATE of compliance by Theodore Babbitt and by Maria Del Rocio Burgos
                                Garcia, Luis A. Garcia Saz. (Babbitt, Theodore) (Entered: 10/20/2017)

   10/23/2017           267 NOTICE of filing certification by Church of Scientology Flag Service Organization, Inc.,
                                Church of Scientology Flag Ship Semce Organization, Inc. Notice of Filing
                                (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #3 Exhibit 3, # 4 Exhibit 4, ^ 5 Exhibit 5)
                                (Potter, Robert) Modified text on 10/23/2017 (KMM). (Entered: 10/23/2017)

   10/30/2017           268 NOTICE of conclusion of arbitration by Church of Scientology Flag Service
                                Organization, Inc., Church ofScientology Flag Ship Service Organization, Inc., Church
                                of Scibntology International and Mike Ellis (Potter, Robert) Modified text on 10/30/2017
                                (KMM). (Entered: 10/30/2017)
  01/03/2018            269    NOTICE by Maria Del Rocio Burgos Garcia Notice of Change of Firm Name andE-Mail
                               Designations (Vargas, Rebecca) Modified text on 1/4/2018 (KMM). *** Counsel notified
                               to file a notice of change of address request through the Middle District of Florida
                               website. *** (Entered: 01/03/2018)

  01/19/2018            270     *** STRICKEN- per DE# 271 *** MOTION to Vacate Arbitration Awards and
                                Incorporated Memorandum of Law by All Plaintiffs. (Attachments: # i Exhibit 1,#2


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                              2, # 1 Exhibit       38 4,
                                             3,^4 Exhibit Date Filed: 04/08/2019
                                                           # 5 Exhibit               Page: 35
                                                                       5)(Babbitt, Theodore)   of 222text
                                                                                             Modified
                                 on 1/22/2018 (KMM). (Entered: 01/19/2018)
   01/22/2018                   ORDER striking 270 Motion to Vacate Arbitration Awards. Signed by Judge James
                                D. Whittemore on 1/22/2018. (SMA) (Entered: 01/22/2018)

   01/23/2018                   Amended MOTION to Vacate Arbitration Awards and Incorporated Memorandum of
                                Law by All Plaintiffs. (Attachments: # 1 Exhibit Exhibit 1 Arbitration Findings Fomi, # 2
                                Exhibit Exhibit 2 Arbitration Decision Form, # 3 Exhibit Exhibit 3 Affidavit ofLuis A.
                                Garcia Saz, # 4 Exhibit Exhibit 4 Garcia Declare Order, # 5 Exhibit Exhibit 5 Emails of
                                Counsel)(Vargas, Rebecca) (Entered: 01/23/2018)

   01/26/2018           273     Unopposed MOTION for Extension of Time to File Response/Reply by All Defendants.
                                 (Pope, F.) Motions referred to Magistrate Judge Thomas B. McCoun III. (Entered:
                                 01/26/2018)
   01/29/2018           274     ENDORSED ORDER granting 273 Motion for Extension of Time to File
                                Response/Reply Responses due by 2/20/2018. Signed by Judge James D. Whittemore
                                on 1/29/2018. (SMA) (Entered: 01/29/2018)
   02/20/2018           275     MEMORANDUM in opposition re 272 Motion to Vacate Arbitration award filed by
                                Church of Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship
                                Service Organization, Inc.. (Attachments: # 1 Affidavit, # 1 Exhibit, # 3 Exhibit, # 4
                                Exhibit, # 5 Exhibit, # 6 Exhibit, # 2 Exhibit, # ^ Exhibit, # 9 Exhibit, # 10 Appendix, #
                                HExhibit)(Pope, F.) (Entered: 02/20/2018)
   02/21/2018           276 NOTICE of filing properly marked exhibits to the MEMORANDUM in opposition re
                                272 Motion to Vacate Arbitration award filed by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc..
                                (Attachments: # 1 Affidavit Exhibit A, # 2 Exhibit Exhibit Al, # 3 Exhibit Exhibit A2, #
                                4 Exhibit Exhibit A3, # 5 Exhibit Exhibit A4, # 6 Exhibit Exhibit A5, # 1 Exhibit Exhibit
                                A6, # 8 Exhibit Exhibit A7, # 9 Exhibit Exhibit A8, # 10 Affidavit Exhibit B, # 11
                                Exhibit Exhibit C)(Pope, K) Modified text on 2/21/2018 (KMM). (Entered: 02/21/2018)
  02/28/2018            277     MOTION for Hearing Evidentiary on Amended Motion to Vacate Arbitration Award by
                                Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt, Theodore) (Entered:
                                02/28/2018)
  02/28/2018            278     MOTION for leave to file Reply to Defendants' Opposition to Motion to Vacate
                                Arbitration Awards by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz. (Babbitt,
                                Theodore) Modified relief and text on 2/28/2018 (KMM). (Entered: 02/28/2018)

  03/14/2018            279     MEMORANDUM in opposition re 278 Motion to affirm secretarys/commissioners
                                decisionM^otion for Leave to file document filed by Church of Scientology Flag Service
                                Organization, Inc., Church of Scientology Flag Ship Service Organization, Inc.. (Pope,
                                F.) (Entered: 03/14/2018)
  03/14/2018                    MEMORANDUM in opposition re 277 Motion for Hearing filed by Church of
                                Scientology Flag Service Organization, Inc.^ Church of Scientology Flag Ship Service
                                Organization, Inc.. (Pope, F.) (Entered: 03/14/2018)

  06/29/2018            281     ENDORSED ORDER denying 278 Motion for Leave to File a Reply. Signed by
                                Judge James D. Whittemore on 6/29/2018. (SMA) (Entered: 06/29/2018)

  07/17/2018            282     ORDER denying 272 Amended Motion to Vacate Arbitration Awards ; denying 277
                                Motion for Evidentiary Hearing. Signed by Judge James D. Whittemore on
                                7/17/2018. (SMA) (Entered: 07/17/2018)
  08/14/2018            283     NOTICE of Appearance by Robert Ernest Johnson on behalf of Maria Del Rocio Burgos

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                      Garcia,          Document:
                              Luis A. Garcia       38 Date
                                             Sdz (Johnson,    Filed:
                                                           Robert)    04/08/2019
                                                                   (Entered:         Page: 36 of 222
                                                                             08/14/2018)

   08/15/2018           284 NOTICE OF APPEAL as to 282 Order on Motion to VacateOrder on Motion for Hearing
                               by Maria Del Rdcio Burgos Garcia, Luis A. Garcia Saz. Filing fee not paid. (Johnson,
                                Robert) (Entered: 08/15/2018)
   08/15/2018                   USCA appeal fees received $ 505 receipt number TPA052485 re 284 Notice of appeal
                                filed by Maria Del Rocio Burgos Garcia, Luis A. Garcia Saz (EA) (Entered: 08/15/2018)

   08/16/2018           285     TRANSMITTAL of initial appeal package to USCA consisting of copies of notice of
                                appeal, docket sheet, order/judgment being appealed, and motion, if applicable to USCA
                                re 284 Notice of appeal. Eleventh Circuit Transcript information form forwarded to pro
                                se litigants and available to counsel at www.flmd.uscourts.gov under Forms and
                                Publications/General. (BES) (Entered: 08/16/2018)

   08/24/2018           286     NOTICE OF CROSS APPEAL as to 124 Order on motion to dismiss/lack of jurisdiction,
                                113 Order on motion to dismiss/lack ofjurisdictionOrder on Motion to StrikeOrder on
                                Motion to Amend/Correct by Church of Scientology Flag Service Organization, Inc.,



                               ^8/24/2018)_
                                Church of Scientology Flag Ship Service Organization, Inc.. (Pope, F.) (Entered:


   08/27/2018           287     TRANSMITTAL of initial appeal package to USCA consisting of copies of notice of
                                appeal, docket sheet, order/judgment being appealed, and motion, if applicable to USCA
                                re 286 Notice of cross appeal. Eleventh Circuit Transcript information form forwarded to
                                pro se litigants and available to counsel at www.flmd.uscourts.gov under Forms and
                                Publications/General. (KMM) (Entered: 08/27/2018)

   08/29/2018           288     TRANSCRIPT information form filed by Luis A. Garcia Saz re 284 Notice of appeal.
                                USCA number: 18-13452. (Johnson, Robert) (Entered: 08/29/2018)

  08/30/2018                    USCA appeal fees received $ 505 receipt number tpa052780 re 286 Notice of cross
                                appeal filed by Church of Scientology Fla^ Service Organization, Inc., Church of
                                Scientology Flag Ship Service Organization, Inc. (ARC) (Entered: 08/30/2018)

   10/25/2018           28.9    MOTION to Withdraw as Counsel by Luis A. Garcia Saz. (Weil, Ronald) (Entered:
                                10/25/2018)
   10/26/2018           290     ORDER granting 289 IVlotion to Withdraw As Counsel. Signed by Judge James D.
                                Whittemore on 10/26/2018. (SMA) (Entered: 10/26/2018)
   12/07/2018                   Remark: Plaintiff and Defendant's Exhibit L. Ron Hubbard Book: Introduction to
                                Scientology Ethics placed in Exhibit Room. (BSN) (Entered: 12/07/2018)

  03/04/2019            291     ORDER ofUSCA: Maria Del Rocio Burgos Garcia and Luis. A. Garcia Saz's motion to
                                amend the complaint, pursuant to 28 U.S.C. § 1653, is GRANTED. Church of
                                Scientology Flag Seryice Organization, Inc. ("FSO") and Church of Scientology Flag
                                Ship Service Organization, Inc.'s ("FSSO") motion to dismiss the appeal is DENIED.
                                SEE ORDER FOR COMPLETE TEXT as to 286 Notice of cross appeal filed by Church
                                of Scientology Flag Service Organization, Inc., Church of Scientology Flag Ship Service
                                Organization, Inc., 284 Notice of appeal filed by Maria Del Rocio Burgos Garcia, Luis A.
                                Garcia Saz. EOD: 3/4/19; USCA number: 18-13452-AA. (KE) (Entered: 03/04/2019)




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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LUIS GARCIA, and wife,
ROCIO GARCIA,

        Plaintiffs,

Vs.                                                     CASE NO. 8:13-CV-220-T27 TBM

CHURCH OF SCIENTOLOGY RELIGIOUS
TRUST; CHURCH OF SCIENTOLOGY FLAG
SERVICE ORGANIZATION, INC.; CHURCH
OF SCIENTOLOGY FLAG SHIP SERVICE
ORGANIZATION, INC d/b/a MAJESTIC
CRUISE LINES; U.S. IAS MEMBERS TRUST.

        Defendants
                                                    /

      PLAINTIFFS’ RESPONSE AND MEMORANDUM OF LAW IN OPPOSITION TO
        DEFENDANTS’ JOINT MOTION TO COMPEL ARBITRATION AND STAY
                               PROCEEDINGS

        Plaintiffs, Luis Garcia and Rocio Garcia (hereinafter the “Garcia Plaintiffs”) for their

Response in Opposition to Defendant’s Consolidated Motion to Compel Arbitration and Stay

Proceedings [D.E. 8] (“hereinafter MC&S”) hereby state as follows:

        I.       INTRODUCTION

        At the outset, it should be clear that none of the claims asserted by Plaintiffs here are in

any way dependent upon a written contract which also requires arbitration. Plaintiffs’ claims are

for fraud, violations of Florida’s Deceptive and Unfair Trade Practices Act and breach of

contract for failure to return deposits for advanced deposits for religious services. Nothing about

the subject agreements’ titles (Enrollment Applications), or the stated purpose of those

agreements as being required on each occasion Plaintiffs’ were enrolled and then approved to

receive specific “religious services” reasonably provides a connection to the claims asserted
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here. Nothing about the religious services purchased provides any credible connection for

Plaintiffs to have abandoned all manner of civil claims and the forums in which such claims

would be brought regardless of whether those claims relate in any way to the services Plaintiffs

purchased.

         Defendants’ MC&S is also curious in that expansive argument is presented that each of

Defendants and collectively all of them are immune to civil suit as religious bodies. Their motion

however, anamolously states that they are not seeking a ruling on that issue at this time. Instead,

they suggest that, along with many traditional churches, they prescribe and allow for arbitration

of “non-ecclesiastical” disputes as opposed to doctrinal or religious disputes. Whether the

complaint states a proper cause of action for return of funds solicited by false and misleading

practices, and whether first amendment protections apply, are irrelevant distractions as neither

are currently before the Court.

         While arbitration clauses are sometimes used by traditional churches to resolve

commercial or non-ecclesiastical matters, Defendants are a far cry from a traditional church or

religion routinely resolving such disputes in a predictable, fair or impartial manner. In fact, as is

set forth in the supporting declarations of Plaintiffs1, former Scientologists such as Plaintiffs are

viewed as “Suppressive Persons,” and are barred from further communications with church

members, inclusive of family members, who retain their church affiliation. Unlike traditional

churches which promote “non-ecclesiastical” arbitrations, Defendants cannot point to a single

arbitration proceeding initiated and concluded pursuant to a prescribed set of rules and

procedures. That is because there have been no arbitrations and there are no defined arbitral

rules or procedures which have ever been previously defined or employed.

1
 Hereinafter, all citations to the Declarations filed in support of Plaintiffs’ Motion, including the Declarations of
Luis Garcia, Mark Rathbun, Christie Collbran, Bert Schippers, Donald Koon, Nancy Roby Wise, Randall C. Wise,
Haydn James, Karry S. Campbell, and Scott E. Campbell shall be noted as “([Last Name] Decl. at ¶ ___)”.


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       Plaintiffs’ supporting declarations make clear that the absence of an arbitration history is

not emblematic of some abiding contentment with Defendants’ organizations. There have been

no arbitrations, nor are there set and established arbitration procedures or principles precisely

because a panel of Scientology arbitrators must by definition also subscribe to the doctrinal

belief that a claimant or litigant is a Suppressive Person who is no longer permitted to

communicate in any fashion with any church member. (Rathbun Decl. at ¶ 10). Whatever else

may be said about other “non-ecclesiastical” arbitrations promoted by other more traditional

churches, none of those churches declare the litigant an apostate and subject their families to

retaliation for any breach of a non-communication protocol. Defendants have a lengthy and well

documented history, as well as corroborating published bulletins of their doctrine, which

demonstrate that even a commercial or non-ecclesiastical claim is a call to arms and an attack on

the doctrine of Scientology itself. Disaffected former Scientologists are termed “Suppressive

Persons.” An arbitration process presided over by Scientologist panelists holding the same

doctrinal views, under the same threat of “suppressive personhood,” whose families are also

subject to the same harassment and threats, without rules and procedures of any kind other than

those mandating Scientologist panelists, is not authorized by the Federal Arbitration Act and

respectfully should not be authorized by this Court. “Evident partiality,” another standard

referenced by several of Defendants authorities as being required to annul a commitment to

arbitrate, is palpable here. It is not the product of speculation or surmise.

        Defendants mention the 28 or so Enrollment Applications and the arbitration clause

contained in each. They fail to clarify which one(s) allegedly applies to this dispute, or whether

as they appear to suggest, that they all do. (MC&S at p. 16). They also fail to mention that

virtually all were executed in California, or that they are not uniform in addressing the mandated




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subjects of arbitration. The later forms attempt to bar not just claims that are bound to the

contract or “arise from” it, but “any dispute or controversy” with unrelated parties and involving

matters having nothing at all to do with the specific religious services obtained when each

Enrollment Application is signed.

       California law applies to the interpretation and enforceability of these arbitration clauses

as the vast majority were executed in California. However, under either California’s or Florida’s

governing standards for determining the validity of such arbitration clauses, they are, in all of

their various iterations, “procedurally” and “substantively unconscionable” and unenforceable.

They are “contracts of adhesion,” utilizing boilerplate language prepared by Defendants,

presented for execution to Plaintiffs as “non-negotiable” only after Plaintiffs had already paid for

those services. They wrongfully purport to limit Plaintiffs’ civil remedies and recourse to any

court or arbitration panel for unrelated “non-ecclesiastical” controversies simply because

Plaintiffs at some time had contracted and paid for certain “religious services” from Defendants.

       II.     THE ARBITRATION CLAUSE IS SUBSTANTIVELY AND
               PROCEDURALLY UNCONSCIONABLE

       The Federal Policy favoring arbitration is not without limits. Arbitration may only be

compelled where there is an actual agreement to do so. In re Managed Care Litig., 2003 U.S.

Dist. LEXIS 23035, *19-21 (S.D. Fla.) (“Whether a matter is within the scope of an arbitration

provision is a matter of the parties' intent. . . .Even though there is a strong federal policy

favoring it, arbitration is a matter of contract, and parties can only be required to submit disputes

to arbitration if they agreed to do so.” Eassa Props. v. Shearson Lehman Bros., Inc., 851 F.2d

1301, 1304 n.7 (11th Cir. 1988) (“While federal law may govern the interpretation and

enforcement of a valid arbitration agreement, state law governs the question of whether such an

agreement exists in the first instance.”).



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                   A.       California Contract Law Applies to the Construction and
                            Interpretation of the Arbitration Clause
          Defendants’ reliance on Florida law is misplaced. “A federal district court sitting in

diversity must apply the choice of law rules of the forum state.” See, e.g. Boardman Petroleum,

Inc. v. Federated Mut. Ins. Co., 135 F.3d 750, 752 (11th Cir. 1998);United States Fid. & Guar.

Co. v. Liberty Surplus Ins. Corp., 2007 U.S. Dist. LEXIS 80554 (M.D. Fla. 2007). Under Florida

law, the rights and liabilities of parties to a contract are governed by the law of the place where

the contract was executed. Id; State Farm Mut. Auto. Ins. Co. v. Roach, 945 So.2d 1160, 1163

(Fla. 2006). Of the more than 28 form Enrollment Applications executed by Plaintiffs, the vast

majority were executed in Orange County, California. (Garcia Decl. at ¶ 10). In this diversity

action, the determination of the validity of the current arbitration clause, its interpretation and

meaning is governed by state law, and here the law of the state in which the contract was made

was California. Although Plaintiffs’ claims do not arise under that agreement, Defendants

contend the agreement controls and therefore an analysis of the agreement under California law

is required.      Plaintiffs submit that Florida law is in rough accord with each of the applicable

contract principles that govern here.2


                   B.       Under California Law the Arbitration Clauses are Procedurally
                            Unconscionable
          Under California law, arbitration agreements are valid, irrevocable, and enforceable, save

upon such grounds as exist at law or in equity for the revocation of any contract. See, e.g.,

Alvarez v. T-Mobile USA, Inc., 822 F. Supp. 2d 1081, 1085 (E.D. Cal. 2011); Pokorny v.

Quixtar, Inc., 601 F.3d 987, 994 (9th Cir. 2010).             If the arbitration provisions incorporated in an

adhesive agreement are also unforeseeably broad, and violate the party’s reasonable

2
    None of the agreements at issue contain a governing state law provision.



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expectations, they are not enforceable. Bruni v. Didion, 160 Cal. App. 4th 1272, 73 Cal. Rptr. 3d

395 (Cal. App. 4th Dist. 2008), as modified, (Mar. 24, 2008) and review denied, (June 18, 2008);

Parada v. Superior Court, 176 Cal. App. 4th 1554 (Cal. App. 4th Dist. 2009) (procedural

unconscionability found in part because Plaintiff, as the party in the weaker bargaining position,

would not reasonably expect prohibitively expensive arbitration fees and a prohibition on

consolidation or joinder in the arbitration agreement) ; Lima v. Gateway, Inc., 886 F. Supp. 2d

1170 (C.D. Cal. 2012). (Finding arbitration provision substantively unconscionable where

Plaintiff’s claims, “based on Gateway’s advertising and marketing, have little to do with the

Limited Warranty…[I]t is completely unexpected that an adhesive consumer warranty would

require arbitration of all disputes between the parties – including those beyond the scope of the

warranty coverage.”); Thompson v. Toll Dublin, LLC, 165 Cal. App. 4th 1360 (Cal. 1st Dist.

2008) (holding that it would be substantively unconscionable to construe arbitration provision in

“Title 7 Addendum” to apply beyond the context of Title 7 claims and to Plaintiffs’ fraud-based

claims, as “[t]he purported inclusion of non-Title 7 claims in the arbitration …rendered the scope

of the arbitration provisions unforeseeably broad, which would not have been within the

reasonable expectations of plaintiffs… to uphold defendants’ interpretation that these provisions

in fact included fraud-related claims would undoubtedly ‘shock the conscience.’”) In

determining whether a contract is in keeping with the party’s “reasonable expectations,” it is

relevant to consider whether the arbitration clauses are in the same type face, lack prominence

and are no more conspicuous than the remaining terms of the agreement, and whether there are

any articulated rules governing the arbitration that have been provided as part of the agreement.

Trived v. Curexo Technology Corp., 189 Cal. App. 4th 387; 116 Cal. Rptr. 3d 804 (Cal. App. 1st

Dist. 2010).




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       The concept of contract of adhesion has developed in recent decades "as a basis for
       modifying or nullifying harsh terms which defeat the reasonable expectations of the
       parties." (1 Witkin, Summary of Cal. Law (9th ed. 1987) Contracts, § 23, p. 53.) Though
       originating in insurance cases, the concept has gained general application in contract law.
       (San Francisco Newspaper Printing Co. v. Superior Court (1985) 170 Cal. App. 3d 438,
       216 Cal. Rptr. 462 [agency contract]; Chretian v. Donald L. Bren Co. (1984) 151 Cal.
       App. 3d 385, 388, 198 Cal. Rptr. 523 [employment contract]; Wilson v. San Francisco
       Fed. Sav. & Loan Assn. (1976) 62 Cal. App. 3d 1, 132 Cal. Rptr. 903 [banking contract].)
       Neal v. State Farm Ins. Cos. (1961) 188 Cal. App. 2d 690, 694, 10 Cal. Rptr. 781,
       provides the classic definition of a contract of adhesion: "The term signifies a
       standardized contract, which, imposed and drafted by the party of superior bargaining
       strength, relegates to the subscribing party only the opportunity to adhere to the contract
       or reject it."

       Armendariz v. Foundation Health Psychcare Services, Inc., 68 Cal. App. 4th 374, 387
       (Cal. App. 1st Dist. 1998)

Apart from the confusion of which of the more than 28 Enrollment Applications are to govern

here, the reasonable expectation of Plaintiffs when committing to the “religious services” they

purchased from Defendants was to be bound to certain rules pertaining to the course work and

services they were about to take. (Garcia Decl. at ¶ 11). They are each deployed just as the

services which have already been purchased are to be given. (Garcia Decl. at ¶ 10). They are

given as a condition to receive each of those services. (Garcia Decl. at ¶ 10). Nothing about their

title, “Religious Services Enrollment Application Agreement and Release” or in the earlier

versions of the form, simply titled “Enrollment Application,” or the stated purpose of each form

repeated in multiple paragraphs—the signatory’s voluntary commitment to participate in the

religious services—fairly gave warning of a commitment for all time to arbitrate disputes

concerning something other than those “religious services.” (Garcia Decl. at ¶ 11). Yet, as

Defendants would have it, the clause(s) absorb “any dispute or controversy” regardless of how

distantly removed in time or place or unrelated to the services they had provided. Absorbed in

the “any dispute” category would presumably include injuries on their premises resulting from



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negligent maintenance, automobile collisions in their parking lots, a defalcation of funds by their

agents, as well as alleged defamatory publications they might chose to disseminate, to name just

a few examples. By Defendants’ logic, this would be true for even a limited or one time

exposure to Scientology “religious services.” The payment of course fees, and the execution of

the Enrollment Application would constitute a permanent bar to litigation and a permanent,

indelible mandate to arbitrate any manner of criminal, negligent, or intentional wrongdoing by

Defendants. The construction of the arbitration clauses to encompass literally “any dispute”

regardless of whether the dispute is related to services administered following the execution of

each Enrollment Application is illogical, unfairly overreaching, and surely not within the

reasonable expectation of consumers such as Plaintiffs at any time such applications were

presented for signature. (Garcia Decl. at ¶ 11).

         California courts like those in Florida3 apply both a procedural and substantive test for a

determination of whether a clause is unconscionable and therefore will not be

enforced. “Procedural unconscionability” focuses on some oppression or surprise in reaching the

agreement due to unequal bargaining power. See, e.g., Little v. Auto Stiegler, Inc., 29 Cal. 4th
3
  Under Florida Law a party must show that a contract is procedurally and substantively unconscionable. Murphy v.
Couresy Ford, LLC, 944 So.2d 1131, 1134 (Fla. DCA 2006). The procedural component of unconscionability
concerns the manner in which the contract was entered. It involves consideration of…the relative bargaining power
of the parties and their ability to understand the contract terms.” Orkin Exterminating Co. v. Petsch, 872 So.2d 259,
265 (Fla. 2d DCA 2004). To determine whether an agreement to arbitrate is procedurally unconscionable, the Court
looks at the following four factors: (1) the manner in which the contract was entered into; (2) the relative bargaining
power of the parties and whether the complaining party had a meaningful choice at the time the contract was entered
into; (3) whether the terms were merely presented on a “take-it-or-leave-it” basis; and (4) the complaining party’s
ability and opportunity to understand the disputed terms of the contract. Pendergast v. Sprint Nextel Corp., 592 F.3d
1119, 1135 (11th Cir. 2010). “One of the hallmarks of procedural unconscionability is the absence of any
meaningful choice on the part of the consumer.” Powertel, Inc. v. Bexley, 743 So.2d 570, 575 (Fla. 1st D.C.A.
1999). Substantive unconscionability “focuses on the agreement itself” and whether the terms of the agreement are
“unreasonable and unfair.” Id. An arbitration agreement will be found to be unconscionable if the terms are “so
outrageously unfair as to shock the judicial conscience.” Bland ex. Rel. Coker v. Health Care and Ret. Corp. of Am.,
927 So.2d 252, 256 (Fla. 2d DCA 2006). The existence of substantive unconscionability further turns on “whether
the disputed terms limit available remedies, exclude punitive damages, prevent equitable relief, impose substantial
costs, or lack mutuality of obligation with respect to the arbitration of disputes.” EEOC v. Taco Bell of Am., Inc.,
2007 U.S. Dist. LEXIS 18292 at *4 (M.D. Fla. 2007) (cited in Dorward v. Macy’s, Inc., 2011 U.S. Dist. LEXIS
78639 (M.D. Fla. 2011).



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1064, 130 Cal. Rptr. 2d 892, 63 P.3d 979 (Cal. 2003). It is has similar elements to a “contract of

adhesion,” which is usually imposed and drafted by the party of superior bargaining strength,

leaving no room for negotiation but solely allowing for either rejection or acceptance of the

proposed terms. Id.; Parada, 176 Cal. App. 4th at 1570. “Substantive unconscionability”

focuses on the actual terms of the agreement evaluating whether they are so one-sided or harsh as

to otherwise “shock the conscience.” Young Seok Suh v. Superior Court, 181 Cal. App. 4th 1504,

105 Cal. Rptr. 3d 585 (Cal. App. 2d Dist. 2010); Kinney v. United Healthcare Servs., 70 Cal.

App. 4th 1322, 1330-1331 (Cal. App. 4th Dist. 1999). These elements, however, need not be

present to the same degree. Compton v. Superior Court, 214 Cal. App. 4th 873 (Cal. App. 2d

Dist. 2013); Ajamian v. CantorCO2e, L.P., 203 Cal. App. 4th 771, 795 (Cal. App. 1st Dist.

2012); Szetela v. Discover Bank, 97 Cal. App. 4th 1094, 118 Cal. Rptr. 2d 862 (4th Dist. 2002).

Slight evidence of procedural unconscionability coupled with more compelling evidence of the

oppressive, unfair or overreaching terms of the clause are sufficient to demonstrate that the

arbitration clause is unconscionable. See, e.g., Lima v. Gateway, Inc., 886 F. Supp. 2d 1170,

1181 (C.D. Cal. 2012) (“[T]he more substantively oppressive the contract term, the less evidence

of procedural unconscionability is required to come to the conclusion that the term is

unenforceable, and vice versa.” (internal citations omitted).)4

                  1. The Evidence of Procedural Unconscionability

         Defendants publish a price list which they refer to as “donations” for the “services” they

offer. It lists the specific prices and discounts which will apply to each service identified. A

copy of a sample “Price List” is attached as Exhibit 5 to the Declaration of Luis Garcia. The

4
  Florida Courts have also found it appropriate to utilize a balancing or sliding scale approach, “and to tip the scales
in favor of unconscionability,” where “a certain quantum of procedural plus a certain quantum of substantive
unconscionability” is found. See, e.g. Romano v. Manor Care, Inc., 861 So.2d 59 (Fla. 4th DCA 2003); Pendergast
v. Sprint Nextel Corporation, 592 F.3d 1119 (11th Cir. 2010).



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 price list identifies “auditing” and “training” services which may be purchased in discounted

 packages or “intensives” to be provided at the purchaser’s request. (Garcia Decl. ¶¶ 8-9). These

 “services” are in fact sessions with trained personnel of the Church of Scientology. (Garcia

 Decl. ¶¶ 8-9).


          Importantly, the Price List did not alert Plaintiffs or any prospective consumer to a later

 requirement that in order to consume the services purchased, an Enrollment Application was also

 to be executed. (Garcia Decl. ¶ 8). Nonetheless, once Plaintiffs had made their selection and

 paid for the services they ordered, they made arrangements to attend personalized sessions. The

 vast majority of those sessions occurred in Orange County, California5.                            The Enrollment

 Application, as it was originally called or, as referred to in the more recent iterations “Religious

 Services Enrollment Application Agreement and Release” (both of which are collectively

 referred to as “Enrollment Application” herein), containing varying arbitration clauses were only

 then presented to Plaintiffs as each course session was to commence. (Garcia Decl. ¶ 10). In

 multiple places, even the more recent versions of these Enrollment Applications emphasized that

 their purpose was to commit the purchaser to signifying that they had voluntarily agreed to

 participate in the “religious services” that had already been purchased:


                            … I am voluntarily signing and submitting to CHURCH OF
                            SCIENTOLOGY OF ORANGE COUNTY (hereinafter the Church), THIS
                            RELIGIOUS          SERVICES         ENROLLMENT              APPLICATON,
                            AGREEMENT AND GENERAL RELESASE (hereinafter “this
                            Contract”) so that upon its acceptance by the Church, I may participate in
                            Religious Services of the Scientology religion under the terms, conditions,
                            covenants, waivers and releases, I agree to by signing the Contract.
                                     *****


 5
  Plaintiffs’ claims here do not involve dissatisfaction with or returns or refunds sought in connection with religious
 services they obtained pursuant to any Enrollment Application they executed.



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                       2. This Contract is my statement of personal, self-determined desire to
                       participate in the Religious Services of the Scientology religion.
                              ****
                       4. This Contract is my commitment that I desire to participate in
                       Scientology Religious Services exclusively for spiritual purposes in
                       accordance with the belief and practices of the Scientology religion.
                              ****
                       5. This Contract memorializes my intention to participate in Scientology
                       Religious Services only for purposes of self-improvement and spiritual
                       development.
                              *****
                       7. This Contract is my good faith application to participate in Scientology
                       Religious Services.
                       (Garcia Decl. Exh. 5; Defendants’ MC&S Exh. 5 [D.E. 8-5] at pp. 9-13)

        The pre-printed Enrollment Applications were also non-negotiable. The sole option was

 to sign, otherwise Defendants advised that the services that had already been paid for would be

 declined as well. (Garcia Decl. ¶ 10).    The latest versions of these Enrollment Applications

 elaborated on the process to obtain a “return of donations” inclusive of the services then to be

 administered. (Garcia Decl. Exh. 7; Defendants’ MC&S Exh. 5 [D.E. 8-5] at p. 11).

                       5(c). No Scientology church is under any duty or obligation whatsoever to
                       return any portion of any religious donation I make, however, I have read
                       Scientology Policy Directive 13 March 1996, Return of Donations, and
                       understand that under certain circumstances identified in published
                       ecclesiastical policies such as that Scientology Directive, a return of
                       donations may be obtained through my strict compliance with those
                       published policies and procedures relating to the Claims Verification
                       Board. I further understand, acknowledge, and agree that:
                              i.      such procedures require my direct participation to the
                       exclusion of any third parties, including but not limited to, attorneys;
                               ii.    returns of donations are exclusively within the
                       ecclesiastical authority and sole discretion of the Claims Verification
                       Board;




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                              iii.   any violation of, or derivation from, such published policies
                       by me voids any possibility of my receiving a return of donation; and
                               iv.    should I, at any time, ever request a refund or repayment of
                       donations, such refund or repayment will be given if and only if I have
                       followed the exact procedures of the Claims Verification Board and this
                       Contract, and that in exchange for refund or repayment of such donations
                       as determined by the Claims Verification Board, I execute a complete
                       release, quitclaim and waiver of claims as provided by an authorized
                       Church representative.”
        As appears in the next section regarding Substantive Unconscionability, even if the

 Enrollment Application was executed, it provides an illusory remedy to those, like Plaintiffs who

 publicly criticize Defendants or Scientology, publicly depart the Church, retain counsel to press

 their claims or seek relief through the Courts and are then denounced by Defendants as

 “Suppressive Persons.” The refusal to be bound by the rigors of the Enrollment Application or

 church doctrine in resorting to civil court processes was and remains a disqualifying factor in

 receiving a refund. It is no more and no less than a doctrinal “gotcha.”

        The elements of surprise, oppression and the absence of “real negotiation” or a

 meaningful choice in the making of this agreement are all evident here. (James Decl. at ¶3: “No

 parishioner is allowed to raise objections as to the content of the Enrollment Agreement. Any

 objection or disagreement as to content would be seen as an attack against the church and would

 be dealt with harshly…”) American Software, Inc. v. Ali, 46 Cal. App. 4th 1386, 1390-1391 (Cal.

 App. 1st Dist. 1996); See also Armendariz v. Foundation Health Psychcare Services, Inc., 68

 Cal. App. 4th 374; 80 Cal. Rptr. 2d 255 (Cal. App. 1st Dist. 1998) holding:

                       We have no hesitation concluding, as a matter of law, that the arbitration
                       clause here was a contract of adhesion and that the plaintiffs were the
                       weaker parties to the contract. The arbitration clause, as it appeared in the
                       employment application and the ‘Employee Arbitration Agreement,’ was
                       ‘a standardized contract,’ drafted by the employer, that relegated to the
                       prospective employee ‘only the opportunity to adhere to the contract or
                       reject it.’(Neal v. State Farm Ins. Cos., supra, 188 Cal. App. 2d at p. 694.)
                       The clause in fact expressly required the prospective employee to agree


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                        ‘as a condition of my employment.’ While the employee could reject the
                        job rather than sign the arbitration agreement, the employer still possessed
                        the ‘superior bargaining strength’ requisite to bring the clause within the
                        concept of a contract of adhesion. Neal v. State Farm Ins. Cos., supra, at
                        p. 694; see Stirlen v. Supercuts, Inc., supra, 51 Cal. App. 4th at pp. 1533-
                        1534.).
        Under California law Defendants’ arbitration clauses, any of their iterations, or all of

 them collectively are the very portrait of adhesion contracts and are procedurally unconscionable

 where: 1) the purchase price is paid pursuant to a Published Price list; 2) only then, after the

 dollars change hands, as condition to acquire the purchased services is the so called Enrollment

 Application deployed in ‘take it or leave it’ fashion to the consumer; 3) where the governing

 clause and agreement were prepared by Defendants; 4) where the clauses are not conspicuous in

 size or appearance and 5) where there are no arbitral rules which are provided or otherwise

 disclosed at the time of contract execution or at any time thereafter..


                C.      Defendants’ Published Church Doctrine Alone Establishes the
                        Element of Substantive Unconscionability
        Under Defendants’ vernacular, Plaintiffs were “declared” as “Suppressive Persons” in

 November 2010. (Garcia Decl. ¶ 4) “Suppressive Persons” are former Scientologists, defined by

 Defendants’ published doctrine as persons engaged in any number of acts defined as hostile to

 Defendants. (Garcia Decl. ¶ 6(b)-(c); Collbran Decl. ¶ 3)          Defendants’ published doctrinal

 statements identify Plaintiffs as Suppressive Persons for among other reasons because Plaintiffs:

 1) are seeking relief in this Court; 2) have retained legal counsel to pursue those claims; and 3)

 and because Plaintiffs have committed what Defendants refer to as the “high crime of publicly

 departing this Church.” (Garcia Decl. at ¶ 6(b)(1)-(4)).

        However, the Court need look no further than Defendants’ own doctrine quoted in bold

 below to conclude that Defendants’ scheme of “Internal Ethics” which their arbitration clause




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 promises (“I will pursue resolution of the dispute, claim or controversy solely and exclusively

 through Scientology’s Internal Ethics, just and binding religious arbitration procedures.” (Garcia

 Decl., Exh. 7, ¶6(d), “Enrollment Agreement”) is not available to Suppressive Persons and hence

 unavailable to Plaintiffs.

                        Suppressive Persons or groups relinquish their rights as Scientologists
                        by their very actions and may not receive the benefit of the Codes of
                        the Church. (emphasis supplied) (Rathbun Decl. at ¶ 12(b); Garcia Decl.
                        at ¶ 6(a); Collbran Decl. at ¶ 5(b)).
                        Suppressive persons have no rights as Scientologists. (Collbran Decl. at
                        ¶5(f); Garcia Decl. ¶ 6(b)(4)). Civil court action against [Suppressive
                        Persons] to effect collection of monies owed may be resorted to, as
                        they are not entitled to Scientology ethics procedures. (emphasis
                        supplied) (Rathbun Decl. at ¶ 12(e); Collbran Decl. at ¶ 5(e)).
                        They are considered insane individuals (“…true psychotics no matter
                        how ‘sane’ they sound…” and “…are just very sick people…”) (emphasis
                        supplied). (Collbran Decl. at ¶ 5(a); Rathbun Decl. at ¶ 12(a)) and are
                        practically regarded as enemies with whom Scientologists are at war.
                        (Garcia Decl. at ¶ 6(c); Collbran Decl. at ¶ 5(h).
                                               ****

                        A return of donation is neither a legal right of a parishioner, nor a legal
                        obligation of any Church. To the Church, the issue of a return of donation
                        is one of integrity rather than a contractual matter, based on ethics rather
                        than law.” (Garcia Decl. at ¶ 7).

                        A truly suppressive person may be deprived of property or injured by any
                        means by any Scientologist without discipline of the Scientologist. (Garcia
                        Decl. at ¶ 6(c) (“SPs are at war. Pleasant conduct, mean conduct, any
                        conduct at all is simply more war. So wage the back action as battle.”)

        Contrary to the MC&S and Defendants’ sworn declarations submitted to this Court, there

 is no arbitral process of any kind, much less a fair one, which awaits Plaintiffs. (James Decl. at ¶

 6; Rathbun Decl. at ¶ 13; Koon Decl. at ¶ 5). Defendants may not simply retract or soften well

 established and caustic Church doctrine and rhetoric to suit this moment, and credibly promote

 any type of arbitral process they have repeatedly stated is unavailable to Suppressive Persons and




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 therefore not available to Plaintiffs. Excerpted Church doctrine below makes abundantly clear

 that retaliation and harassment will follow any unauthorized contact with Suppressive Persons:


                        It is a suppressive act to deal with a declared suppressive person unless
                        you are the named terminal to deal with the SP…continued adherence to a
                        person or group accurately pronounced a suppressive person or group by
                        HCO is a suppressive act.” (Collbran Decl. at Exh E and ¶ 5(c), (i); James
                        Decl. at Exh. B and ¶ 5; Schippers Decl. at Exh. A; Rathbun Decl. at ¶
                        12(c), (j) ).
                        To maintain a line with, offer support to, or in any way grant credence to
                        such a person indicates nothing more than agreement with that person’s
                        destructive intentions and acts. Such dealings in fact act as covert or overt
                        attempt [sic] to undermine and negate the ethics and justice strengths of
                        our ecclesiastical structure…to deal with a suppressive is a suppressive
                        act.” (Collbran Decl. at Exh. E and ¶ 5(i); James Decl. at Exh. B and ¶ 5;
                        Schippers Decl. at Exh. A; Rathbun Decl. at ¶ 12(j)).
                        …[T]o deal with [a Suppressive Person] constitutes no less than a
                        Suppressive Act. Such an act is cause to have levied against you the same
                        per [sic] policy Church justice procedures afforded any Suppressive
                        Person. Full ethics penalties will be applied. (James Decl. at Exh. B;
                        Collbran Decl. at Exh. E; Schippers Decl. at Exh. A).


        The significance of these published doctrines is the obvious hostility to former members

 of this church who, like the Garcias, were declared to be suppressive persons. (See, e.g., James

 Decl. at ¶ 7(a); Collbran Decl. at ¶ 4(a), (b); K. Campbell Decl. at ¶ 8, Garcia Decl. at Exh. 1 and

 ¶ 4; Schippers Decl. at ¶¶ 3-7; Koon Decl. at ¶ 4(a)-(d). See generally N. Wise Decl; R. Wise

 Decl.). Former Scientologist Christie Collbran describes the following consequences flowing

 from being declared a “suppressive person”:

                …After leaving the Sea Organization, and being declared by the church a
                suppressive person, my father, mother, brother and sister have all severed all
                forms of communication with me…I have sent letters and packages to my parents
                in an attempt to reestablish contact with them. I have received no reciprocal
                correspondence from them. I now have a child, their grandchild, whom they have
                never met. I even travelled to their home in Los Angeles, on two occasions,
                unable to see them either time, despite being aware that neighbors believed them
                to be at home. (Collbran Decl. at ¶ 4(a), (b)).


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         Were Plaintiffs even permitted to participate in such an arbitral process, it takes no

 speculative leap to glean the outcome. The hostility of any Scientologists on that panel is not

 speculation—it is church doctrine. The arbitrators themselves must subscribe to church doctrine

 that has already sat in judgment of Plaintiffs. They are parties whose interest in the outcome is

 clear. It also requires no logical leap to discern that such panelists would obviously risk

 jeopardizing their own standing, risk retaliation to their families and ultimately disconnection

 from their families (S. Campbell Decl. at ¶ 6; Collbran Decl. at ¶ 7; James Decl. at ¶ 7) by daring

 to issue a ruling in favor of Plaintiffs.6 There is no case law, and certainly none cited by

 Defendants which compels arbitration under a system of ‘justice’ and ‘ethics’ in which the sole

 arbitration panelists are also Scientologists required by church doctrine to brand Plaintiffs as

 virtual outlaws, “insane” and unentitled to receive any benefits of a system of “justice” and

 “ethics” they might otherwise dispense to non-Suppressive Persons.

         Under California law, the courts have not hesitated to characterize markedly less biased

 and one-sided processes than are so obvious here as “illusory” and “unconscionable”.                             In

 Graham v. Scissor-Tail, Inc. (1981) 28 Cal.3d 807, 826-828 (Cal. 1981), an arbitration process

 which required union members to arbitrate before their union was rejected as illusory and

 unconscionable.

         As the United States Supreme Court has said in a related context, ‘Congress has put its
         blessing on private dispute settlement arrangements, but it was anticipated, we are sure,

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  Easterly v. Heritage Christian School, Inc. 2001 WL 2750099 (S.D. Ind. 2009), Jenkins v. Trinity Evangelical
 Lutheran Church, 356 Ill App. 3d 504, 825 N.E. 2d at 1214 (2005), General Conference of Evangelical Methodist
 Church v. Evangelical Methodist Church of Dalton, Georgia, Inc., 807 F. Supp. 2d 1291 (W.D. Ga. 2011) upon
 which Defendants rely at p. 24 through 25 of their MS&C do no more than support the notion that ecclesiastically
 based arbitrations may be enforced, absent substantive evidence of “evident partiality”. In each, the mere
 apprehension of unfairness or speculated anxiety about the inherent bias regarding an arbitral process presided over
 by the remaining members of the church hierarchy or congregation was rejected as insufficient and dismissed as
 unsubstantiated speculation.



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        that the contractual machinery would operate within some minimum levels of integrity.’
        (Hines v. Anchor Motor Freight (1976) 424 U.S. 554, 571 [47 L.Ed.2d 231, 245, 96 S.Ct.
        1048].)

                                                       *****

        As the Cross & Brown case indicates, an entity or body which by its nature is incapable
        of ‘deciding’ on the basis of what it has "heard" -- as, in that case, one of the principal
        parties to the contract -- does not qualify. "Unless we close our eyes to realities," the
        court there said, "the agreement here becomes, not a contract to arbitrate, but an
        engagement to capitulate." (167 N.Y.S.2d at p. 576.) The same result would follow,
        the court there suggests, when one "so identified with the party as to be in fact, even
        though not in name, the party" is designated. (Id.) In such cases as this, the
        agreement to arbitrate is essentially illusory. Here, clearly, "minimum levels of
        integrity" are not achieved, and the "agreement to arbitrate" should be denied
        enforcement on grounds of unconscionability.

        There is we think a second basis, related to that just discussed, for denying enforcement
        on such grounds. The fact that an entity or body designated by contract to act as
        arbitrator of contractual disputes is one capable of acting as a tribunal -- i.e., in the sense
        of hearing a dispute and deciding fairly and rationally on the basis of what it has heard --
        is of little consequence if it proceeds under rules which deny a party the fair opportunity
        to present his side of the dispute. Thus, if a party resisting arbitration can show that
        the rules under which arbitration is to proceed will operate to deprive him of what
        we in other contexts have termed the common law right of fair procedure, the
        agreement to arbitrate should not be enforced…When it can be demonstrated,
        however, that the clear effect of the established procedure of the arbitrator will be to deny
        the resisting party a fair opportunity to present his position, the court should refuse to
        compel arbitration.

        Id. (emphasis supplied). Defendants’ announced hostility toward Plaintiffs and other

 “suppressive persons” is an admission of substantive unconscionabiliy in that Scientologist

 panelists must subscribe to the same doctrine. See Sanchez v. Western Pizza Enterprises, Inc.,

 172 Cal. App. 4th 154 (Cal. 2d Dist. 2009) (invalidating arbitration provision permitting an

 employer to designate the sole “panel” member of arbitrators). In Zaborowski v. MHN Gov't

 Servs., 2013 U.S. Dist. LEXIS 48536, *13-14 (N.D. Cal. Apr. 3, 2013), a clause which allowed

 one party to maintain unilateral control over the pool of potential arbitrators was struck down as



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 substantively unconscionable:

        …[T]he arbitration clause allows MHN to unilaterally choose the pool of arbitrators. The
        arbitration agreement provides that "MHN shall provide Provider [MFLC] with a list of
        three neutral arbitrators from which Provider shall select its choice of arbitrator for the
        arbitration." FAC, Ex. A ¶ 20. This allows for creation of a very one-sided arbitration
        process, since MHN has the opportunity to choose the three most sympathetic arbitrators
        it can find, and the MFL Consultant will not be presented with a meaningful choice.
        MHN argues that this clause should be construed to mean that the MFL Consultant would
        choose an arbitrator from the AAA's list. However, that is not what the terms of the
        clause state. Under the plain meaning of the Agreement, MHN can select any three
        arbitrators it wishes, as long as the arbitrators are licensed to practice law. This term is
        substantively unconscionable. See Pokorny v. Quixtar, Inc., 601 F.3d 987, 1003 (9th Cir.
        2010) (finding an arbitrator selection process substantively unconscionable where the
        employer hand-selected a pool of five arbitrators that it had specially trained, from which
        the plaintiff could choose its arbitrator). Id.

        The example of the Lutheran Church in Jenkins v. Trinity Lutheran Church, 356 Ill. App.

 3d 504, 509 (Ill. App. Ct. 2005), supra, which Defendants seek to compare their religiously

 based arbitration, is very misplaced. In Jenkins, the Lutheran Church evenly sought to apply

 “neutral principles” to arbitrations involving non-ecclesiastical disputes:

        When plaintiff became a pastor, he agreed to abide by the constitution and the bylaws of
        the LCMS. Article VIII of the bylaws requires that ecclesiastical disagreements be settled
        by the "Synodical Dispute Resolution" procedure. However, LCMS bylaws give civil
        courts jurisdiction over contract disputes as long as they do not involve ecclesiastical
        issues. The bylaws appear to adopt the "neutral principles" doctrine developed by
        the civil courts. See Jones v. Wolf, 443 U.S. 595, 99 S. Ct. 3020, 61 L. Ed. 2d 775
        (1979). Thus, we must examine whether the alleged agreement fits within neutral
        principles that would allow a civil court to hear the claim. (Emphasis supplied).

 Id. Defendants reject such “neutral principles”, and proclaim hostility and enmity to any

 Scientologists who seek to assert their claims in civil courts against them under such principles.

        Also, quite unlike Jenkins, Defendants have no published arbitration rules of any kind.

 The absence of published and governing standards or the arbitrary ability of one party to

 unilaterally alter or change them is itself an independent basis for a finding of unconscionability.

 Arbitral forums which are termed inherently one-sided do not provide for meaningful dispute


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 resolution, are invalid and will not be enforced. See, e.g., Hooters of Am. Inc. v. Phillips, 173

 F.3d 933 at 938-940 (4th Cir. 1999):

          Under the rules, Hooters is free to devise lists of partial arbitrators who have existing
          relationships, financial or familial, with Hooters from placing its managers themselves on
          the list. Further, nothing in the rules restricts Hooters from punishing arbitrators who rule
          against the company by removing them from the list. Given the unrestricted control that
          one party (Hooters) has over the panel, the selection of an impartial decision maker
          would be a surprising result…. Moreover, Hooters reserves the right to modify the
          rules, “in whole or in part,” whenever it wishes and “without notice” to the
          employee . . . Nothing in the rules even prohibits Hooters from changing the rules in
          the middle of an arbitration proceeding…We hold that the promulgation of so many
          biased rules -- especially the scheme whereby one party to the proceeding so controls the
          arbitral panel -- breaches the contract entered into by the parties. The parties agreed to
          submit their claims to arbitration -- a system whereby disputes are fairly resolved by an
          impartial third party. Hooters by contract took on the obligation of establishing such a
          system. By creating a sham system unworthy even of the name of arbitration,
          Hooters completely failed in performing its contractual duty. (Emphasis supplied.)


          The absence of defined rules or procedures governing the substantive work of the

 arbitration panel, coupled with the obvious bias to Plaintiffs as so called Suppressive Persons, is

 the very definition of a vacant and arbitrary process which offers an illusory remedy, is a sham

 and is therefore unenforceable.7 See, e.g., Walker v. Ryan Family Steak House, Inc., 289 F. Supp.


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   Neither the older nor the more recent versions of the Enrollment Agreements incorporate or specify any rules to
 govern discovery or other procedural aspects of the arbitration proceedings once said proceedings have been
 initiated:

          All arbitrators shall be Scientologists in good standing with the mother Church and shall conduct the
          arbitration in a fair and equitable manner to the end that justice to both parties shall be done. [1986
          Enrollment Agreement, D.E. 8-5, p. 8, ¶8(5)].

          Any dispute, claim or controversy which still remains unresolved after review by the IJC shall be submitted
          to binding religious arbitration in accordance with the arbitration procedures of Church of Scientology
          International…[further specifying the process for arbitrator selection] [2002 Enrollment Agreement, D.E.
          8-5, p. 12, ¶6(e)].

 Even if Defendants maintained and applied formally promulgated rules to the arbitration proceedings, their failure to
 show said rules to Plaintiffs at the time Plaintiffs signed the Enrollment Agreements warrants a finding of procedural
 unconscionability under California law. See, e.g., Trivedi v. Curexo Technology Corp., 189 Cal. App. 4th 387, 393
 (Cal. App. 1st Dist. 2010) (citing Fitz v. NCR Corp. (2004) 118 Cal.App.4th 702, 721 [13 Cal. Rptr. 3d 88] [NCR's
 “employee-dispute resolution policy, known as Addressing Concerns Together (ACT),” incorporated “arbitration
 rules that were not attached and require[d] the other party to go to another source in order to learn the full
 ramifications of the arbitration agreement”]; Harper v. Ultimo (2003) 113 Cal.App.4th 1402, 1406–1407 [7 Cal.


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 2d. 916, 930-931 (M.D. Tenn. 2003) (finding employer’s arbitral forum to be an “inappropriate

 substitute for the judicial forum” due in part to institutional bias apparent in employer’s ability to

 “modify and craft the rules that govern [the agreement to arbitrate]…”The Court held that

 [w]ithout a definite set of procedures, EDSI's promise to provide an arbitral forum was illusory,

 thereby lacking mutuality of obligation and defeating consideration.”); Murray v. UFCW Int’l,

 Local 400, 289 F.3d 297 (4th Cir. 2002) (Refusing to enforce arbitration agreement so clearly

 skewed in one party’s favor).

                                                CONCLUSION

          Defendants’ MC&S should be denied. The Enrollment Applications and the subsisting

 arbitration clauses in them are the very definition of procedurally unconscionable contracts of

 adhesion unrelated to the reasonable expectation of any person agreeing to receive Defendants’

 religious services. Plaintiffs’ complaint is neither an attack on Scientology as a supposed

 religion nor, in any way related to the religious services they paid for.

          An arbitral process under which Plaintiffs are ineligible, as “declared” outcasts, is

 illusory and a sham and no more than an agreement to “capitulate” rather than resolve Plaintiffs’

 wholly unrelated claims. There is no precedent for enforcing what amounts to unmitigated

 “tribal prejudices” under the guise of arbitration. There is no precedent for enforcing this

 substantively unconscionable process to compel arbitration of the instant disputes.




 Rptr. 3d 418] [“inability to receive full relief is artfully hidden by merely referencing the Better Business Bureau
 arbitration rules, and not attaching those rules to the contract for the customer to review,” which forced the customer
 to go to another source to learn that the arbitration agreement curtailed his ability to receive full relief]; Gutierrez v.
 Autowest, Inc., 114 Cal.App.4th at pp. 84, 89 [Gutierrez “never given or shown a copy of the arbitration rules of the
 American Arbitration Association (AAA), the designated arbitration provider” nor required to initial arbitration
 clause]; Patterson v. ITT Consumer Financial Corp. (1993) 14 Cal.App.4th 1659, 1665 [18 Cal. Rptr. 2d 563] [at
 signing, “borrowers were not given a copy of the procedural rules of the National Arbitration Forum (NAF)—the
 rules were sent to the borrowers only once ITT had initiated a claim against them”].).



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                                  CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that on this 22nd day of April, 2013, we electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. We also certify that the

 foregoing document is being served this day on all counsel of record or pro se parties identified

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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

 LUIS A. GARCIA SAZ, and wife, MARIA
 DEL ROCIO BURGOS GARCIA,

         Plaintiffs,
 vs.                                                  CASE NO. 8:13-CV-220-T27 TBM

 CHURCH OF SCIENTOLOGY RELIGIOUS
 TRUST; et al

       Defendants.
 ________________________________________/

  RENEWED MOTION TO COMPEL ARBITRATION AND TO STAY PROCEEDINGS
   OF FLAG CHURCH AND SHIP CHURCH REGARDING AMENDED COMPLAINT

         Defendants, Church of Scientology Flag Service Organization, Inc. (“Flag Church”) and

 Church of Scientology Flag Ship Service Organization, Inc. (“Ship Church”) by their

 undersigned counsel, in response to the amended complaint filed by the plaintiffs (Dkt.114)

 renew their arguments to compel arbitration as set forth in the Joint Motion and Memorandum of

 Served Defendants to Compel Arbitration and to Stay Proceedings (Dkt.8) filed on 3/6/13 and as

 further supported by Defendant’s Response to Court Order Regarding Arbitration Procedures

 (Dkt. 91) filed on 10/24/13.

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 15, 2014, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to the

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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


     LUIS A. GARCIA SAZ and Wife,
     MARIA DEL ROCIO BURGOS
     GARCIA,

                      Plaintiffs,                           CASE NO: 8:13-CV-220-T27 TBM
     vs.

     CHURCH OF SCIENTOLOGY FLAG
     SERVICE ORGANIZATION, INC., and
     CHURCH OF SCIENTOLOGY FLAG SHIP
     SERVICE ORGANIZATION, INC.,

                   Defendants.
     ____________________________________/

       PLAINTIFFS’ AMENDED MOTION TO VACATE ARBITRATION AWARDS
                 AND INCORPORATED MEMORANDUM OF LAW

           The Plaintiffs, LUIS A. GARCIA SAZ and MARIA DEL ROCIO BURGOS GARCIA,

    under 9 U.S.C. § 10(a) (2012), file this Amended Motion to Vacate the Arbitration Awards

    and Incorporated Memorandum of Law. The Arbitration Awards are dated October 23, 2017,

    and signed by the arbitration panel on October 24, 2017 (Ex. 1 Arbitration Findings Form &

    Ex. 2 Arbitration Decision Form).

           1.      The Plaintiffs have a statutory right to move to vacate an arbitration award

    when: (1) the award was “procured by corruption, fraud, or undue means;” (2) the arbitrators

    acted with “evident partiality or corruption”; or (3) the arbitrators engaged in “misconduct in .

    . . refusing to hear evidence pertinent and material to the controversy” or “any other

    misbehavior by which the rights of any party have been prejudiced.” 9 U.S.C. § 10(a). The

    Plaintiffs move to vacate based upon sections 10(a)(2) and 10(a)(3). While the ability of courts



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    to review ecclesiastical arbitrations is limited, the Defendants (the “Church”)1 agreed that the

    Plaintiffs have the right to file a motion to vacate on the grounds authorized by section 10(a)

    (DE196:87 Tr. 2/19/15).

           2.      Under section 10(a)(3), this Court should vacate the arbitration award because

    the arbitration panel engaged in misconduct by refusing to hear any evidence critical of the

    Church (Ex. 3 Garcia Aff. at 4-5, 9-10, 13-15, 17).

           3.      In conjunction with the motion to compel arbitration, the Church presented the

    testimony of the International Justice Chief (“IJC”) Mike Ellis, who told this Court that the

    Plaintiffs would have a full opportunity to “present evidence” and “originate whatever [they]

    wanted . . . to present [their] side of the story” (DE188-3:176-78 Dep. Mike Ellis). When this

    Court later denied the Plaintiffs’ motion for miscellaneous relief, it relied upon this testimony

    that the Plaintiffs would have the opportunity to present their evidence: “For example, [IJC]

    Ellis has testified that . . . [the Plaintiffs] would be able to ‘originate whatever [they] wanted

    to’ in order to present their side of story . . . .” (DE265:3, n.4 Order 10/16/17).

           4.      Directly contrary to this representation, the IJC and arbitration panel refused to

    allow the Plaintiffs to present any witnesses or evidence at all because the IJC deemed the

    Plaintiffs’ evidence to be “entheta” (Ex. 3 Garcia Aff. at 4-5, 9-10, 13-15, 17). “Entheta” is a

    Scientology term meaning critical of the Church (Id. at 4).

           5.      The Plaintiffs alleged claims against the Church for fraud, breach of contract,


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              The Defendants are the CHURCH OF SCIENTOLOGY FLAG SERVICE
    ORGANIZATION, INC. and the CHURCH OF SCIENTOLOGY FLAG SHIP SERVICE
    ORGANIZATION, INC. This motion refers to the Defendants collectively as “the Church.”
    All emphasis is supplied unless otherwise indicated. This motion refers to documents filed in
    this Court by docket entry number (DE[docket entry number]:[page number]).



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    and violations of the Deceptive and Unfair Trade Practices Act (DE114 Am. Compl. 5/12/14).

    The Plaintiffs alleged that the Church extracted funds from them by soliciting contributions

    for purposes that were never fulfilled and failing to repay deposits for services that were never

    rendered (Id. at 1-4, 7-29). The Plaintiffs could not prove these claims without submitting

    evidence critical of the Church (Ex. 3 Garcia Aff. at 4-10, 13-15, 17).

           6.      Before this Court compelled arbitration, the Church also told this Court that

    whether the Plaintiffs requested a refund by filling out a form with the Claims Verification

    Board (CVB) would not be dispositive of the issues in this suit (DE196:88-89 Tr. 2/19/15).

    The Church stated the claims verification board process does not apply to persons, like the

    Plaintiffs, who have been declared by the Church to be suppressive persons (Id. at 89; DE188-

    3:147-48, 151 Dep. Mike Ellis).

           7.      At arbitration, the IJC reversed course and stated that the only issues for

    arbitration were whether the Plaintiffs followed the correct procedure to request return of funds

    from the Church by filling out a CVB form (Ex. 3 Garcia Aff. at 11, 13-14). The IJC and

    arbitrators refused to consider the Plaintiffs’ fraud claims and the issues raised in the lawsuit

    (Id.). The only questions the arbitrators asked the Plaintiffs involved whether they had filled

    out a CVB form (Id. at 12-18).

           8.      The issues presented in the Plaintiffs’ lawsuit are much broader than whether

    they filled out a CVB form (DE114 Am. Compl. 5/12/14; Ex. 3 Garcia Aff. at 4-10, 13-15,

    17).

           9.      The Plaintiffs tried to submit over 900 pages of evidence supporting their

    claims, but the IJC redacted all information critical of the Church (Ex. 3 Garcia Aff. at 5, 7-




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    10). The IJC presented the arbitration panel with only 70 of the pages the Plaintiffs submitted

    (Ex. 3 Garcia Aff. at 9). The IJC heavily redacted the few pages that the IJC allowed the

    Plaintiffs to give the arbitrators (Id. at 9-11). As an example, the Plaintiffs asked the IJC to

    present to the arbitration panel an accounting summary of the Orange County Ideal Org (Id. &

    Attached Ex. F Unredacted accounting summary proffered by the Plaintiffs). The IJC redacted

    all but a few lines of the accounting summary before giving it to the arbitrators (Ex. 3 Garcia

    Aff. at 9-11 & Attached Ex. G Accounting summary as redacted by IJC before presenting it to

    arbitrators). The redacted accounting summary no longer contained any information related to

    the Plaintiffs’ fraud claims. (Id. & Compare Ex. F Unredacted summary with Ex. G Redacted

    summary). The IJC refused to allow the Plaintiffs to present letters from former Church

    members with similar requests for the Church to return donations, statements published on the

    Church’s website, the Church’s promotional materials, and copies of Church policies that

    demonstrated the Church’s fraud (Id. & Ex. H Church flyer the IJC excluded from evidence).

           10.     This Court should also vacate the arbitration award because the panel engaged

    in misconduct by allowing the IJC to have ex parte contact with the arbitration panel and

    present evidence outside the Plaintiffs’ presence.

           11.     The arbitration panel engaged in further misconduct in refusing to allow the

    Plaintiffs’ counsel to attend the arbitration, but allowing the Church to have counsel present

    (Ex. 3 Garcia Aff. at 6-7, 10 & Attached Ex. B Screen Shot showing wireless network “Gary

    Soter’s iPhone” 10/23/17). This contradicted the Church’s representations to this Court that

    the Plaintiffs’ counsel had the right to attend the arbitration (DE188-4:194-95 Dep. Mike Ellis).

           12.     The arbitration panel also engaged in misconduct by failing to provide written




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    findings sufficient for this Court to review the arbitration awards (Ex. 1 Arbitration Findings

    Form & Ex. 2 Arbitration Decision Form). This Court asked counsel for the Church, “Will

    there be a record of the proceeding if I’m asked to review it”? (DE196:87 Tr. 2/19/15). The

    Church’s counsel repeatedly assured this Court that the arbitration panel would create a written

    report sufficient for this Court to rule on a motion to vacate (DE196:88-89 Tr. 2/19/15;

    DE255:9 Tr. 8/15/17). Directly contrary to the Defendants’ repeated representations to this

    Court, the only written documents the arbitration panel provided were checklists prepared on

    October 23, 2017, the day before the arbitration began and signed on the day the arbitration

    actually took place, October 24, 2017 (Ex. 1 Arbitration Findings Form & Ex. 2 Arbitration

    Decision Form). Nothing in the checklists gives this Court any explanation of what evidence

    the panel considered or how the findings were determined (Id.).

           13.     In addition, under 9 U.S.C. § 10(a)(2), this Court should vacate the arbitration

    award because “there was evident partiality or corruption in the arbitrators, or either of them.”

    Again, the Defendants represented to this Court that the IJC would instruct the arbitration panel

    to “treat everyone impartially regardless of who they are” (DE188-2:80, Dep. Mike Ellis; see

    id. at 81; DE188-3:161, 177; DE188-4:222).

           14.     This Court relied on this evidence when it rejected the Plaintiffs’ argument that

    because the Church had declared them to be “Suppressive Persons,” it would be impossible for

    them to receive a fair and neutral arbitration from a panel of arbitrators comprised of

    Scientologists in “good standing” (DE189:19-20 Order Compelling Arbitration 3/13/15; Ex. 4

    Church Order Garcia Suppressive Persons Declare 11/20/10). This Court found that IJC “Mike

    Ellis testified that this would not be the case, essentially because the arbitrators would be




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    instructed to be fair and neutral.” (Id.).

            15. That did not happen. Instead, outside the Plaintiffs’ presence, IJC Mike Ellis

    “hatted” the arbitration panel (Ex. 3 Garcia Aff. at 4-6, 12). “Hatting” is a Scientology term

    for “training” them (Ex. 3 Garcia Aff. at 4). Contrary to the IJC’s representations to this Court,

    this “hatting” did not merely consist of instructing the arbitrators to be fair and neutral. Outside

    the presence of the Plaintiffs, the IJC gave the arbitration panel several documents to review,

    including church policies, the complaint, and the 10-page report from the Claims Verification

    Board (CVB report) (Id. at 4-9 & Attached Ex. E CVB report). This report was tantamount to

    a directed verdict for the Church (Id. at 8-9, 15 & Attached Ex. E CVB report). The Plaintiffs

    had never seen the CVB report before and had no opportunity to respond to it (Id. at 8-9, 15).

    The arbitration panel gave the IJC unfettered access and the right to present evidence outside

    the Plaintiffs’ presence. This disparate treatment demonstrated the evident partiality of the

    arbitration panel.

            16.     Members of the arbitration panel also made numerous statements

    demonstrating their evident partiality. The Chairman of the arbitration panel, Peter Sokoloff,

    told the Plaintiffs that once they were declared “Suppressive Persons,” they ceased to have any

    rights as Scientologists (Ex. 3 Garcia Aff. at 16). He told the Plaintiffs their payments to the

    church were charitable donations and, therefore, non-refundable (Id.).

            17.     These payments, and the Church’s fraudulent statements to induce the

    payments, formed the basis for the Plaintiffs’ lawsuit (DE114 Am. Compl. 5/12/14). The

    statements of Chairman Sokoloff demonstrated that the arbitration panel had already decided

    the dispute in favor of the Defendants, before even meeting the Plaintiffs (Ex. 3 Garcia Aff. at




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    12-13). The evident partiality of the arbitration panel requires this Court to vacate the

    arbitration awards.

           18.     The Plaintiffs opposed the Church’s motion to compel arbitration on the

    grounds of procedural and substantive unconscionability (DE30 Pls. Resp. Opposing

    Arbitration 4/22/13; DE170 Pls. Trial Brief 2/16/15; DE191 Pls. Mot. for Reconsideration

    4/9/15). The Plaintiffs argued, vigorously, that as persons declared “Suppressive” by the

    Church, they could never receive a fair hearing before an arbitration panel composed of

    Scientologists in “good standing” (DE30; DE170; DE191; Ex. 4 Garcia Declare Order). The

    events during the arbitration proved the Plaintiffs correct on the unconscionability of the

    arbitration procedure. This Court should grant the Plaintiffs’ motion to vacate the arbitration

    awards and order trial on the merits of the claims in Plaintiffs’ lawsuit.

                                     MEMORANDUM OF LAW

           A.      The arbitration awards should be vacated because of the arbitrators’
                   misconduct in refusing to hear material evidence critical of Scientology and
                   allowing the IJC to present evidence outside the Plaintiffs’ presence.

           This Court should vacate an arbitration award “where the arbitrators were guilty of

    misconduct . . . in refusing to hear evidence pertinent and material to the controversy; or

    of any other misbehavior by which the rights of any party have been prejudiced.” 9 U.S.C.

    § 10(a)(3). The arbitrators’ evidentiary rulings “must give the parties a fundamentally fair

    hearing.” Rosenweig v. Morgan Stanley & Co., 494 F.3d 1328, 1333 (11th Cir. 2007) (citing

    Tempo Shain Corp. v. Bertek, Inc., 120 F.3d 16, 20 (2d Cir. 1997)). This Court should vacate

    the arbitration award when the “arbitrator’s refusal to hear pertinent and material evidence

    prejudices the rights of the parties.” Id. (quoting Hoteles Condado Beach, La Concha & Conv.




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    Ctr. v. Union De Tronquistas Local 901, 763 F.2d 34, 40 (1st Cir. 1985)).

            Every representation the Defendants made to the Court about how the arbitration would

    be conducted has proven to be false. This Court relied on these representations. The orders

    directing arbitration and ruling on the Plaintiffs’ multiple motions were fatally infected by

    those misrepresentations. The awards should be vacated.

            This Court took great pains to prohibit both parties from contacting the arbitrators

    before the start of the arbitration. At the April 7, 2017, hearing, this Court warned that it would

    not countenance anyone attempting to influence the arbitrators before the arbitration

    (DE235:11-14 Tr. 4/7/17). This Court ordered the parties “not [to] contact, attempt to contact,

    or respond to any contact by any individual listed by Defendants or selected to serve as an

    arbitrator by the Court.” (DE238:3 Order 4/10/17).

            Despite this warning, on October 23, 2017, before the arbitration began, the Defendants

    spent an entire day with the arbitrators without the Plaintiffs (Ex. 3 Garcia Aff. at 4-6, 8-9, 12).

    This directly violated this Court’s order directing the parties “not [to] contact, attempt to

    contact, or respond to any contact by any individual listed by Defendants or selected to serve

    as an arbitrator by the Court.” (DE238:3 Order 4/10/17). No Court should countenance

    this behavior, which makes a mockery of fair arbitration procedure and allows the IJC to dictate

    a decision to the arbitrators.

            The IJC told the Plaintiffs that he had to “hat” the arbitration panel, a scientology term

    for “training” the arbitration panel, outside the Plaintiffs’ presence (Ex. 3 Garcia Aff. at 4-6,

    12). During the “hatting,” the IJC gave the arbitration panel numerous documents to review,

    including the report from the Claims Verification Board (CVB report) (Id. at 4-9 & Attached




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    Ex. E CVB report). The CVB report was dated that day—October 23, 2017—and the Plaintiffs

    had never seen it before (Id.). The CVB report stated that the IJC had “referred” the Plaintiffs’

    request for arbitration to the CVB “for response” (Ex. 3 Garcia Aff., Attached Ex. E CVB

    report at 1).

             The CVB report read like an expert opinion of someone who had conducted an

    extensive investigation into the Plaintiffs (Ex. 1 Garcia Aff. at 8-9 & Attached Ex. E CVB

    report). The CVB, in no uncertain terms, told the arbitration panel how to rule for the Church:

    “There is no written evidence supporting the Garcias’ claims that their donations for building

    campaigns were made as a result of false promises” (Ex. 1 Garcia Aff., Attached Ex. E at 7;

    see id. at 9). “Policy is clear that if it is not written it is not true” and “that the Church is not

    responsible for statements made by individual staff” (Id. at 7 & 9). “Luis Garcia seeks a refund

    for services he elected not to participate in” and “admitted he was well aware of the Church’s

    policy on Return of Donations and his responsibility pursuant to the enrollment forms he

    signed multiple times” (Id. at 10). According to the CVB:

                        The Garcias failed to follow the steps of dispute resolution set
                        forth in the Enrollment Forms and failed to follow the full
                        procedures of the Claims Verification Board with respect to their
                        claims for refund or repayment of donations for services, and
                        therefore do not qualify for a refund. Building donations and
                        membership donations are not refundable.

    (Id.).

             The IJC also gave the arbitration panel two reports from Mr. Garcia’s confidential

    “Priest/penitent Ethics file” (Ex. 3 Garcia Aff. at 8-9). These confidential reports were

    completely irrelevant to the arbitration and the IJC intended only to intimidate and harass the

    Plaintiffs (Id.).



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             The IJC is not just another Scientologist. As shown from the record, the IJC enforces

     the dictates of the Church and, on his word alone, any one of the arbitrators could be “declared

     Suppressive,” thereby losing his or her ability to speak to his or her spouse, losing his or her

     livelihood, and losing all Scientologist friends (DE188-1:17-18; DE188-3:138-41, 157, 159-

     60, 193; DE188-4:184-85, 199, Dep. Mike Ellis). How could any Court believe that it is

     appropriate for the IJC to spend the entire day telling the arbitrators how to proceed with

     arbitration in the absence of the Plaintiffs? While the Court permitted the IJC to instruct the

     arbitrators on the arbitration process, the Court could not have possibly intended that this

     instruction permitted the admission of evidence outside the Plaintiffs’ presence for an entire

     day before arbitration began. Based on what the IJC represented, the Court reasonably

     expected the IJC would, in the presence of the plaintiffs, tell the arbitrators to be fair, explain

     the procedure, and then step aside for the arbitrators to take over (DE188-2:80-81; DE188-

     3:161, 177; DE184-4:222, Dep. Mike Ellis). Instead, the IJC completely controlled the

     arbitrators and their decision.

             The Defendants also told this Court that the Plaintiffs would be given a chance to

     present their case (DE255:13 Tr. 8/15/17; DE188-3:176-78 Dep. Mike Ellis; DE196:88, 102

     Tr. 2/19/15). In the Order denying the Plaintiffs’ motion for miscellaneous relief, this Court

     repeated the Defendants’ representations that the Plaintiffs would be given an opportunity to

     present their case (DE265:3, n.4 Order 10/16/17) (“For example, [IJC] Ellis has testified that .

     . . [the Plaintiffs] would be able to ‘originate whatever [they] wanted to’ in order to present

     their side of story . . . .”). Yet, the arbitrators refused to allow the Plaintiffs to call any witnesses

     (Ex. 3 Garcia Aff. at 3, 17). In fact, no one besides the Plaintiffs themselves was even allowed




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     on the premises (Id. at 2-3, 10, 17; Ex. 5 E-mails from the Church’s counsel regarding

     attendance of the Plaintiffs’ counsel at arbitration). Mr. Garcia has a medical condition that

     makes reading extremely difficult (Ex. 3 Garcia Aff. at 2-3 & Attached Ex. A, letter from Mr.

     Garcia’s doctor). The Church refused to allow Mr. Garcia’s assistant, who helps him read

     documents, attend (Id. at 2-3).

             In their Amended Complaint, the Plaintiffs allege the Defendants used high-pressure,

     illegal sales tactics to fraudulently solicit large contributions from the Plaintiffs (DE114 Am.

     Compl. 5/12/14). The Plaintiffs brought several claims, including fraud, violations of the

     Deceptive and Unfair Trade Practices Act, and breach of contract (Id.). During the arbitration,

     the Defendants took the position that the arbitrators were not allowed to hear anything about

     fraud because it was considered “entheta” (Ex. 3 Garcia Aff. at 4-5, 9-10, 13-15, 17). That is

     a word that means Scientologists cannot hear anything critical of the Church, even if factual

     and true (Id. at 4).

             Mr. Garcia gave the IJC over 900 pages of documents to present to the arbitration panel

     (Ex. 3 Garcia Aff. at 5, 7-10). The IJC redacted all information he felt was “entheta,” critical

     of the Church, and gave the arbitration panel only 70 of the pages the Plaintiffs requested (Id.

     at 9). He rejected the rest as “irrelevant and/or ‘entheta.’” (Id.). Most of the documents the

     IJC allowed constituted copies of commendations the Plaintiffs received for their contributions

     (Id.). Other pages were highly redacted (Id. at 9-11 & Compare Attached Ex. F unredacted

     accounting summary of the Orange County Ideal Org. proffered by the Plaintiffs with Ex. G

     the version of this document the IJC redacted and presented to the arbitration panel).

             When Mr. Garcia finally got a chance to speak to the arbitration panel, and mentioned




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     his claims of fraud, the IJC cut him off and shouted, “WHAT YOU ARE SAYING IS

     ‘ENTHETA.’” (Ex. 3 Garcia Aff. at 13). The IJC even refused to allow Mr. Garcia to show

     the arbitration panel a Church flyer as evidence of false statements made in promotional

     material (Id. & Attached Ex. H Church flyer). When Mr. Garcia protested that his claims

     involve fraud, the IJC said they were “not here to discuss any lawsuit or any claims in it, but

     to find out whether or not [the Plaintiffs] followed proper church procedure and policy in

     requesting a refund.” (Id. at 13). The Chairman of the arbitration panel admonished the

     Plaintiffs, “we don’t want to hear anything about fraud because it has nothing to do with

     the purpose of this arbitration” (Id. at 14).

             No reasonable person could find that the Plaintiffs had an adequate remedy for their

     fraud claim when they were precluded from ever mentioning it at arbitration. No Court would

     hold that an arbitration where the Plaintiffs’ claims could not even be mentioned is an adequate

     substitute for a civil action. Such a holding would completely immunize the Church against

     any civil wrong that criticizes the Church. For example, if the Church’s truck ran over someone

     in the parking lot, the Church could exclude all evidence of the accident as critical of the

     Church. The proceeding here was a sham that does not deserve to be called arbitration. This

     was a star chamber proceeding, completely controlled from start to end by the Church, with no

     ability for the Plaintiffs to present their case.

             The Church told the Court at the hearing on February 19, 2015, that it was not relying

     upon the CVB form because it did not apply to this case:

                             THE COURT: But they haven’t filed this voucher thing
                     yet.

                             MR. POPE: Bill of particulars?



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                           THE COURT: No, voucher. Remember the witness
                    yesterday told us that before you can get an arbitration, you have
                    to submit this voucher thing. And if you don’t do that --

                           MR. POPE: No, Your Honor, that actually doesn’t
                    apply to persons who are declared. You mean the, what do
                    you call it, claims verification board [CVB]. That process
                    does not apply to people who are declared.

                            THE COURT: So we can bypass that.

                            MR. POPE: You bypass that. You go straight to the
                    international justice chief. And first they pick an arbitrator, the
                    church picks one, the two of them pick a third, and those people
                    get together and form the process that is compatible with
                    arbitration under the Committee of Evidence, interviewing -- it’s
                    an informal process, but it does result in a final report.

     (DE196:88-89 Tr. 2/19/15).

           As it turns out, nothing could be further from the truth. At the beginning of the

     arbitration, the IJC told the Plaintiffs that the only issue to be arbitrated was whether they

     followed the right procedure for requesting a refund from the Church (Ex. 3 Garcia Aff. at 11,

     13-14). The only questions the arbitrators asked Mr. Garcia pertained to why he did not fill

     out the CVB form (Ex. 3 Garcia Aff. at 12-18). The so-called findings of the arbitrators refer

     only to the Plaintiffs’ failure to fill out the CVB form (Ex. 1 Arbitration Findings Form; Ex. 2

     Arbitration Decision Form).

           The Plaintiffs could not have filled out the CVB form because they had been declared

     suppressive persons (DE188-3:147-48, 151, Dep. Mike Ellis; Ex. 4 Garcia Declare Order).

     The form has to be filled out on church property and once declared, the Plaintiffs were not

     permitted to go on Church property (DE188-3:147-48, 151; Ex. 4 Garcia Declare Order at 3).

     This “Catch 22” makes it impossible for anyone declared suppressive to follow the CVB




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     procedure (Id.; Ex. 3 Garcia Aff. at 16 & Attached Ex. D Letter from Cara Golashesky, Flag

     Land Base Justice Chief, denying Janet Akpobome’s request for return of donations 9/17/13).

     Thus, no refunds, ever.

              The Defendants misled this Court. The Court specifically asked whether there was any

     sense to order arbitration if the Defendants were going to take the position that the failure to

     fill out that form was dispositive (DE196:88-89 Tr. 2/19/15). The Defendants responded that

     this Court should order arbitration because the form was inapplicable (Id.). Yet, that was the

     only matter the arbitrators considered (Ex. 3 Garcia Aff. at 11, 12-18). This was a fraud on the

     Court and should not be countenanced by confirming the arbitration awards.

              The arbitrators’ evidentiary rulings excluded all evidence critical of the Church and

     relevant to the Plaintiffs’ claims for fraud, deceptive and unfair trade practices, and breach of

     contract. This deprived the Plaintiffs of a fundamentally fair hearing. See, e.g., Rosenweig v.

     Morgan Stanley & Co., 494 F.3d 1328, 1333 (11th Cir. 2007); Tempo Shain Corp. v. Bertek,

     Inc., 120 F.3d 16, 20 (2d Cir. 1997); Hoteles Condado Beach, La Concha & Conv. Ctr. v.

     Union De Tronquistas Local 901, 763 F.2d 34, 40 (1st Cir. 1985). The decisions in Tempo

     Shain and Hoteles, which the Eleventh Circuit cited in Rosenweig, demonstrate that the

     arbitrators’ misconduct in excluding evidence requires this Court to vacate the arbitration

     award.

              In Tempo Shain Corp., the arbitration panel refused to continue the proceedings to

     allow the testimony of a witness temporarily unavailable due to his wife’s illness. 120 F.3d at

     17-18. The decision reasoned, “although not required to hear all the evidence proffered by a

     party, an arbitrator ‘must give each of the parties to the dispute an adequate opportunity to




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     present its evidence and argument.’” Id. at 20 (quoting Hoteles, 763 F.2d at 39). There was

     no reasonable basis for the panel’s conclusion that the testimony would be cumulative because

     the unavailable witness handled the contract negotiations. No other witness could testify to

     support the fraudulent inducement claims. Id.

            The same is true here. The misconduct of the arbitration panel in excluding all evidence

     critical of the Church left the Plaintiffs unable to present any evidence material and relevant to

     their claims for fraud, deceptive and unfair trade practices and breach of contract. The

     arbitrators’ misconduct prejudiced the Plaintiffs and requires this Court to vacate the

     arbitration awards.

            B.      The arbitration awards should be vacated because of the arbitrators’
                    misconduct refusing the Plaintiffs’ request to have counsel present, while
                    allowing the Defendants’ counsel to be present.

           This Court may vacate an arbitration award “where the arbitrators were guilty of

     misconduct . . . or of any other misbehavior by which the rights of any party have been

     prejudiced.” 9 U.S.C. § 10(a)(3). At his deposition, the IJC Mike Ellis testified that while the

     Plaintiffs’ counsel would not be permitted to take an active part in the proceedings, he would

     be able to be present to advise the Plaintiffs (DE188-4:194-95 Dep. of Mike Ellis). In this

     Court’s Order denying the Plaintiffs’ motion for miscellaneous relief, this Court relied on this

     testimony: “For example, Ellis has testified that an attorney may be present, but may not

     ‘represent’ the Plaintiffs” (DE 265 Order 10/16/17 at 3 n.3).

           Shortly before the arbitration, the Church reversed its position, stating:

                    The arbitration will be conducted in accordance with Church
                    ecclesiastical justice procedures and those procedures do not
                    contemplate participation by an attorney.




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                     The arbitrators will be instructed by the International Justice
                     Chief on the application of Scientology principles to arbitrate
                     this dispute in a neutral and fair manner.

     (Ex. 5 at 2, E-mail to the Plaintiffs’ counsel from Bob Potter, sent on behalf of F. Wallace

     Pope, 10/10/17). A week later, defense counsel reiterated that the Plaintiffs’ counsel could not

     participate in the arbitration:

                     As we have stated repeatedly and as the court has just reiterated,
                     the arbitration is an “ecclesiastical arbitration” and the conduct
                     and procedures of the arbitration are within the control and
                     discretion of the IJC in “accordance with Church ecclesiastical
                     procedures [and] principles.” It is not a matter to be
                     negotiated with between the civil lawyers, who have no role
                     to play at the arbitration. If Mr. Garcia has a question about
                     the arbitration, he should address it to the IJC at that time.

     (Ex. 5 at 4, E-mail to Plaintiffs’ counsel from Bob Potter, sent on behalf of F. Wallace Pope,

     10/18/17). The Plaintiffs’ counsel did not attend the arbitration because he was not allowed

     (Ex. 3 Garcia Aff. at 10).

             Attorney Gary Soter, who represented the IJC during his deposition, was present in the

     building to advise the Church and the IJC during the arbitration. The Defendants did not reveal

     this, but Mr. Garcia, in an attempt to use his phone, found Mr. Gary Soter’s iPhone in the

     building broadcasting as a potential “hot spot” (Ex. 3 Garcia Aff. at 6-7, 10 & Attached Ex. B

     Screen Shot). When the IJC was confronted with this fact, he admitted that Mr. Soter was

     there to advise the Church (Id. at 10). It was fundamentally unfair to permit the Defendants to

     have their lawyer present to advise them, but to deny the Plaintiffs a similar right to counsel

     (Id.; Ex. 5 at 2-4, E-mails from the Church’s counsel to the Plaintiffs’ counsel 10/10/17 &

     10/18/17). The IJC refused to allow Mr. Garcia even the presence of an assistant to help him

     read (Ex. 3 Garcia Aff. at 2-3). Mr. Garcia needs assistance reading due to a medical condition



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     (Id. at 3 & Attached Ex. A letter from Mr. Garcia’s doctor). This arbitration was a sham. The

     Church’s misconduct prejudiced the Plaintiffs, requiring this Court to vacate the arbitration

     awards.

            C.      The arbitration awards should be vacated because the arbitration panel
                    engaged in misconduct by failing to provide written findings.

            On February 19, 2015, this Court specifically asked the Defendants what would be

     provided in the way of findings that this Court could review (DE196:87-89). This Court asked,

     “Will there be a record of the proceeding if I’m asked to review it” by either party? (DE196:87

     Tr. 2/19/15). This Court asked for assurance there would “be some memorialization of

     whatever the arbitrators decide” and that the Court would “get something in writing signed

     by these three arbitrators saying here are the facts, here’s our conclusions, and we agree

     or disagree with the Garcias.” (Id. at 88). Defense counsel assured this Court that “a report

     is written up with a binding decision” (Id.). According to defense counsel, “There is a report

     that comes out of the process.” (Id.) “[I]t does result in a final report and decision.” (Id. at

     89). As late as August 2017, defense counsel assured the Court, “they wind up producing a

     report.” (DE255:9 Tr. 8/15/17).

            Thus, the Court was under the impression there would be formal findings and

     conclusions for this Court to review and decide whether there was misconduct or inherent

     prejudice of the arbitrators. In fact, no such findings were rendered. To the contrary, the only

     documents are checklists prepared on October 23, 2017, the day before the arbitration began,

     and signed the day the arbitration ended, on October 24, 2017 (Ex. 1 Arbitration Findings

     Form; Ex. 2 Arbitration Decision Form). While the arbitration was set for October 23, nothing

     happened that day except for the Defendants’ ex parte communications with the arbitrators,



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     which violated this Court’s April 10, 2017, order (Ex. 3 Garcia Aff. at 2-10; DE238:3 Order

     4/10/17).

            Nothing in the checklists tells the Court anything about the testimony received or how

     the “findings” were determined. The Plaintiffs have no idea what the Defendants discussed

     with the arbitrators other than what was revealed in the conversation with the IJC, set forth in

     Mr. Garcia’s affidavit (Ex. 3 Garcia Aff. at 2-10).

            Defense counsel, in response to the Court at the February 19, 2015, hearing, agreed

     this Court has the right to review the arbitration proceedings when determining whether to

     vacate the arbitration award (DE196:87-89 Tr. 2/19/15). In order to ensure the ability to

     review a motion to vacate, this Court asked whether the arbitrators would make specific

     findings:

                            THE COURT: Will there be a record of this
                    proceeding if I’m asked to review it by you on behalf of your
                    client or Mr. Babbitt on behalf of his? What am I going to
                    review?

                            MR. POPE: Well, as I understand the process, it is less
                    formal than would be required under the Florida Arbitration
                    Code. There are -- the witnesses are interviewed, the facts are
                    gathered from them over a period of time, documents are
                    looked at. In this case he’s got a claim for fraud. He comes in,
                    he puts out, he brings whatever witnesses, he testifies himself
                    or gets interviewed on the subject, and a report is written up
                    with a binding decision and that’s what would come back to you
                    as the court compelling the arbitration.
                            THE COURT: So you do contemplate that there would
                    be some memorialization of whatever the arbitrators decide?
                            ....
                            Am I going to get something in writing signed by
                    these three arbitrators saying here are the facts, here’s our
                    conclusions, and we agree or disagree with the Garcias?

                            MR. POPE: That was the import of what Mr. Ellis



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                    said. There is a report that comes out of the process.

     (DE196:86-88 Tr. 2/19/15). Mr.Pope reiterated, “[I]t does result in a final report.” (Id. at

     89). None of this happened.

            The Defendants assured this Court that the CVB form “doesn’t apply to persons who

     are declared” and would not be dispositive of the arbitration (DE196:88-89 Tr. 2/19/15;

     DE188-3:147-48, 151 Dep. Mike Ellis). Instead, the CVB provided the arbitrators with a 10-

     page report that can only be described as highly prejudicial to the Plaintiffs’ case (Ex. 3 Garcia

     Aff. at 8-9, 15 & Attached Ex. E CVB report). The CVB told the arbitration panel how to rule

     for the Church: “There is no written evidence supporting the Garcias’ claims that their

     donations for building campaigns were made as a result of false promises” (Ex. 3 Garcia Aff.,

     Attached Ex. E CVB report at 7; see id. at 9). According to the CVB, “Policy is clear that if it

     is not written it is not true” (Id. at 7 & 9). The CVB concluded the Plaintiffs “failed to follow

     the steps of dispute resolution set forth in the Enrollment Forms and failed to follow the full

     procedures of the Claims Verification Board [CVB] with respect to their claims for refund or

     repayment of donations for services, and therefore do not qualify for a refund” (Id. at 10).

     Further, “Building donations and membership donations are not refundable.” (Id.).

            This Court rejected the Plaintiffs’ request for a court reporter (DE265 Order 10/16/17).

     The Plaintiffs believe the Court’s decision was influenced, in part, by the Defendants’

     representation that the arbitrators would prepare formal findings for this Court to review (Id.;

     DE255:9 Tr. 8/15/17; DE196-86 Tr. 2/19/15). At the August 15, 2017 hearing, the Defendants

     reiterated that the arbitrators “wind up producing a report” (D255:9 Tr. 8/15/17). The

     Defendants’ false representations fatally infected the Court’s decision not to allow a court




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     reporter. As a result, there is no record of the arbitration proceedings. This misconduct,

     coupled with the lack of findings, warrants this Court vacating the arbitration awards.

            D.      The arbitration awards must be vacated due to evident partiality of the
                    arbitrators.

            This Court may vacate an arbitration award “where there was evident partiality or

     corruption in the arbitrators.” 9 U.S.C. § 10(a)(2). “This rule is meant to be applied

     stringently” because courts are “‘even more scrupulous to safeguard the impartiality of

     arbitrators than judges, since the former have completely free rein to decide the law as well as

     the facts and are not subject to appellate review.’” Univ. Commons-Urbana, Ltd. v. Universal

     Constructors, Inc., 304 F.3d 1331, 1338 (11th Cir. 2002) (quoting Commonwealth Coatings

     Corp. v. Cont’l Cas. Co., 393 U.S. 145, 149 (1968)).

            Evident partiality is shown if “either (1) an actual conflict exists, or (2) the arbitrator

     knows of, but fails to disclose, information which would lead a reasonable person to believe

     that a potential conflict exists.” Id. at 1339. In other words, “‘evident partiality’ within the

     meaning of 9 U.S.C. § 10 will be found where a reasonable person would have to conclude

     that an arbitrator was partial to one party to the arbitration.” Morelite Constr. Corp. v. New

     York City Dist. Council Carpenters Benefit Funds, 748 F.2d 79, 84 (2d Cir. 1984); see

     Middlesex Mut. Ins. Co. v. Levine, 675 F.2d 1197, 1200-02 (11th Cir. 1982) (affirming an order

     vacating an arbitration award where the arbitrator failed to disclose a substantial dispute with

     a party that resulted in a bar grievance against the arbitrator). These questions are fact-

     intensive and require an evidentiary hearing upon a showing of a “mere appearance of bias or

     partiality.” Univ. Commons-Urbana, 304 F.3d at 1340-41 & 1345. Based on Luis Garcia’s

     affidavit and the evidence cited in this motion, this Court should, at a minimum, order an



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     evidentiary hearing on the Plaintiffs’ motion to vacate.

            The Court at the hearing on February 19, 2015, observed that if “one of the arbitrators

     has been bought off, paid off,” then any Court would review the findings (DE196:87 Tr.

     2/19/15). While we cannot say that the arbitrators were bought off for money, they were

     certainly bought off by the Church’s undue influence. The arbitrators’ evident partiality here

     requires this Court to vacate the arbitration award.

            The partiality began at the outset of the arbitration when IJC Mike Ellis told the

     Plaintiffs that he was “hatting” the arbitration panel, a Scientology term for “training” them

     outside the Plaintiffs’ presence (Ex. 3 Garcia Aff. at 4-5, 12). Outside the Plaintiffs’ presence,

     the IJC gave the arbitration panel numerous documents to review, including church policies,

     the complaint, and the 10-page report from the Claims Verification Board (CVB) (Id. &

     Attached Ex. E CVB report). Before the arbitration, the Defendants had assured this Court

     that the CVB form would not be dispositive of the arbitration (DE196:88-89 Tr. 2/19/15;

     DE188-3:147-48, 151). The CVB report read like an expert opinion of someone who had

     conducted an extensive investigation into the Plaintiffs and they could not respond (Ex. 3

     Garcia Aff. at 8-9, 15 & Attached Ex. E CVB report).

            The fact that the IJC had unfettered ex parte contact with the arbitration panel, to “hat”

     or train them and provide numerous documents, demonstrates the evident partiality of the

     arbitrators. As discussed above, Plaintiffs had no opportunity to present evidence or their case

     to the arbitration panel (Ex. 3 Garcia Aff. at 4-5, 9-10, 13-15 & 17). The Chairman of the

     arbitration panel, Peter Sokoloff, told the Plaintiffs that, once they were declared Suppressive

     Persons, they ceased to have any rights as a Scientologist (Ex. 3 Garcia Aff. at 16). He told




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     the Plaintiffs their payments to the Church were charitable donations and, therefore, non-

     refundable (Id.).

             At the end of the arbitration, Mr. Garcia protested that the IJC and arbitrators refused

     to allow the Plaintiffs to present any evidence, witnesses, or their own experiences because the

     arbitrators did not want to hear about “alleged fraud.” (Ex. 3 Garcia Aff. at 17). Mr. Garcia

     explained in his affidavit:

                            Chairman Sokoloff then exploded in a long platitude that
                    lasted almost five minutes. He kept talking on and on without
                    the slightest interruption by Mr. Ellis. Here are some things Mr.
                    Sokoloff said:

                             “I am the wrong guy to talk to about that. You don’t
                    know anything about me. I am a big proponent of the Ideal
                    Org program and when you showed us that flyer I know what
                    it says is true. I know the numbers! I know the Truth! We
                    are making a better planet! For some stroke of luck the judge
                    chose me out of a list of 500 people. And I know what is
                    happening here: there are a lot of SPs [Suppressive Persons]
                    out there trying to destroy our church and one of those SPs
                    has fed you all these lies. One of your compadres, Ned
                    McCrink, sent me a bunch of sh*t. I checked it out and it was
                    sh*t! It was sh*t! [I distinctly recall he said that word three
                    times. I had no idea what he was referring to, and “Compadres”
                    means friend in Spanish]. So don’t you go telling me that I don’t
                    know what is going on because I do know! You have been sold
                    a bill of goods! What you should do is recant and atone, come
                    back to the church and support it like before!”

     (Ex. 3 Garcia Aff. at 17-18). Chairman Sokoloff’s statements demonstrate his evident

     partiality.

             In their Amended Complaint, the Plaintiffs allege the Defendants used high-pressure,

     illegal sales tactics to fraudulently solicit large contributions from the Plaintiffs (DE114). The

     Plaintiffs brought several claims, including fraud, violations of the Deceptive and Unfair Trade




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     Practices Act, and breach of contract (Id.). Before the arbitration began, Chairman Sokoloff

     stated he was “a big supporter of the Ideal Org program” (Ex. 3 Garcia Aff. at 12).

     Chairman Sokoloff’s statements demonstrate his evident partiality.

            The Defendants were not satisfied that they had three arbitrators who were inherently

     prejudiced and at risk of their own immortal souls, livelihoods, friends and family by deciding

     this case (DE188-4:199 Dep. Mike Ellis). The statements the arbitrators themselves made

     during the proceeding show the arbitrators had no ability to be fair and impartial and were

     unquestionably prejudiced against the Plaintiffs before the arbitration ever started. The

     Defendants’ conduct eliminated any semblance of a fair arbitration. The Defendants made

     sure that even devout Scientologists, who were inherently incapable of giving the Plaintiffs a

     fair hearing, were made even more prejudiced against the Plaintiffs. The arbitration was a

     mockery that no judge should countenance. This Court should vacate the arbitration award.

            E.      This Court should order a trial on the merits because the arbitration was
                    procedurally and substantively unconscionable.

            This Court should order a trial on the Plaintiffs’ claims instead of ordering arbitration

     before a new panel. Plaintiffs opposed the Church’s motion to compel arbitration as both

     procedurally and substantively unconscionable (DE30 Pls. Resp. Opposing Arbitration;

     DE170 Pls. Trial Brief; DE191 Pls. Mot. for Reconsideration). The Plaintiffs argued that an

     arbitration before three Scientologists in “good standing” could never be a fair proceeding

     because the Church had declared the Plaintiffs to be “Suppressive” persons (Ex. 4 Garcia

     Declare Order; DE30; DE170; DE191).

            The events during the arbitration proved the Plaintiffs correct. The arbitration was both

     procedurally and substantively unconscionable. For the reasons discussed in this motion and



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     the Plaintiffs’ motions opposing arbitration, the arbitration was unconscionable and

     fundamentally flawed. This Court should grant the Plaintiffs’ motion to vacate the arbitration

     awards and order a trial on the merits of the claims in the Plaintiffs’ lawsuit.

            Theodore Babbitt, counsel for the Plaintiffs, certifies that he has conferred with the

     Church’s counsel, F. Wallace Pope, and counsel for the parties cannot agree on the resolution

     of this Motion to Vacate the Arbitration Award.

                DATED: This 23rd day of January, 2018.

                                                    Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            We hereby certify that, on January 23rd, 2018, we electronically filed the foregoing

     document with the Clerk of the Court using CM/ECF. We also certify that the foregoing

     document is being served this day on all counsel or pro se parties identified below in the

     manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

     or in some other authorized manner for those counsel or parties who are not authorized to

     receive electronically Notices of Electronic Filings.

                                                   By: /s/ Theodore Babbitt
                                                   Theodore Babbitt, Esq.
                                                   Florida Bar No: 091146


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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 LUIS A. GARCIA SAZ, and wife, MARIA
 DEL ROCIO BURGOS GARCIA,

        Plaintiffs,

 vs.                                                  CASE NO. 8:13-CV-220-T-27TBM

 CHURCH OF SCIENTOLOGY FLAG
 SERVICE ORGANIZATION, INC.,
 CHURCH OF SCIENTOLOGY FLAG
 SHIP SERVICE ORGANIZATION, INC.

       Defendants.
 ________________________________________/


  DEFENDANTS’ OPPOSITION TO MOTION TO VACATE ARBITRATION AWARDS
                                        INTRODUCTION
        Much of what the plaintiffs present in their account of the arbitration proceedings is

 inaccurate and misleading, as set forth below in the Account of Arbitration Proceedings. Even

 more importantly, the plaintiffs’ attempts to entangle the court in a review of the facts and

 circumstances of a religious arbitration to which the plaintiffs agreed is doomed to failure. As the

 court recently explained in denying plaintiffs’ prior “Motion for Miscellaneous Relief”:

        By joining Scientology, Plaintiffs consented to its governing structures, policies, and
        doctrines and bound themselves to submit to its rules. Specifically, they agreed to
        arbitrate their dispute “in accordance with the arbitration procedures of Church of
        Scientology International.” … [T]he Church has advised Plaintiffs … that “[t]he
        conduct of the religious arbitration will be decided by the IJC at the appropriate time
        during the arbitration, that arbitration will be conducted in accordance with Church
        ecclesiastical justice procedures,” and that “[t]he arbitrators will be instructed by the
        [IJC] on the application of Scientology principles to arbitrate this dispute in a neutral
        and fair manner.”
        While Plaintiffs may disagree with the IJC’s determination of how arbitration will be
        conducted, the Free Exercise Clause prohibits this Court from resolving internal
        disputes concerning the interpretation or application of religious doctrine. See, e.g.,

                                                  1
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          Watson v. Jones, 80 U.S. (l3Wall.) 679, 727 (whenever questions of “ecclesiastical
          rule, custom or law have been decided by the highest ... church judicatories to which
          the matter has been carried, the legal tribunals must accept such decisions as final, and
          as binding on them”). As the Supreme Court has instructed, “[c]onstitutional concepts
          of due process, involving secular notions of ‘fundamental fairness’ or impermissible
          objectives, are . . . hardly relevant to such matters of ecclesiastical cognizance.”
          Serbian E. Orthodox Diocese v. Milivojevich, 426 U.S.696, 715 (1976).
 Order of October 16, 2017 (internal docket references omitted).
 ACCOUNT OF ARBITRATION PROCEEDINGS
 I.       What Really Happened
          1.       The Garcias submitted claims for arbitration to the IJC not only against the only

 defendants named in their Amended Complaint, Church of Scientology Flag Service Organization

 (“FSO”) and Church of Scientology Flag Ship Service Organization (“FSSO”), but also against the

 parties they had sued in their original Complaint, but then dropped from their Amended Complaint

 to avoid dismissal: Church of Scientology Religious Trust (“CSRT”), IAS Administrations

 (“IASA”) and U.S. IAS Members’ Trust (“USIMT”). Plaintiffs emphasized to the IJC that their

 claims against both current and former defendants “are as set forth in the original complaint.”

 (Exhibit A, Ellis Dec.,1 Sub-Ex. 1.) In addition, the Garcias requested arbitration of claims against

 a separate entity never named in and not part of the instant case, the Church of Scientology of Orange

 County, California.2 (See Ex. A(1).) Since the Garcias are permitted under church law to seek

 arbitration of any dispute, the IJC and the arbitrators addressed the latter claims as a matter of




 1
  Mr. Ellis has submitted a declaration (Ex. A) authenticating several specific documents, designated as Sub-Exhibits.
 References to the Sub-Exhibits hereinafter shall be as “Ex. A(_).”

 2
   Plaintiffs made claims for (a) return of a $10,000 donation in contemplation of future religious services; (b) return
 of a donation of $510,000 for a building fund for the acquisition and restoration of a new church facility in Orange
 County, called an “Ideal Org,” which opened on June 2, 2012. The latter claim was based on alleged false predictions
 that, based on similar history with other “Ideal Orgs,” the new church would experience significant growth in the
 future.




                                                           2
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 internal Scientology justice and law, but those claims were separate and distinct from and not part

 of the instant case.3

          2.       The arbitration commenced as scheduled and at the designated time and place on

 October 23, 2017. The Garcias brought with them Pauline Lombard, a vocal public critic of the

 Church, who was not permitted to enter the property. Mr. Garcia asked the IJC to permit Ms.

 Lombard to attend to help him read documents, stating that he had a vision problem.4 (Garcia

 Affidavit at Doc. 272-3, p.2, l.19 - 3, l. 19.) The IJC declined but made clear that the Church would

 provide someone to help him read or present materials. (Id. at 3, ll.18-19). See also Exhibit C,

 internet posting of Luis Garcia. The Garcias never asked for such assistance.

          3.       No attorney accompanied the Garcias. The Garcias claim that their attorney was

 excluded. That is false. Mr. Babbitt never showed up. In the IJC’s earlier testimony, the court noted

 in its October 16, 2017 Order5, the Church parties made clear that Mr. Babbitt was free to attend

 and could consult with his client, but that, according to Church ecclesiastical procedures, he would

 not be able to perform functions at the arbitration itself. Had he attended, Mr. Babbitt could have

 advised his client, helped him review evidence, or communicated with him privately in whatever

 manner desired.


 3
   It is significant that the Garcias stated that their claims are based on their original complaint, which named as
 defendants several organizations which destroyed diversity jurisdiction. Likewise, any claim against the Church of
 Scientology of Orange County destroys jurisdiction. By doing so, the Garcias effectively conceded that the amended
 complaint was filed solely to avoid dismissal for lack of subject matter jurisdiction and is based on pretextual
 allegations. Indeed, the court may consider again whether to dismiss the entire action for lack of subject matter
 jurisdiction.

 4
   We note that in his affidavit in support of the instant motion, Mr. Garcia states that “I could not understand how the
 arbitrators could take so long in reading, or ‘studying’ as Mr. Ellis said, just 28 pages of policies. I read them all in
 about 20 minutes.” Garcia Affidavit at 6, ll. 18-20. See also para 4, post at 4, showing that the arbitrators had far more
 to read and incorporate than merely reading the policies.
 5
  “For example, Ellis has testified that an attorney may be present, but may not ‘represent’ the plaintiffs (Ellis Dep.
 at 15:24-16:9).” Dkt. 265 at 3, n.4.

                                                             3
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          4.       On the first day of the arbitration, the IJC provided the arbitrators with written

 instructions setting forth the nature of the proceedings. The instructions stated in bold letters,

 “You are to conduct this arbitration in a fair and neutral manner, notwithstanding the

 Garcias have been declared.” (Ex. A(3) at 2, original bold). The IJC also provided the arbitrators

 (and the Garcias) with relevant Scientology written religious justice policies, a copy of the Garcias’

 Statement of Claims, including their original complaint in this action, and copies of the enrollment

 agreements signed by the Garcias. The arbitrators had a lot to study as they had never read the

 Garcias’ request for arbitration or the Garcias’ complaint (attached to the request for arbitration),

 nor had they studied the Church policies governing Scientology ecclesiastical justice procedures

 to be applied to the arbitration.

           Later that day the IJC provided both the arbitrators and the Garcias with a letter from the

 Claims Verification Board (Ex. A(2)) which was the response by the church parties to the Garcias’

 claims. (Ex. A, paras. 6,7,8.)6

          5.       The Garcias presented the IJC with 54 documents, totaling 268 pages, that they

 wished to introduce. 7 The IJC “went through each of these documents carefully and determined,


          6
             The CVB letter specifically stated that its purpose was to set forth the “CVB position” with respect to
 plaintiffs’ claims. Id. at 6. The letter set forth the religious policies governing return of donations, and examined
 whether evidence supported the Garcias’ claims. It included a statement by Luis Garcia acknowledging that at the
 very time the Garcias made a donation of $350,000 to the Orange County Church for building the “Ideal Org” church
 building, which the Garcias claim was induced by false representations from unspecified persons, Mr. Garcia actually
 held the position of “Fundraising in Charge” for that very project (id.).

          7
             A dispute arose when the IJC stated he would exclude the use of irrelevant “entheta.” In their motion, the
 Garcias assert that “entheta” is a Scientology term that means anything critical of the Church, and that the IJC excluded
 all their evidence under that rubric. They are wrong on both counts. First, as Mr. Garcia conceded in an internet post
 immediately after the arbitration, the term has a broader and more nuanced meaning, to wit, in Mr. Garcia’s words,
 “irrational or confusing or destructive thought.” (Ex. C, internet posting of Mr. Garcia following the arbitration,
 October 24, 2017.) In the context of an arbitration, that definition is similar to the legal concepts of irrelevance,
 incompetence, immateriality, and likely to be misleading and unduly prejudicial. Second, the IJC did not exclude a
 single piece of evidence exclusively on the basis that it was “entheta”; rather the only two items deemed entheta were
 also found to be irrelevant or hearsay. (Ex. A(4)(Nos. 28, 58), a Religious Arbitration Exhibit Form, on which the IJC

                                                            4
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 in accordance with Scientology Justice Procedures, whether each exhibit should be allowed or

 disallowed.” (Ex. A, para. 9.) In doing so, the IJC prepared a document showing each exhibit

 offered by the churches and by the Garcias, a brief description of the exhibit, whether it was

 allowed or not and the grounds for disallowance. (Ex. A(4).) The exhibits he “excluded were

 things like newspaper articles and internet postings having nothing to do with the Garcias’ claims,

 incomplete documents, and Church policies with notations by Mr. Garcia. [He] admitted 22 of the

 exhibits proposed by the Garcias and provided them to the arbitrators.” (Ex. A para. 9.) Garcia

 also sought to introduce certain irrelevant church religious policies, and several policies –

 including the governing policy letter SPD 13 March 1996 RETURN OF DONATIONS, which had

 already been provided to the arbitrators in its original form – with his own annotations on them

 attacking them as not genuine (“squirrel,” a Scientology term denoting something not in keeping

 with Church doctrine) or unauthorized or as departures from doctrine. (Ex. A(5).) 8

          6.       Not a single document, whether allowed or rejected, pertained in the slightest

 manner to the Garcias’ claim that they were defrauded into making contributions to the

 International Association of Scientologists for humanitarian causes. Plaintiffs do not argue or

 claim otherwise in their motion. And no document provided evidence supporting the Garcias’

 claims that over a period of several years they were defrauded into making contributions to the

 Church parties to build the Flag Building (also called the Super Power building) in Clearwater,




 described each exhibit offered by both sides, whether allowed or not, and the grounds of disallowance, if applicable.)
 We note that in his motion to vacate, Garcia does not raise an issue about the exclusion of those two exhibits.

 8
   The intended purpose of these altered documents was to support Garcia’s argument that governing church law and
 policy was not what the Church said it was, but what he said it was. The IJC excluded them because it was his function
 to instruct the arbitrators what church policy and law are, which he had done, as well as provided plaintiffs with both
 the instructions and the policies.

                                                           5
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 Florida and that the contributions were misused for other purposes. Once again, plaintiffs have

 submitted no argument or evidence to the contrary here.

        7.      In their motion, the Garcias assert that they asked the IJC when they could present

 witnesses. (Garcia Affidavit at 3.) They do not claim, nor could they, that they brought witnesses

 either day of the arbitration, and to this day have identified no one whom they wished to call. The

 Garcias were invited to submit any evidence, subject to admissibility, and could have submitted

 written statements or declarations from witnesses. (Ex. A, paras. 12, 16.) If the arbitrators wished

 they could have asked to question the authors of such statements.

        8.      By the end of the first day, the IJC had spent about an hour in the presence of the

 arbitrators and a similar amount of time in the presence of the Garcias. (Ex. A, para. 11.)

        9.      On the second day, the arbitrators met with the Garcias. The IJC attended and

 briefed everyone on the procedure. (Ex. A, para 12). “The arbitrators asked questions of the

 Garcias in accordance with Scientology justice procedures which included asking the Garcias at

 the conclusion of the questioning if they had anything else they wished to say or present. They

 did not do so.” Id. In not doing so, the Garcias failed to provide any support for their claims that

 they had made contributions to the International Association of Scientologists (“IAS”) based on

 promises that the donations would be used for certain humanitarian purposes and that those

 promises were false and not fulfilled. Likewise, at no time during their appearance before the

 arbitrators did the Garcias make any mention of their claims that over a period of several years

 they had made donations to the Super Power project to build the Flag Building in Clearwater based

 upon allegedly false promises that the money was needed to complete the project, and that it was

 diverted to other uses. Finally, at no time did the Garcias make any attempt to show that, under



                                                  6
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 relevant and applicable Church policy, they were entitled to a return of any donations they had

 made to defendants FSO or FSSO in contemplation of future participation in religious services.

        10.      The Garcias said they were not going to stay while the arbitrators made their

 findings. Mr. Garcia said they were leaving and asked to have the findings mailed to them. (Ex.

 A, para. 13.)

        11.      The IJC presented the arbitrators with two documents (Ex. A, para. 14): (1) a

 Religious Arbitration Findings Form, which allowed the arbitrators to address and make findings

 with respect to the relevant questions to be decided at the arbitration. The form is similar to

 interrogatory verdict forms used by juries in state and federal litigation (Ex. A(6)); (2) a Religious

 Arbitration Decision Form, which allowed the arbitrators to deliver a decision with respect to each

 of the specific claims set forth by the Garcias in the arbitration. (Ex. A(7).) The arbitrators

 proceeded to complete the forms and render their decision accordingly.

        12.      With respect to the Garcias’ claims for return of donations in contemplation of

 religious services to FSO and FSSO, the arbitrators found that the Garcias had signed the requisite

 enrollment forms; had agreed to the application of Scientology Policy Directive of 13 March 1996,

 RETURN OF DONATIONS; had agreed that the enrollment forms required strict compliance with

 published religious policies and that determination of whether to permit a return of donation was

 “exclusively within the ecclesiastical authority and sole discretion of the Claims Verification

 Board”; and had agreed to use only ecclesiastical justice procedures to resolve any dispute with

 any Church of Scientology. They further found that the Garcias had not made a request for return

 of donations to the CVB within three months following their last religious service; had sought a

 return of donations only after their public resignation and departure from Scientology; did not

 complete the CVB routing form; did not otherwise attempt to resolve their disputes by invoking


                                                   7
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 Scientology internal ethics and justice procedures including submitting a request to the IJC, as

 required under paragraph 6(d) of the enrollment agreement; and involved third parties and

 attorneys in their attempts to obtain a return of donations.9

          With respect to the Garcias claims for return of donations to the IAS and the USIMT for

 support of humanitarian projects, and also with respect to the Garcias’ claims for return of

 donations to CSRT in support of the Super Power Building Project, the arbitrators found that the

 Garcias had signed donation forms and other documents stating that such donations were not

 refundable; had not submitted written evidence in support of their allegations; did not attempt to

 resolve their disputes by invoking Scientology internal ethics and justice procedures including

 submitting a request to the IJC, as required under paragraph 6(d) of the enrollment agreement; and

 that the Garcias’ allegations that they were misled by fundraisers were not credible. 10

          It is highly significant that in their current motion to vacate, the Garcias make no argument

 and point to no evidence showing that any of the arbitrators’ findings were erroneous.

          13.      On the Religious Arbitration Decision Form, the arbitrators found that the Garcias

 were not entitled to return of any of their donations, but were entitled to a return of $18,495.36 for

 payments for unused accommodations at facilities at FSO and FSSO.




 9
   While not part of this case, the arbitrators made similar findings with respect to the Garcias’ claims for return of
 donations of $10,000 they had made to the Church of Scientology of Orange County with respect to future religious
 services.

 10
   While not part of this case, the arbitrators made similar findings with respect to the Garcias’ claims for return of
 donations they had made to the Church of Scientology of Orange County for building of the new church known as the
 “Ideal Org.”

                                                           8
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 II.    What Did Not Happen

        Many statements in the Motion and Garcia affidavit are false and misleading, as shown in

 the above discussion. Given the limited scope of review and reasonable page limitations,

 defendants highlight just a few of the most significant here.

        1.      The arbitrators “refus[ed] to hear any evidence critical of the Church.” Motion at 2,

 no. 2. False. The arbitrators reviewed written evidence critical of the Church where relevant,

 including the Garcias’ original complaint and request for arbitration; substantial portions of a

 document prepared by the Garcias entitled “Detailed Timeline”; a letter from Lynne Hoverson and

 Bert Schippers critical of the CSRT’s fundraising for the Super Power building; a Policy Letter

 from 1977 upon which Garcia wrote comments intended to show that the Church’s reliance on

 Scientology Policy Directives was a departure from doctrine; letters from Church officials denying

 refunds to others; a multi-page document containing email correspondence between Luis Garcia

 and Church officials containing extremely critical and uncomplimentary comments from Garcia;

 letters from Luis Garcia to FSSO critical of its refusal to refund his donations and threatening legal

 action; and another timeline critical of the church’s fundraising for the Super Power project. (Ex.

 A(4), Nos. 1, 8, 31, 44-56, 59-61.) The plaintiffs made no effort to offer oral evidence or statements

 to the arbitrators, despite repeatedly being asked if they wished to do so.

        2.      The arbitrators “refused to allow the Plaintiffs to present any evidence or witnesses

 at all.” Motion at 2, no. 4. False. Plaintiffs offered 54 documents into evidence; 22 were admitted.

 The remainder were rejected on grounds of relevance, competence, or hearsay. (Ex. A(4).)

 Plaintiffs neither identified nor brought prospective witnesses to the arbitration. As noted,

 plaintiffs did not offer oral evidence or statements to the arbitrators, despite repeatedly being asked

 if they wished to do so. (Ex. A, paras. 12, 16.) In particular, the plaintiffs offered no evidence in

                                                   9
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  support of their claims that they were fraudulently induced to make donations to the IASA for

  humanitarian projects or to make donations to CSRT to support construction of the Super Power

  Flag building in Clearwater. Nor did they offer evidence as to why they were entitled, under the

  governing Scientology religious policy as set forth in the enrollment agreements and the

  Scientology Policy Directive of 13 March 1996 RETURN OF DONATIONS, to return of their

  donations to FSO or FSSO in contemplation of future religious services. That policy specifies that

  a return of donations was rare, was to be granted only in specific and unusual circumstances,

  requires strict compliance with certain rules and procedures, and was entirely a matter of

  ecclesiastical discretion. Instead, the Garcias attempted to argue that those policy directives were

  illegitimate and a departure from Church doctrine. (See Ex. A(5).)

         3.      “The IJC and arbitrators refused to consider the plaintiffs’ fraud claims and the

  issues raised in the lawsuit.” Motion at 3, no. 5. False. As noted, the Garcias did not seek to

  introduce evidence supporting their fraud claims, relating to donations they made to the IAS or

  Super Power project. The “fraud” claims they tried to argue were that the entire Church and

  religion is a fraud and a deception; it was those efforts that were rejected by the IJC and the

  arbitrators as irrelevant and hearsay.

         4.      “The panel engaged in misconduct by allowing the IJC to have ex parte contact

  with the arbitration panel and present evidence outside the Plaintiffs’ presence.” Motion at 4, no.

  10. False and misleading. The IJC met separately with the arbitrators and with the Garcias for

  short periods, pursuant to Scientology justice procedures. He instructed the arbitrators as to the

  procedures and the nature of the dispute. He presented to the arbitrators the written claims of the

  Garcias and the written response of the Church. He provided the arbitrators with the governing

  religious policies, and with those of the Garcias’ documents that he found to be admissible. He did

                                                  10
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  not present any evidence of his own; he only forwarded to them the evidence presented by the

  parties.

             5.   The arbitration panel did not refuse to allow Mr. Babbitt to attend the arbitration.

  Mr. Babbitt never showed up, despite the opportunity to do so to consult with his client. Gary

  Soter, a Church attorney, played no role in the arbitration and never spoke to the arbitrators. He

  was there in case legal questions were raised by Mr. Babbitt in anticipation that he would attend

  the arbitration. See Declaration of Gary Soter (Ex. B.)

             6.   Plaintiffs assert, “That did not happen,” referring to the IJC’s statements that he

  would instruct the arbitrators to be fair and neutral. False; the IJC provided written and oral

  instructions precisely stating that. (Ex. A, para. 8 and Ex. A(2).) Moreover, the IJC did not “train”

  the arbitrators. He spent no more than an hour with them over the total of the two days, and merely

  instructed them as to their role, the dispute, and the procedures and provided them with applicable

  written religious policy. (Ex. A, paras. 11, 12.)

             7.   “The defendants spent an entire day with the arbitrators without the Plaintiffs.”

  Motion at 8. False. The IJC was the only church official to meet with the arbitrators, for periods

  totaling about an hour over two days. He did not discuss with them the merits of the dispute, but

  only provided them with the necessary information to make the arbitration proceed. (Ex. A.)

             8.   The CVB told the arbitration panel how to rule. Motion at 9. False. The CVB letter

  was the churches’ response to the claims and allegations of the Garcias. It properly described the

  ecclesiastical policy that applies, a question that is solely within the Church’s authority and not a

  matter for internal debate, and argued that the Garcias did not qualify for return of any of their

  donations. The arbitrators were instructed to decide those issues themselves, and were free to come


                                                      11
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  to whatever decision they thought appropriate. (Ex. A(3).) Indeed, the arbitrators awarded the

  Garcias a return of over $18,000 in payments they had made for accommodations, despite the

  CVB’s argument that they be awarded nothing.

          9.       Plaintiffs had “no opportunity to respond to” the letter and exhibits from the CVB

  setting forth the churches’ position on the Garcias’ claims. Mot. at 6. False. Plaintiffs could have

  responded when repeatedly asked by the arbitrators if they wished to be heard further.

  ARGUMENT

          As this court repeatedly has emphasized, this was a religious arbitration to which the

  plaintiffs agreed in writing numerous times over the course of their experiences in Scientology.

  The role of a civil court in reviewing such an arbitration is extremely limited.

          Indeed, even in a secular context, the scope of judicial review of arbitration proceedings

  and determinations is “among the narrowest known to law,” Dominion Video Satellite, Inc. v.

  Echostar Satellite LLC, 430 F.3d 1269, 1275 (10th Cir. 2005), precisely to further the purposes of

  the Federal Arbitration Act.11 As the Supreme Court explained:

          Under the FAA, courts may vacate an arbitrator’s decision “only in very unusual
          circumstances.” First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 942. That
          limited judicial review, we have explained, “maintain[s] arbitration’s essential
          virtue of resolving disputes straightaway.” Hall Street Associates, L.L.C. v.
          Mattel, Inc., 552 U.S. 576, 588 (2008). If parties could take “full-bore legal and
          evidentiary appeals,” arbitration would become “merely a prelude to a more
          cumbersome and time-consuming judicial review process.” Ibid.




  11
     See Ultracashmere House, Ltd. v. Meyer, 664 F.2d 1176, 1179 (11th Cir.1981)(“[t]he purpose of the Federal
  Arbitration Act was to relieve congestion in the courts and to provide parties with an alternative method for dispute
  resolution that would be speedier and less costly than litigation”).

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  Oxford Health Plans LLC v. Sutter, 569 U.S. 564 (2013). See also id. at 572-73 (“All we say is

  that convincing a court of an arbitrator’s error—even his grave error—is not enough. . . . The

  potential for those mistakes is the price of agreeing to arbitration.”)

         Thus, a court may not vacate an arbitration decision because the arbitrators did not issue

  an opinion explaining their reasons:

         The arbitrators’ decision fails to provide any explanation for their conclusion that O.R.
         is liable to PPA. It is well-settled, however, that arbitrators are not required to explain
         their reasons for an award. “[T]o allow a court to conclude that it may substitute its
         own judgment for the arbitrator’s whenever the arbitrator chooses not to explain the
         award would improperly subvert the proper functioning of the arbitral process....”

  O.R. Securities, Inc. v. Professional Planning Associates, Inc., 857 F.2d 742, 747 (11th Cir. 1988).

  O.R. Securities further observed that “Courts have repeatedly condemned efforts to depose

  members of an arbitration panel to impeach or clarify their awards.” Id. Likewise, a court may not

  engage in a review of the factual record to determine if the arbitration panel erred:

         A federal court may not conduct a reassessment of the evidentiary record, as did the
         district court here, upon the principle that an arbitral award may be vacated when it runs
         contrary to strong evidence favoring the party bringing the motion to vacate the award.
         Instead, whatever the weight of the evidence considered as a whole, if a ground for the
         arbitrator's decision can be inferred from the facts of the case, the award should be
         confirmed. Only this approach to the evidentiary record is consistent with the great
         deference which must be paid to arbitral panels by federal courts.
  Wallace v. Buttar, 378 F.3d 182, 193 (2d Cir. 2004)(internal quotations and citations omitted).

         And even in a secular context, a court will not look beyond the choices made by the parties

  to determine whether the arbitrators were partial:

         [T]he “parties to an arbitration choose their method of dispute resolution, and can
         ask no more impartiality than inheres in the method they have chosen.” Delta
         Mine Holding Co. v. AFC Coal Properties, 280 F.3d 815, 821 (8th Cir. 2001).
         “[W]here the parties have expressly agreed to select partial party arbitrators, the
         award should be confirmed unless the objecting party proves that the arbitrator’s
         partiality prejudicially affected the award.” Id.

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  Winfrey v. Simmons Food, Inc., 495 F.3d 549, 551 (8th Cir. 2007). Accord, National Football

  League Management Council v. National Football League Players Ass’n, 820 F.3d 527, 548 (2d

  Cir. 2016)(Tom Brady Deflategate Case). And the standard for finding partiality of an arbitrator

  based on his conduct at an arbitration is extremely high, and cannot be met here. See McCabe,

  Hannity & Remington, Co. v. ILWU, 557 F.Supp. 1171, 1182 (D.Hawaii 2008) (Arbitrator

  expressed sympathy with one party’s situation (stating that he should have received a “hero’s

  welcome”) and stated that the parties were receiving a judgment “with a vengeance!” Held: “The

  Arbitrator’s expressions of sympathy and anger are an insufficient basis for vacating his award”);

  Spector v. Torenberg, 852 F. Supp. 201 (S.D.N.Y. 1994)(“An arbitrator is not precluded from

  developing views regarding the merits of a dispute early in the proceedings, and an award will not

  be vacated because he expresses those views. In addition, what petitioners characterize as the

  coaching of witnesses, this Court views as in keeping with the relative informality of arbitral

  proceedings”).

         Whatever limited scope of review applies in the context of secular arbitration is virtually

  eliminated when the issue concerns religious arbitration. Lang v. Levi, 16 A.3d 980, 989 (Md. Ct.

  Spec. App. 2011)(“The standard for vacating an arbitrator’s decision is a narrow standard

  to begin with. The addition of the religious context further narrows the standard to make

  our intervention nearly impossible”)(emphasis added). As this court recognized in its October

  16 Order, under the cases of Watson v. Jones and Serbian Eastern, “the First and Fourteenth

  Amendments mandate that civil courts shall not disturb the decisions of the highest ecclesiastical

  tribunal within a church of hierarchical polity, but must accept such decisions as binding on them,

  in their application to the religious issues of doctrine or polity before them.” Serbian, 426 U.S. at

  709.


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         Indeed, courts must accept decisions of religious tribunals even if arbitrary: “We have

  concluded that no ‘arbitrariness’ exception -- in the sense of an inquiry whether the decisions of

  the highest ecclesiastical tribunal of a hierarchical church complied with church laws and

  regulations -- is consistent with the constitutional mandate that civil courts are bound to accept the

  decisions of the highest judicatories of a religious organization of hierarchical polity on matters of

  discipline, faith, internal organization, or ecclesiastical rule, custom, or law.” Rather, “it is the

  essence of religious faith that ecclesiastical decisions are reached and are to be accepted as matters

  of faith, whether or not rational or measurable by objective criteria. Constitutional concepts of due

  process, involving secular notions of ‘fundamental fairness’ or impermissible objectives, are

  therefore hardly relevant to such matters of ecclesiastical cognizance.” Id.

         While the question of judicial review of religious arbitrations has not often arisen, no doubt

  because of the clear doctrinal authority disapproving substantive or procedural review, the few

  decisions extant have scrupulously applied the limitations of the Watson/Serbian line of cases. See,

  e.g., Berg v. Berg, 2008 WL 415562 at *9 (N.Y. Sup.Ct. 2008)(First Amendment precludes court

  from “deciding whether religious law has been violated”); Lang v. Levi, 16 A.3d at 985 (court

  “cannot delve into whether under Jewish law there is legal support” for arbitrator’s decision);

  Lieberman v. Lieberman, 149 Misc.2d 983, 987 (N.Y. Kings Cty.1991)(rejecting motion to vacate

  on ground that wife was coerced to participate by threat of a “Sirov,” a religious decree “that

  subjects the recipient to shame, scorn, ridicule, and public ostracism by … religious community.

  While the threat of a Sirov may constitute pressure, it cannot be said to constitute duress”);

  American Union of Baptists, Inc. v. Trustees of Particular Primitive Baptist Church, 335 Md. 564,

  578 (1994)(“This dispute cannot be resolved ... without inquiries into the religious doctrine and




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  custom of the Primitive Baptist faith. The constitution will not permit such inquiries, and we will

  therefore not review the award of the arbitrators in the instant case”).

         Whether through the lens of the limited review of secular arbitrations, or properly viewed

  through the lens of the constitutional principles enunciated by the Supreme Court, none of the

  grounds propounded by plaintiffs justify vacatur of the determination of the arbitration panel.

         Nor have plaintiffs provided support for their request that the court vacate its Order

  compelling arbitration, a request they have made numerous times. They have not presented new

  law that requires reconsideration. The only “new facts” presented relate to their misleading,

  incomplete and incorrect account of the arbitration hearing itself. Section 10(b) of the FAA

  provides that if an award is vacated, the court “may, in its discretion, direct a rehearing by the

  arbitrators.” While neither necessary nor appropriate here, that is the only remedy the statute

  authorizes upon vacation of an arbitration award.




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 20, 2018, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

  the following: THEODORE BABBITT, ESQUIRE, tedbabbitt@babbitt-johnson.com, and other

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